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                     EXHIBIT A
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        (Slip Opinion)              OCTOBER TERM, 2023                                       1

                                               Syllabus

                 NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
               being done in connection with this case, at the time the opinion is issued.
               The syllabus constitutes no part of the opinion of the Court but has been
               prepared by the Reporter of Decisions for the convenience of the reader.
               See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


        SUPREME COURT OF THE UNITED STATES

                                               Syllabus

         LOPER BRIGHT ENTERPRISES ET AL. v. RAIMONDO,
               SECRETARY OF COMMERCE, ET AL.

        CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                  THE DISTRICT OF COLUMBIA CIRCUIT

            No. 22–451.      Argued January 17, 2024—Decided June 28, 2024*
        The Court granted certiorari in these cases limited to the question
          whether Chevron U. S. A. Inc. v. Natural Resources Defense Council,
          Inc., 467 U. S. 837, should be overruled or clarified. Under the Chev-
          ron doctrine, courts have sometimes been required to defer to “permis-
          sible” agency interpretations of the statutes those agencies adminis-
          ter—even when a reviewing court reads the statute differently. Id., at
          843. In each case below, the reviewing courts applied Chevron’s frame-
          work to resolve in favor of the Government challenges by petitioners
          to a rule promulgated by the National Marine Fisheries Service pur-
          suant to the Magnuson-Stevens Act, 16 U. S. C. §1801 et seq., which
          incorporates the Administrative Procedure Act (APA), 5 U. S. C. §551
          et seq.
        Held: The Administrative Procedure Act requires courts to exercise their
         independent judgment in deciding whether an agency has acted within
         its statutory authority, and courts may not defer to an agency inter-
         pretation of the law simply because a statute is ambiguous; Chevron is
         overruled. Pp. 7–35.
            (a) Article III of the Constitution assigns to the Federal Judiciary
         the responsibility and power to adjudicate “Cases” and “Controver-
         sies”—concrete disputes with consequences for the parties involved.
         The Framers appreciated that the laws judges would necessarily apply
         in resolving those disputes would not always be clear, but envisioned

        ——————
          *Together with No. 22–1219, Relentless, Inc., et al. v. Department of
        Commerce, et al., on certiorari to the United States Court of Appeals for
        the First Circuit.
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            that the final “interpretation of the laws” would be “the proper and
            peculiar province of the courts.” The Federalist No. 78, p. 525 (A. Ham-
            ilton). As Chief Justice Marshall declared in the foundational decision
            of Marbury v. Madison, “[i]t is emphatically the province and duty of
            the judicial department to say what the law is.” 1 Cranch 137, 177. In
            the decades following Marbury, when the meaning of a statute was at
            issue, the judicial role was to “interpret the act of Congress, in order to
            ascertain the rights of the parties.” Decatur v. Paulding, 14 Pet. 497,
            515.
               The Court recognized from the outset, though, that exercising inde-
            pendent judgment often included according due respect to Executive
            Branch interpretations of federal statutes. Such respect was thought
            especially warranted when an Executive Branch interpretation was is-
            sued roughly contemporaneously with enactment of the statute and
            remained consistent over time. The Court also gave “the most respect-
            ful consideration” to Executive Branch interpretations simply because
            “[t]he officers concerned [were] usually able men, and masters of the
            subject,” who may well have drafted the laws at issue. United States
            v. Moore, 95 U. S. 760, 763. “Respect,” though, was just that. The
            views of the Executive Branch could inform the judgment of the Judi-
            ciary, but did not supersede it. “[I]n cases where [a court’s] own judg-
            ment . . . differ[ed] from that of other high functionaries,” the court was
            “not at liberty to surrender, or to waive it.” United States v. Dickson,
            15 Pet. 141, 162.
               During the “rapid expansion of the administrative process” that took
            place during the New Deal era, United States v. Morton Salt Co., 338
            U. S. 632, 644, the Court often treated agency determinations of fact
            as binding on the courts, provided that there was “evidence to support
            the findings,” St. Joseph Stock Yards Co. v. United States, 298 U. S.
            38, 51. But the Court did not extend similar deference to agency reso-
            lutions of questions of law. “The interpretation of the meaning of stat-
            utes, as applied to justiciable controversies,” remained “exclusively a
            judicial function.” United States v. American Trucking Assns., Inc.,
            310 U. S. 534, 544. The Court also continued to note that the informed
            judgment of the Executive Branch could be entitled to “great weight.”
            Id., at 549. “The weight of such a judgment in a particular case,” the
            Court observed, would “depend upon the thoroughness evident in its
            consideration, the validity of its reasoning, its consistency with earlier
            and later pronouncements, and all those factors which give it power to
            persuade, if lacking power to control.” Skidmore v. Swift & Co., 323
            U. S. 134, 140.
               Occasionally during this period, the Court applied deferential re-
            view after concluding that a particular statute empowered an agency
            to decide how a broad statutory term applied to specific facts found by
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         the agency. See Gray v. Powell, 314 U. S. 402; NLRB v. Hearst Publi-
         cations, Inc., 322 U. S. 111. But such deferential review, which the
         Court was far from consistent in applying, was cabined to factbound
         determinations. And the Court did not purport to refashion the
         longstanding judicial approach to questions of law. It instead pro-
         claimed that “[u]ndoubtedly questions of statutory interpretation . . .
         are for the courts to resolve, giving appropriate weight to the judgment
         of those whose special duty is to administer the questioned statute.”
         Id., at 130–131. Nothing in the New Deal era or before it thus resem-
         bled the deference rule the Court would begin applying decades later
         to all varieties of agency interpretations of statutes under Chevron.
         Pp. 7–13.
            (b) Congress in 1946 enacted the APA “as a check upon administra-
         tors whose zeal might otherwise have carried them to excesses not con-
         templated in legislation creating their offices.” Morton Salt, 338 U. S.,
         at 644. The APA prescribes procedures for agency action and deline-
         ates the basic contours of judicial review of such action. And it codifies
         for agency cases the unremarkable, yet elemental proposition reflected
         by judicial practice dating back to Marbury: that courts decide legal
         questions by applying their own judgment. As relevant here, the APA
         specifies that courts, not agencies, will decide “all relevant questions
         of law” arising on review of agency action, 5 U. S. C. §706 (emphasis
         added)—even those involving ambiguous laws. It prescribes no defer-
         ential standard for courts to employ in answering those legal ques-
         tions, despite mandating deferential judicial review of agency policy-
         making and factfinding. See §§706(2)(A), (E). And by directing courts
         to “interpret constitutional and statutory provisions” without differen-
         tiating between the two, §706, it makes clear that agency interpreta-
         tions of statutes—like agency interpretations of the Constitution—are
         not entitled to deference. The APA’s history and the contemporaneous
         views of various respected commentators underscore the plain mean-
         ing of its text.
            Courts exercising independent judgment in determining the mean-
         ing of statutory provisions, consistent with the APA, may—as they
         have from the start—seek aid from the interpretations of those respon-
         sible for implementing particular statutes. See Skidmore, 323 U. S.,
         at 140. And when the best reading of a statute is that it delegates
         discretionary authority to an agency, the role of the reviewing court
         under the APA is, as always, to independently interpret the statute
         and effectuate the will of Congress subject to constitutional limits. The
         court fulfills that role by recognizing constitutional delegations, fixing
         the boundaries of the delegated authority, and ensuring the agency
         has engaged in “ ‘reasoned decisionmaking’ ” within those boundaries.
         Michigan v. EPA, 576 U. S. 743, 750 (quoting Allentown Mack Sales &
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            Service, Inc. v. NLRB, 522 U. S. 359, 374). By doing so, a court upholds
            the traditional conception of the judicial function that the APA adopts.
            Pp. 13–18.
               (c) The deference that Chevron requires of courts reviewing agency
            action cannot be squared with the APA. Pp. 18–29.
                  (1) Chevron, decided in 1984 by a bare quorum of six Justices, trig-
            gered a marked departure from the traditional judicial approach of in-
            dependently examining each statute to determine its meaning. The
            question in the case was whether an Environmental Protection Agency
            (EPA) regulation was consistent with the term “stationary source” as
            used in the Clean Air Act. 467 U. S., at 840. To answer that question,
            the Court articulated and employed a now familiar two-step approach
            broadly applicable to review of agency action. The first step was to
            discern “whether Congress ha[d] directly spoken to the precise ques-
            tion at issue.” Id., at 842. The Court explained that “[i]f the intent of
            Congress is clear, that is the end of the matter,” ibid., and courts were
            therefore to “reject administrative constructions which are contrary to
            clear congressional intent,” id., at 843, n. 9. But in a case in which “the
            statute [was] silent or ambiguous with respect to the specific issue” at
            hand, a reviewing court could not “simply impose its own construction
            on the statute, as would be necessary in the absence of an administra-
            tive interpretation.” Id., at 843 (footnote omitted). Instead, at Chev-
            ron’s second step, a court had to defer to the agency if it had offered “a
            permissible construction of the statute,” ibid., even if not “the reading
            the court would have reached if the question initially had arisen in a
            judicial proceeding,” ibid., n. 11. Employing this new test, the Court
            concluded that Congress had not addressed the question at issue with
            the necessary “level of specificity” and that EPA’s interpretation was
            “entitled to deference.” Id., at 865.
               Although the Court did not at first treat Chevron as the watershed
            decision it was fated to become, the Court and the courts of appeals
            were soon routinely invoking its framework as the governing standard
            in cases involving statutory questions of agency authority. The Court
            eventually decided that Chevron rested on “a presumption that Con-
            gress, when it left ambiguity in a statute meant for implementation by
            an agency, understood that the ambiguity would be resolved, first and
            foremost, by the agency, and desired the agency (rather than the
            courts) to possess whatever degree of discretion the ambiguity allows.”
            Smiley v. Citibank (South Dakota), N. A., 517 U. S. 735, 740–741. Pp.
            18–20.
                  (2) Neither Chevron nor any subsequent decision of the Court at-
            tempted to reconcile its framework with the APA. Chevron defies the
            command of the APA that “the reviewing court”—not the agency whose
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         action it reviews—is to “decide all relevant questions of law” and “in-
         terpret . . . statutory provisions.” §706 (emphasis added). It requires
         a court to ignore, not follow, “the reading the court would have
         reached” had it exercised its independent judgment as required by the
         APA. Chevron, 467 U. S., at 843, n. 11. Chevron insists on more than
         the “respect” historically given to Executive Branch interpretations; it
         demands that courts mechanically afford binding deference to agency
         interpretations, including those that have been inconsistent over time,
         see id., at 863, and even when a pre-existing judicial precedent holds
         that an ambiguous statute means something else, National Cable &
         Telecommunications Assn. v. Brand X Internet Services, 545 U. S. 967,
         982. That regime is the antithesis of the time honored approach the
         APA prescribes.
            Chevron cannot be reconciled with the APA by presuming that stat-
         utory ambiguities are implicit delegations to agencies. That presump-
         tion does not approximate reality. A statutory ambiguity does not nec-
         essarily reflect a congressional intent that an agency, as opposed to a
         court, resolve the resulting interpretive question. Many or perhaps
         most statutory ambiguities may be unintentional. And when courts
         confront statutory ambiguities in cases that do not involve agency in-
         terpretations or delegations of authority, they are not somehow re-
         lieved of their obligation to independently interpret the statutes. In-
         stead of declaring a particular party’s reading “permissible” in such a
         case, courts use every tool at their disposal to determine the best read-
         ing of the statute and resolve the ambiguity. But in an agency case as
         in any other, there is a best reading all the same—“the reading the
         court would have reached” if no agency were involved. Chevron, 467
         U. S., at 843, n. 11. It therefore makes no sense to speak of a “permis-
         sible” interpretation that is not the one the court, after applying all
         relevant interpretive tools, concludes is best.
            Perhaps most fundamentally, Chevron’s presumption is misguided
         because agencies have no special competence in resolving statutory
         ambiguities. Courts do. The Framers anticipated that courts would
         often confront statutory ambiguities and expected that courts would
         resolve them by exercising independent legal judgment. Chevron
         gravely erred in concluding that the inquiry is fundamentally different
         just because an administrative interpretation is in play. The very
         point of the traditional tools of statutory construction is to resolve stat-
         utory ambiguities. That is no less true when the ambiguity is about
         the scope of an agency’s own power—perhaps the occasion on which
         abdication in favor of the agency is least appropriate. Pp. 21–23.
              (3) The Government responds that Congress must generally in-
         tend for agencies to resolve statutory ambiguities because agencies
         have subject matter expertise regarding the statutes they administer;
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            because deferring to agencies purportedly promotes the uniform con-
            struction of federal law; and because resolving statutory ambiguities
            can involve policymaking best left to political actors, rather than
            courts. See Brief for Respondents in No. 22–1219, pp. 16–19. But none
            of these considerations justifies Chevron’s sweeping presumption of
            congressional intent.
               As the Court recently noted, interpretive issues arising in connec-
            tion with a regulatory scheme “may fall more naturally into a judge’s
            bailiwick” than an agency’s. Kisor v. Wilkie, 588 U. S. 558, 578. Under
            Chevron’s broad rule of deference, though, ambiguities of all stripes
            trigger deference, even in cases having little to do with an agency’s
            technical subject matter expertise. And even when an ambiguity hap-
            pens to implicate a technical matter, it does not follow that Congress
            has taken the power to authoritatively interpret the statute from the
            courts and given it to the agency. Congress expects courts to handle
            technical statutory questions, and courts did so without issue in
            agency cases before Chevron. After all, in an agency case in particular,
            the reviewing court will go about its task with the agency’s “body of
            experience and informed judgment,” among other information, at its
            disposal. Skidmore, 323 U. S., at 140. An agency’s interpretation of a
            statute “cannot bind a court,” but may be especially informative “to the
            extent it rests on factual premises within [the agency’s] expertise.” Bu-
            reau of Alcohol, Tobacco and Firearms v. FLRA, 464 U. S. 89, 98, n. 8.
            Delegating ultimate interpretive authority to agencies is simply not
            necessary to ensure that the resolution of statutory ambiguities is well
            informed by subject matter expertise.
               Nor does a desire for the uniform construction of federal law justify
            Chevron. It is unclear how much the Chevron doctrine as a whole ac-
            tually promotes such uniformity, and in any event, we see no reason to
            presume that Congress prefers uniformity for uniformity’s sake over
            the correct interpretation of the laws it enacts.
               Finally, the view that interpretation of ambiguous statutory provi-
            sions amounts to policymaking suited for political actors rather than
            courts is especially mistaken because it rests on a profound misconcep-
            tion of the judicial role. Resolution of statutory ambiguities involves
            legal interpretation, and that task does not suddenly become policy-
            making just because a court has an “agency to fall back on.” Kisor, 588
            U. S., at 575. Courts interpret statutes, no matter the context, based
            on the traditional tools of statutory construction, not individual policy
            preferences. To stay out of discretionary policymaking left to the po-
            litical branches, judges need only fulfill their obligations under the
            APA to independently identify and respect such delegations of author-
            ity, police the outer statutory boundaries of those delegations, and en-
            sure that agencies exercise their discretion consistent with the APA.
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         By forcing courts to instead pretend that ambiguities are necessarily
         delegations, Chevron prevents judges from judging. Pp. 23–26.
              (4) Because Chevron’s justifying presumption is, as Members of
         the Court have often recognized, a fiction, the Court has spent the bet-
         ter part of four decades imposing one limitation on Chevron after an-
         other. Confronted with the byzantine set of preconditions and excep-
         tions that has resulted, some courts have simply bypassed Chevron or
         failed to heed its various steps and nuances. The Court, for its part,
         has not deferred to an agency interpretation under Chevron since
         2016. But because Chevron remains on the books, litigants must con-
         tinue to wrestle with it, and lower courts—bound by even the Court’s
         crumbling precedents—understandably continue to apply it. At best,
         Chevron has been a distraction from the question that matters: Does
         the statute authorize the challenged agency action? And at worst, it
         has required courts to violate the APA by yielding to an agency the
         express responsibility, vested in “the reviewing court,” to “decide all
         relevant questions of law” and “interpret . . . statutory provisions.”
         §706 (emphasis added). Pp. 26–29.
            (d) Stare decisis, the doctrine governing judicial adherence to prece-
         dent, does not require the Court to persist in the Chevron project. The
         stare decisis considerations most relevant here—“the quality of [the
         precedent’s] reasoning, the workability of the rule it established, . . .
         and reliance on the decision,” Knick v. Township of Scott, 588 U. S.
         180, 203 (quoting Janus v. State, County, and Municipal Employees,
         585 U. S. 878, 917)—all weigh in favor of letting Chevron go.
            Chevron has proved to be fundamentally misguided. It reshaped ju-
         dicial review of agency action without grappling with the APA, the
         statute that lays out how such review works. And its flaws were ap-
         parent from the start, prompting the Court to revise its foundations
         and continually limit its application.
            Experience has also shown that Chevron is unworkable. The defin-
         ing feature of its framework is the identification of statutory ambigu-
         ity, but the concept of ambiguity has always evaded meaningful defi-
         nition. Such an impressionistic and malleable concept “cannot stand
         as an every-day test for allocating” interpretive authority between
         courts and agencies. Swift & Co. v. Wickham, 382 U. S. 111, 125. The
         Court has also been forced to clarify the doctrine again and again, only
         adding to Chevron’s unworkability, and the doctrine continues to
         spawn difficult threshold questions that promise to further complicate
         the inquiry should Chevron be retained. And its continuing import is
         far from clear, as courts have often declined to engage with the doc-
         trine, saying it makes no difference.
            Nor has Chevron fostered meaningful reliance. Given the Court’s
         constant tinkering with and eventual turn away from Chevron, it is
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            hard to see how anyone could reasonably expect a court to rely on Chev-
            ron in any particular case or expect it to produce readily foreseeable
            outcomes. And rather than safeguarding reliance interests, Chevron
            affirmatively destroys them by allowing agencies to change course
            even when Congress has given them no power to do so.
               The only way to “ensure that the law will not merely change errati-
            cally, but will develop in a principled and intelligible fashion,” Vasquez
            v. Hillery, 474 U. S. 254, 265, is for the Court to leave Chevron behind.
            By overruling Chevron, though, the Court does not call into question
            prior cases that relied on the Chevron framework. The holdings of
            those cases that specific agency actions are lawful—including the
            Clean Air Act holding of Chevron itself—are still subject to statutory
            stare decisis despite the Court’s change in interpretive methodology.
            See CBOCS West, Inc. v. Humphries, 553 U. S. 442, 457. Mere reliance
            on Chevron cannot constitute a “ ‘special justification’ ” for overruling
            such a holding. Halliburton Co. v. Erica P. John Fund, Inc., 573 U. S.
            258, 266 (quoting Dickerson v. United States, 530 U. S. 428, 443). Pp.
            29–35.
        No. 22–451, 45 F. 4th 359 & No. 22–1219, 62 F. 4th 621, vacated and
         remanded.

           ROBERTS, C. J., delivered the opinion of the Court, in which THOMAS,
        ALITO, GORSUCH, KAVANAUGH, and BARRETT, JJ., joined. THOMAS, J., and
        GORSUCH, J., filed concurring opinions. KAGAN, J., filed a dissenting
        opinion, in which SOTOMAYOR, J., joined, and in which JACKSON, J., joined
        as it applies to No. 22–1219. JACKSON, J., took no part in the considera-
        tion or decision of the case in No. 22–451.
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                                     Opinion of the Court

             NOTICE: This opinion is subject to formal revision before publication in the
             United States Reports. Readers are requested to notify the Reporter of
             Decisions, Supreme Court of the United States, Washington, D. C. 20543,
             pio@supremecourt.gov, of any typographical or other formal errors.


        SUPREME COURT OF THE UNITED STATES
                                           _________________

                                  Nos. 22–451 and 22–1219
                                           _________________


               LOPER BRIGHT ENTERPRISES, ET AL.,
                        PETITIONERS
        22–451               v.
                GINA RAIMONDO, SECRETARY OF
                      COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
            APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT



              RELENTLESS, INC., ET AL., PETITIONERS
        22–1219                v.
                DEPARTMENT OF COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                     APPEALS FOR THE FIRST CIRCUIT
                                         [June 28, 2024]

          CHIEF JUSTICE ROBERTS delivered the opinion of the
        Court.
          Since our decision in Chevron U. S. A. Inc. v. Natural Re-
        sources Defense Council, Inc., 467 U. S. 837 (1984), we have
        sometimes required courts to defer to “permissible” agency
        interpretations of the statutes those agencies administer—
        even when a reviewing court reads the statute differently.
        In these cases we consider whether that doctrine should be
        overruled.
                                  I
          Our Chevron doctrine requires courts to use a two-step
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        framework to interpret statutes administered by federal
        agencies. After determining that a case satisfies the vari-
        ous preconditions we have set for Chevron to apply, a re-
        viewing court must first assess “whether Congress has di-
        rectly spoken to the precise question at issue.” Id., at 842.
        If, and only if, congressional intent is “clear,” that is the end
        of the inquiry. Ibid. But if the court determines that “the
        statute is silent or ambiguous with respect to the specific
        issue” at hand, the court must, at Chevron’s second step,
        defer to the agency’s interpretation if it “is based on a per-
        missible construction of the statute.” Id., at 843. The re-
        viewing courts in each of the cases before us applied Chev-
        ron’s framework to resolve in favor of the Government
        challenges to the same agency rule.
                                       A
           Before 1976, unregulated foreign vessels dominated fish-
        ing in the international waters off the U. S. coast, which be-
        gan just 12 nautical miles offshore. See, e.g., S. Rep.
        No. 94–459, pp. 2–3 (1975). Recognizing the resultant over-
        fishing and the need for sound management of fishery re-
        sources, Congress enacted the Magnuson-Stevens Fishery
        Conservation and Management Act (MSA). See 90 Stat.
        331 (codified as amended at 16 U. S. C. §1801 et seq.). The
        MSA and subsequent amendments extended the jurisdic-
        tion of the United States to 200 nautical miles beyond the
        U. S. territorial sea and claimed “exclusive fishery manage-
        ment authority over all fish” within that area, known as the
        “exclusive economic zone.” §1811(a); see Presidential Proc-
        lamation No. 5030, 3 CFR 22 (1983 Comp.); §§101, 102, 90
        Stat. 336. The National Marine Fisheries Service (NMFS)
        administers the MSA under a delegation from the Secretary
        of Commerce.
           The MSA established eight regional fishery management
        councils composed of representatives from the coastal
        States, fishery stakeholders, and NMFS. See 16 U. S. C.
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        §§1852(a), (b). The councils develop fishery management
        plans, which NMFS approves and promulgates as final reg-
        ulations. See §§1852(h), 1854(a). In service of the statute’s
        fishery conservation and management goals, see §1851(a),
        the MSA requires that certain provisions—such as “a mech-
        anism for specifying annual catch limits . . . at a level such
        that overfishing does not occur,” §1853(a)(15)—be included
        in these plans, see §1853(a). The plans may also include
        additional discretionary provisions. See §1853(b). For ex-
        ample, plans may “prohibit, limit, condition, or require the
        use of specified types and quantities of fishing gear, fishing
        vessels, or equipment,” §1853(b)(4); “reserve a portion of the
        allowable biological catch of the fishery for use in scientific
        research,” §1853(b)(11); and “prescribe such other
        measures, requirements, or conditions and restrictions as
        are determined to be necessary and appropriate for the con-
        servation and management of the fishery,” §1853(b)(14).
           Relevant here, a plan may also require that “one or more
        observers be carried on board” domestic vessels “for the pur-
        pose of collecting data necessary for the conservation and
        management of the fishery.” §1853(b)(8). The MSA speci-
        fies three groups that must cover costs associated with ob-
        servers: (1) foreign fishing vessels operating within the ex-
        clusive economic zone (which must carry observers), see
        §§1821(h)(1)(A), (h)(4), (h)(6); (2) vessels participating in
        certain limited access privilege programs, which impose
        quotas permitting fishermen to harvest only specific quan-
        tities of a fishery’s total allowable catch, see §§1802(26),
        1853a(c)(1)(H), (e)(2), 1854(d)(2); and (3) vessels within the
        jurisdiction of the North Pacific Council, where many of the
        largest and most successful commercial fishing enterprises
        in the Nation operate, see §1862(a). In the latter two cases,
        the MSA expressly caps the relevant fees at two or three
        percent of the value of fish harvested on the vessels. See
        §§1854(d)(2)(B), 1862(b)(2)(E). And in general, it author-
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        izes the Secretary to impose “sanctions” when “any pay-
        ment required for observer services provided to or con-
        tracted by an owner or operator . . . has not been paid.”
        §1858(g)(1)(D).
           The MSA does not contain similar terms addressing
        whether Atlantic herring fishermen may be required to
        bear costs associated with any observers a plan may man-
        date. And at one point, NMFS fully funded the observer
        coverage the New England Fishery Management Council
        required in its plan for the Atlantic herring fishery. See 79
        Fed. Reg. 8792 (2014). In 2013, however, the council pro-
        posed amending its fishery management plans to empower
        it to require fishermen to pay for observers if federal fund-
        ing became unavailable. Several years later, NMFS prom-
        ulgated a rule approving the amendment. See 85 Fed. Reg.
        7414 (2020).
           With respect to the Atlantic herring fishery, the Rule cre-
        ated an industry funded program that aims to ensure ob-
        server coverage on 50 percent of trips undertaken by vessels
        with certain types of permits. Under that program, vessel
        representatives must “declare into” a fishery before begin-
        ning a trip by notifying NMFS of the trip and announcing
        the species the vessel intends to harvest. If NMFS deter-
        mines that an observer is required, but declines to assign a
        Government-paid one, the vessel must contract with and
        pay for a Government-certified third-party observer.
        NMFS estimated that the cost of such an observer would be
        up to $710 per day, reducing annual returns to the vessel
        owner by up to 20 percent. See id., at 7417–7418.
                                    B
          Petitioners Loper Bright Enterprises, Inc., H&L Axels-
        son, Inc., Lund Marr Trawlers LLC, and Scombrus One
        LLC are family businesses that operate in the Atlantic her-
        ring fishery. In February 2020, they challenged the Rule
        under the MSA, 16 U. S. C. §1855(f ), which incorporates
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        the Administrative Procedure Act (APA), 5 U. S. C. §551
        et seq. In relevant part, they argued that the MSA does not
        authorize NMFS to mandate that they pay for observers re-
        quired by a fishery management plan. The District Court
        granted summary judgment to the Government. It con-
        cluded that the MSA authorized the Rule, but noted that
        even if these petitioners’ “arguments were enough to raise
        an ambiguity in the statutory text,” deference to the
        agency’s interpretation would be warranted under Chevron.
        544 F. Supp. 3d 82, 107 (DC 2021); see id., at 103–107.
           A divided panel of the D. C. Circuit affirmed. See 45
        F. 4th 359 (2022). The majority addressed various provi-
        sions of the MSA and concluded that it was not “wholly un-
        ambiguous” whether NMFS may require Atlantic herring
        fishermen to pay for observers. Id., at 366. Because there
        remained “some question” as to Congress’s intent, id., at
        369, the court proceeded to Chevron’s second step and de-
        ferred to the agency’s interpretation as a “reasonable” con-
        struction of the MSA, 45 F. 4th, at 370. In dissent, Judge
        Walker concluded that Congress’s silence on industry
        funded observers for the Atlantic herring fishery—coupled
        with the express provision for such observers in other fish-
        eries and on foreign vessels—unambiguously indicated that
        NMFS lacked the authority to “require [Atlantic herring]
        fishermen to pay the wages of at-sea monitors.” Id., at 375.
                                       C
          Petitioners Relentless Inc., Huntress Inc., and Seafreeze
        Fleet LLC own two vessels that operate in the Atlantic her-
        ring fishery: the F/V Relentless and the F/V Persistence.1
        These vessels use small-mesh bottom-trawl gear and can
        freeze fish at sea, so they can catch more species of fish and
        take longer trips than other vessels (about 10 to 14 days, as

        ——————
          1 For any landlubbers, “F/V” is simply the designation for a fishing ves-

        sel.
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        opposed to the more typical 2 to 4). As a result, they gener-
        ally declare into multiple fisheries per trip so they can catch
        whatever the ocean offers up. If the vessels declare into the
        Atlantic herring fishery for a particular trip, they must
        carry an observer for that trip if NMFS selects the trip for
        coverage, even if they end up harvesting fewer herring than
        other vessels—or no herring at all.
           This set of petitioners, like those in the D. C. Circuit case,
        filed a suit challenging the Rule as unauthorized by the
        MSA. The District Court, like the D. C. Circuit, deferred to
        NMFS’s contrary interpretation under Chevron and thus
        granted summary judgment to the Government. See 561
        F. Supp. 3d 226, 234–238 (RI 2021).
           The First Circuit affirmed. See 62 F. 4th 621 (2023). It
        relied on a “default norm” that regulated entities must bear
        compliance costs, as well as the MSA’s sanctions provision,
        Section 1858(g)(1)(D). See id., at 629–631. And it rejected
        petitioners’ argument that the express statutory authoriza-
        tion of three industry funding programs demonstrated that
        NMFS lacked the broad implicit authority it asserted to im-
        pose such a program for the Atlantic herring fishery. See
        id., at 631–633. The court ultimately concluded that the
        “[a]gency’s interpretation of its authority to require at-sea
        monitors who are paid for by owners of regulated vessels
        does not ‘exceed[ ] the bounds of the permissible.’ ” Id., at
        633–634 (quoting Barnhart v. Walton, 535 U. S. 212, 218
        (2002); alteration in original). In reaching that conclusion,
        the First Circuit stated that it was applying Chevron’s two-
        step framework. 62 F. 4th, at 628. But it did not explain
        which aspects of its analysis were relevant to which of
        Chevron’s two steps. Similarly, it declined to decide
        whether the result was “a product of Chevron step one or
        step two.” Id., at 634.
           We granted certiorari in both cases, limited to the ques-
        tion whether Chevron should be overruled or clarified. See
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        601 U. S. ___ (2023); 598 U. S. ___ (2023).2
                                       II
                                        A
           Article III of the Constitution assigns to the Federal Ju-
        diciary the responsibility and power to adjudicate “Cases”
        and “Controversies”—concrete disputes with consequences
        for the parties involved. The Framers appreciated that the
        laws judges would necessarily apply in resolving those dis-
        putes would not always be clear. Cognizant of the limits of
        human language and foresight, they anticipated that “[a]ll
        new laws, though penned with the greatest technical skill,
        and passed on the fullest and most mature deliberation,”
        would be “more or less obscure and equivocal, until their
        meaning” was settled “by a series of particular discussions
        and adjudications.” The Federalist No. 37, p. 236 (J. Cooke
        ed. 1961) (J. Madison).
           The Framers also envisioned that the final “interpreta-
        tion of the laws” would be “the proper and peculiar province
        of the courts.” Id., No. 78, at 525 (A. Hamilton). Unlike the
        political branches, the courts would by design exercise “nei-
        ther Force nor Will, but merely judgment.” Id., at 523. To
        ensure the “steady, upright and impartial administration of
        the laws,” the Framers structured the Constitution to allow
        judges to exercise that judgment independent of influence
        from the political branches. Id., at 522; see id., at 522–524;
        Stern v. Marshall, 564 U. S. 462, 484 (2011).
           This Court embraced the Framers’ understanding of the
        judicial function early on. In the foundational decision of
        Marbury v. Madison, Chief Justice Marshall famously de-
        clared that “[i]t is emphatically the province and duty of the
        judicial department to say what the law is.” 1 Cranch 137,
        ——————
          2 Both petitions also presented questions regarding the consistency of

        the Rule with the MSA. See Pet. for Cert. in No. 22–451, p. i; Pet. for
        Cert. in No. 22–1219, p. ii. We did not grant certiorari with respect to
        those questions and thus do not reach them.
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        177 (1803). And in the following decades, the Court under-
        stood “interpret[ing] the laws, in the last resort,” to be a
        “solemn duty” of the Judiciary. United States v. Dickson,
        15 Pet. 141, 162 (1841) (Story, J., for the Court). When the
        meaning of a statute was at issue, the judicial role was to
        “interpret the act of Congress, in order to ascertain the
        rights of the parties.” Decatur v. Paulding, 14 Pet. 497, 515
        (1840).
           The Court also recognized from the outset, though, that
        exercising independent judgment often included according
        due respect to Executive Branch interpretations of federal
        statutes. For example, in Edwards’ Lessee v. Darby, 12
        Wheat. 206 (1827), the Court explained that “[i]n the con-
        struction of a doubtful and ambiguous law, the contempo-
        raneous construction of those who were called upon to act
        under the law, and were appointed to carry its provisions
        into effect, is entitled to very great respect.” Id., at 210; see
        also United States v. Vowell, 5 Cranch 368, 372 (1809) (Mar-
        shall, C. J., for the Court).
           Such respect was thought especially warranted when an
        Executive Branch interpretation was issued roughly con-
        temporaneously with enactment of the statute and re-
        mained consistent over time. See Dickson, 15 Pet., at 161;
        United States v. Alabama Great Southern R. Co., 142 U. S.
        615, 621 (1892); National Lead Co. v. United States, 252
        U. S. 140, 145–146 (1920). That is because “the longstand-
        ing ‘practice of the government’ ”—like any other interpre-
        tive aid—“can inform [a court’s] determination of ‘what the
        law is.’ ” NLRB v. Noel Canning, 573 U. S. 513, 525 (2014)
        (first quoting McCulloch v. Maryland, 4 Wheat. 316, 401
        (1819); then quoting Marbury, 1 Cranch, at 177). The Court
        also gave “the most respectful consideration” to Executive
        Branch interpretations simply because “[t]he officers con-
        cerned [were] usually able men, and masters of the subject,”
        who were “[n]ot unfrequently . . . the draftsmen of the laws
        they [were] afterwards called upon to interpret.” United
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        States v. Moore, 95 U. S. 760, 763 (1878); see also Jacobs v.
        Prichard, 223 U. S. 200, 214 (1912).
          “Respect,” though, was just that. The views of the Exec-
        utive Branch could inform the judgment of the Judiciary,
        but did not supersede it. Whatever respect an Executive
        Branch interpretation was due, a judge “certainly would not
        be bound to adopt the construction given by the head of a
        department.” Decatur, 14 Pet., at 515; see also Burnet v.
        Chicago Portrait Co., 285 U. S. 1, 16 (1932). Otherwise, ju-
        dicial judgment would not be independent at all. As Justice
        Story put it, “in cases where [a court’s] own judgment . . .
        differ[ed] from that of other high functionaries,” the court
        was “not at liberty to surrender, or to waive it.” Dickson,
        15 Pet., at 162.
                                      B
           The New Deal ushered in a “rapid expansion of the ad-
        ministrative process.” United States v. Morton Salt Co., 338
        U. S. 632, 644 (1950). But as new agencies with new powers
        proliferated, the Court continued to adhere to the tradi-
        tional understanding that questions of law were for courts
        to decide, exercising independent judgment.
           During this period, the Court often treated agency deter-
        minations of fact as binding on the courts, provided that
        there was “evidence to support the findings.” St. Joseph
        Stock Yards Co. v. United States, 298 U. S. 38, 51 (1936).
        “When the legislature itself acts within the broad field of
        legislative discretion,” the Court reasoned, “its determina-
        tions are conclusive.” Ibid. Congress could therefore “ap-
        point[ ] an agent to act within that sphere of legislative au-
        thority” and “endow the agent with power to make findings
        of fact which are conclusive, provided the requirements of
        due process which are specially applicable to such an
        agency are met, as in according a fair hearing and acting
        upon evidence and not arbitrarily.” Ibid. (emphasis added).
           But the Court did not extend similar deference to agency
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        resolutions of questions of law. It instead made clear, re-
        peatedly, that “[t]he interpretation of the meaning of stat-
        utes, as applied to justiciable controversies,” was “exclu-
        sively a judicial function.” United States v. American
        Trucking Assns., Inc., 310 U. S. 534, 544 (1940); see also
        Social Security Bd. v. Nierotko, 327 U. S. 358, 369 (1946);
        Medo Photo Supply Corp. v. NLRB, 321 U. S. 678, 681–682,
        n. 1 (1944). The Court understood, in the words of Justice
        Brandeis, that “[t]he supremacy of law demands that there
        shall be opportunity to have some court decide whether an
        erroneous rule of law was applied.” St. Joseph Stock Yards,
        298 U. S., at 84 (concurring opinion). It also continued to
        note, as it long had, that the informed judgment of the Ex-
        ecutive Branch—especially in the form of an interpretation
        issued contemporaneously with the enactment of the stat-
        ute—could be entitled to “great weight.” American Truck-
        ing Assns., 310 U. S., at 549.
          Perhaps most notably along those lines, in Skidmore v.
        Swift & Co., 323 U. S. 134 (1944), the Court explained that
        the “interpretations and opinions” of the relevant agency,
        “made in pursuance of official duty” and “based upon . . .
        specialized experience,” “constitute[d] a body of experience
        and informed judgment to which courts and litigants [could]
        properly resort for guidance,” even on legal questions. Id.,
        at 139–140. “The weight of such a judgment in a particular
        case,” the Court observed, would “depend upon the thor-
        oughness evident in its consideration, the validity of its rea-
        soning, its consistency with earlier and later pronounce-
        ments, and all those factors which give it power to
        persuade, if lacking power to control.” Id., at 140.
          On occasion, to be sure, the Court applied deferential re-
        view upon concluding that a particular statute empowered
        an agency to decide how a broad statutory term applied to
        specific facts found by the agency. For example, in Gray v.
        Powell, 314 U. S. 402 (1941), the Court deferred to an ad-
        ministrative conclusion that a coal-burning railroad that
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        had arrangements with several coal mines was not a coal
        “producer” under the Bituminous Coal Act of 1937. Con-
        gress had “specifically” granted the agency the authority to
        make that determination. Id., at 411. The Court thus rea-
        soned that “[w]here, as here, a determination has been left
        to an administrative body, this delegation will be respected
        and the administrative conclusion left untouched” so long
        as the agency’s decision constituted “a sensible exercise of
        judgment.” Id., at 412–413. Similarly, in NLRB v. Hearst
        Publications, Inc., 322 U. S. 111 (1944), the Court deferred
        to the determination of the National Labor Relations Board
        that newsboys were “employee[s]” within the meaning of
        the National Labor Relations Act. The Act had, in the
        Court’s judgment, “assigned primarily” to the Board the
        task of marking a “definitive limitation around the term
        ‘employee.’ ” Id., at 130. The Court accordingly viewed its
        own role as “limited” to assessing whether the Board’s de-
        termination had a “ ‘warrant in the record’ and a reasonable
        basis in law.” Id., at 131.
          Such deferential review, though, was cabined to fact-
        bound determinations like those at issue in Gray and
        Hearst. Neither Gray nor Hearst purported to refashion the
        longstanding judicial approach to questions of law. In
        Gray, after deferring to the agency’s determination that a
        particular entity was not a “producer” of coal, the Court
        went on to discern, based on its own reading of the text,
        whether another statutory term—“other disposal” of coal—
        encompassed a transaction lacking a transfer of title. See
        314 U. S., at 416–417. The Court evidently perceived no
        basis for deference to the agency with respect to that pure
        legal question. And in Hearst, the Court proclaimed that
        “[u]ndoubtedly questions of statutory interpretation . . . are
        for the courts to resolve, giving appropriate weight to the
        judgment of those whose special duty is to administer the
        questioned statute.” 322 U. S., at 130–131. At least with
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        respect to questions it regarded as involving “statutory in-
        terpretation,” the Court thus did not disturb the traditional
        rule. It merely thought that a different approach should
        apply where application of a statutory term was sufficiently
        intertwined with the agency’s factfinding.
           In any event, the Court was far from consistent in review-
        ing deferentially even such factbound statutory determina-
        tions. Often the Court simply interpreted and applied the
        statute before it. See K. Davis, Administrative Law §248,
        p. 893 (1951) (“The one statement that can be made with
        confidence about applicability of the doctrine of Gray v.
        Powell is that sometimes the Supreme Court applies it and
        sometimes it does not.”); B. Schwartz, Gray vs. Powell and
        the Scope of Review, 54 Mich. L. Rev. 1, 68 (1955) (noting
        an “embarrassingly large number of Supreme Court deci-
        sions that do not adhere to the doctrine of Gray v. Powell”).
        In one illustrative example, the Court rejected the U. S.
        Price Administrator’s determination that a particular
        warehouse was a “public utility” entitled to an exemption
        from the Administrator’s General Maximum Price Regula-
        tion. Despite the striking resemblance of that administra-
        tive determination to those that triggered deference in Gray
        and Hearst, the Court declined to “accept the Administra-
        tor’s view in deference to administrative construction.” Da-
        vies Warehouse Co. v. Bowles, 321 U. S. 144, 156 (1944).
        The Administrator’s view, the Court explained, had “hardly
        seasoned or broadened into a settled administrative prac-
        tice,” and thus did not “overweigh the considerations” the
        Court had “set forth as to the proper construction of the
        statute.” Ibid.
           Nothing in the New Deal era or before it thus resembled
        the deference rule the Court would begin applying decades
        later to all varieties of agency interpretations of statutes.
        Instead, just five years after Gray and two after Hearst,
        Congress codified the opposite rule: the traditional under-
        standing that courts must “decide all relevant questions of
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        law.” 5 U. S. C. §706.3
                                    C
          Congress in 1946 enacted the APA “as a check upon ad-
        ministrators whose zeal might otherwise have carried them
        to excesses not contemplated in legislation creating their
        offices.” Morton Salt, 338 U. S., at 644. It was the culmi-
        nation of a “comprehensive rethinking of the place of ad-
        ministrative agencies in a regime of separate and divided
        powers.” Bowen v. Michigan Academy of Family Physi-
        cians, 476 U. S. 667, 670–671 (1986).
          In addition to prescribing procedures for agency action,
        the APA delineates the basic contours of judicial review of
        such action. As relevant here, Section 706 directs that “[t]o
        ——————
           3 The dissent plucks out Gray, Hearst, and—to “gild the lily,” in its tell-

        ing—three more 1940s decisions, claiming they reflect the relevant his-
        torical tradition of judicial review. Post, at 21–22, and n. 6 (opinion of
        KAGAN, J.). But it has no substantial response to the fact that Gray and
        Hearst themselves endorsed, implicitly in one case and explicitly in the
        next, the traditional rule that “questions of statutory interpretation . . .
        are for the courts to resolve, giving appropriate weight”—not outright
        deference—“to the judgment of those whose special duty is to administer
        the questioned statute.” Hearst, 322 U. S., at 130–131. And it fails to
        recognize the deep roots that this rule has in our Nation’s judicial tradi-
        tion, to the limited extent it engages with that tradition at all. See post,
        at 20–21, n. 5. Instead, like the Government, it strains to equate the
        “respect” or “weight” traditionally afforded to Executive Branch interpre-
        tations with binding deference. See ibid.; Brief for Respondents in No.
        22–1219, pp. 21–24. That supposed equivalence is a fiction. The dis-
        sent’s cases establish that a “contemporaneous construction” shared by
        “not only . . . the courts” but also “the departments” could be “control-
        ling,” Schell’s Executors v. Fauché, 138 U. S. 562, 572 (1891) (emphasis
        added), and that courts might “lean in favor” of a “contemporaneous” and
        “continued” construction of the Executive Branch as strong evidence of a
        statute’s meaning, United States v. Alabama Great Southern R. Co., 142
        U. S. 615, 621 (1892). They do not establish that Executive Branch in-
        terpretations of ambiguous statutes—no matter how inconsistent, late
        breaking, or flawed—always bound the courts. In reality, a judge was
        never “bound to adopt the construction given by the head of a depart-
        ment.” Decatur v. Paulding, 14 Pet. 497, 515 (1840).
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        the extent necessary to decision and when presented, the
        reviewing court shall decide all relevant questions of law,
        interpret constitutional and statutory provisions, and de-
        termine the meaning or applicability of the terms of an
        agency action.” 5 U. S. C. §706. It further requires courts
        to “hold unlawful and set aside agency action, findings, and
        conclusions found to be . . . not in accordance with law.”
        §706(2)(A).
          The APA thus codifies for agency cases the unremarka-
        ble, yet elemental proposition reflected by judicial practice
        dating back to Marbury: that courts decide legal questions
        by applying their own judgment. It specifies that courts,
        not agencies, will decide “all relevant questions of law” aris-
        ing on review of agency action, §706 (emphasis added)—
        even those involving ambiguous laws—and set aside any
        such action inconsistent with the law as they interpret it.
        And it prescribes no deferential standard for courts to em-
        ploy in answering those legal questions. That omission is
        telling, because Section 706 does mandate that judicial re-
        view of agency policymaking and factfinding be deferential.
        See §706(2)(A) (agency action to be set aside if “arbitrary,
        capricious, [or] an abuse of discretion”); §706(2)(E) (agency
        factfinding in formal proceedings to be set aside if “unsup-
        ported by substantial evidence”).
          In a statute designed to “serve as the fundamental char-
        ter of the administrative state,” Kisor v. Wilkie, 588 U. S.
        558, 580 (2019) (plurality opinion) (internal quotation
        marks omitted), Congress surely would have articulated a
        similarly deferential standard applicable to questions of
        law had it intended to depart from the settled pre-APA un-
        derstanding that deciding such questions was “exclusively
        a judicial function,” American Trucking Assns., 310 U. S.,
        at 544. But nothing in the APA hints at such a dramatic
        departure. On the contrary, by directing courts to “inter-
        pret constitutional and statutory provisions” without differ-
        entiating between the two, Section 706 makes clear that
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        agency interpretations of statutes—like agency interpreta-
        tions of the Constitution—are not entitled to deference. Un-
        der the APA, it thus “remains the responsibility of the court
        to decide whether the law means what the agency says.”
        Perez v. Mortgage Bankers Assn., 575 U. S. 92, 109 (2015)
        (Scalia, J., concurring in judgment).4
           The text of the APA means what it says. And a look at
        its history if anything only underscores that plain meaning.
        According to both the House and Senate Reports on the leg-
        islation, Section 706 “provide[d] that questions of law are
        for courts rather than agencies to decide in the last analy-
        sis.” H. R. Rep. No. 1980, 79th Cong., 2d Sess., 44 (1946)
        (emphasis added); accord, S. Rep. No. 752, 79th Cong., 1st
        Sess., 28 (1945). Some of the legislation’s most prominent
        supporters articulated the same view. See 92 Cong. Rec.
        5654 (1946) (statement of Rep. Walter); P. McCarran, Im-
        proving “Administrative Justice”: Hearings and Evidence;
        Scope of Judicial Review, 32 A. B. A. J. 827, 831 (1946).
        Even the Department of Justice—an agency with every in-
        centive to endorse a view of the APA favorable to the Exec-
        utive Branch—opined after its enactment that Section 706
        merely “restate[d] the present law as to the scope of judicial
        review.” Dept. of Justice, Attorney General’s Manual on the

        ——————
            4 The dissent observes that Section 706 does not say expressly that

        courts are to decide legal questions using “a de novo standard of review.”
        Post, at 16. That much is true. But statutes can be sensibly understood
        only “by reviewing text in context.” Pulsifer v. United States, 601 U. S.
        124, 133 (2024). Since the start of our Republic, courts have “decide[d]
        . . . questions of law” and “interpret[ed] constitutional and statutory pro-
        visions” by applying their own legal judgment. §706. Setting aside its
        misplaced reliance on Gray and Hearst, the dissent does not and could
        not deny that tradition. But it nonetheless insists that to codify that
        tradition, Congress needed to expressly reject a sort of deference the
        courts had never before applied—and would not apply for several dec-
        ades to come. It did not. “The notion that some things ‘go without saying’
        applies to legislation just as it does to everyday life.” Bond v. United
        States, 572 U. S. 844, 857 (2014).
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        Administrative Procedure Act 108 (1947); see also Kisor,
        588 U. S., at 582 (plurality opinion) (same). That “present
        law,” as we have described, adhered to the traditional con-
        ception of the judicial function. See supra, at 9–13.
           Various respected commentators contemporaneously
        maintained that the APA required reviewing courts to ex-
        ercise independent judgment on questions of law. Professor
        John Dickinson, for example, read the APA to “impose a
        clear mandate that all [questions of law] shall be decided by
        the reviewing Court itself, and in the exercise of its own in-
        dependent judgment.”        Administrative Procedure Act:
        Scope and Grounds of Broadened Judicial Review, 33
        A. B. A. J. 434, 516 (1947). Professor Bernard Schwartz
        noted that §706 “would seem . . . to be merely a legislative
        restatement of the familiar review principle that questions
        of law are for the reviewing court, at the same time leaving
        to the courts the task of determining in each case what are
        questions of law.” Mixed Questions of Law and Fact and
        the Administrative Procedure Act, 19 Ford. L. Rev. 73, 84–
        85 (1950). And Professor Louis Jaffe, who had served in
        several agencies at the advent of the New Deal, thought
        that §706 leaves it up to the reviewing “court” to “decide as
        a ‘question of law’ whether there is ‘discretion’ in the prem-
        ises”—that is, whether the statute at issue delegates par-
        ticular discretionary authority to an agency. Judicial Con-
        trol of Administrative Action 570 (1965).
           The APA, in short, incorporates the traditional under-
        standing of the judicial function, under which courts must
        exercise independent judgment in determining the mean-
        ing of statutory provisions. In exercising such judgment,
        though, courts may—as they have from the start—seek aid
        from the interpretations of those responsible for imple-
        menting particular statutes. Such interpretations “consti-
        tute a body of experience and informed judgment to which
        courts and litigants may properly resort for guidance” con-
        sistent with the APA. Skidmore, 323 U. S., at 140. And
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        interpretations issued contemporaneously with the statute
        at issue, and which have remained consistent over time,
        may be especially useful in determining the statute’s mean-
        ing. See ibid.; American Trucking Assns., 310 U. S., at 549.
           In a case involving an agency, of course, the statute’s
        meaning may well be that the agency is authorized to exer-
        cise a degree of discretion. Congress has often enacted such
        statutes. For example, some statutes “expressly delegate[ ]”
        to an agency the authority to give meaning to a particular
        statutory term. Batterton v. Francis, 432 U. S. 416, 425
        (1977) (emphasis deleted).5 Others empower an agency to
        prescribe rules to “fill up the details” of a statutory scheme,
        Wayman v. Southard, 10 Wheat. 1, 43 (1825), or to regulate
        subject to the limits imposed by a term or phrase that
        “leaves agencies with flexibility,” Michigan v. EPA, 576
        U. S. 743, 752 (2015), such as “appropriate” or “reasona-
        ble.”6
           When the best reading of a statute is that it delegates


        ——————
           5 See, e.g., 29 U. S. C. §213(a)(15) (exempting from provisions of the

        Fair Labor Standards Act “any employee employed on a casual basis in
        domestic service employment to provide companionship services for in-
        dividuals who (because of age or infirmity) are unable to care for them-
        selves (as such terms are defined and delimited by regulations of the Sec-
        retary)” (emphasis added)); 42 U. S. C. §5846(a)(2) (requiring notification
        to Nuclear Regulatory Commission when a facility or activity licensed or
        regulated pursuant to the Atomic Energy Act “contains a defect which
        could create a substantial safety hazard, as defined by regulations which
        the Commission shall promulgate” (emphasis added)).
           6 See, e.g., 33 U. S. C. §1312(a) (requiring establishment of effluent lim-

        itations “[w]henever, in the judgment of the [Environmental Protection
        Agency (EPA)] Administrator . . . , discharges of pollutants from a point
        source or group of point sources . . . would interfere with the attainment
        or maintenance of that water quality . . . which shall assure” various out-
        comes, such as the “protection of public health” and “public water sup-
        plies”); 42 U. S. C. §7412(n)(1)(A) (directing EPA to regulate power
        plants “if the Administrator finds such regulation is appropriate and nec-
        essary”).
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        discretionary authority to an agency, the role of the review-
        ing court under the APA is, as always, to independently in-
        terpret the statute and effectuate the will of Congress sub-
        ject to constitutional limits. The court fulfills that role by
        recognizing constitutional delegations, “fix[ing] the bound-
        aries of [the] delegated authority,” H. Monaghan, Marbury
        and the Administrative State, 83 Colum. L. Rev. 1, 27
        (1983), and ensuring the agency has engaged in “ ‘reasoned
        decisionmaking’ ” within those boundaries, Michigan, 576
        U. S., at 750 (quoting Allentown Mack Sales & Service, Inc.
        v. NLRB, 522 U. S. 359, 374 (1998)); see also Motor Vehicle
        Mfrs. Assn. of United States, Inc. v. State Farm Mut. Auto-
        mobile Ins. Co., 463 U. S. 29 (1983). By doing so, a court
        upholds the traditional conception of the judicial function
        that the APA adopts.
                                   III
          The deference that Chevron requires of courts reviewing
        agency action cannot be squared with the APA.
                                      A
           In the decades between the enactment of the APA and
        this Court’s decision in Chevron, courts generally continued
        to review agency interpretations of the statutes they admin-
        ister by independently examining each statute to determine
        its meaning. Cf. T. Merrill, Judicial Deference to Executive
        Precedent, 101 Yale L. J. 969, 972–975 (1992). As an early
        proponent (and later critic) of Chevron recounted, courts
        during this period thus identified delegations of discretion-
        ary authority to agencies on a “statute-by-statute basis.” A.
        Scalia, Judicial Deference to Administrative Interpreta-
        tions of Law, 1989 Duke L. J. 511, 516.
           Chevron, decided in 1984 by a bare quorum of six Jus-
        tices, triggered a marked departure from the traditional ap-
        proach. The question in the case was whether an EPA reg-
        ulation “allow[ing] States to treat all of the pollution-
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        emitting devices within the same industrial grouping as
        though they were encased within a single ‘bubble’ ” was con-
        sistent with the term “stationary source” as used in the
        Clean Air Act. 467 U. S., at 840. To answer that question
        of statutory interpretation, the Court articulated and em-
        ployed a now familiar two-step approach broadly applicable
        to review of agency action.
           The first step was to discern “whether Congress ha[d] di-
        rectly spoken to the precise question at issue.” Id., at 842.
        The Court explained that “[i]f the intent of Congress is
        clear, that is the end of the matter,” ibid., and courts were
        therefore to “reject administrative constructions which are
        contrary to clear congressional intent,” id., at 843, n. 9. To
        discern such intent, the Court noted, a reviewing court was
        to “employ[ ] traditional tools of statutory construction.”
        Ibid.
           Without mentioning the APA, or acknowledging any doc-
        trinal shift, the Court articulated a second step applicable
        when “Congress ha[d] not directly addressed the precise
        question at issue.” Id., at 843. In such a case—that is, a
        case in which “the statute [was] silent or ambiguous with
        respect to the specific issue” at hand—a reviewing court
        could not “simply impose its own construction on the stat-
        ute, as would be necessary in the absence of an administra-
        tive interpretation.” Ibid. (footnote omitted). A court in-
        stead had to set aside the traditional interpretive tools and
        defer to the agency if it had offered “a permissible construc-
        tion of the statute,” ibid., even if not “the reading the court
        would have reached if the question initially had arisen in a
        judicial proceeding,” ibid., n. 11. That directive was justi-
        fied, according to the Court, by the understanding that ad-
        ministering statutes “requires the formulation of policy” to
        fill statutory “gap[s]”; by the long judicial tradition of ac-
        cording “considerable weight” to Executive Branch inter-
        pretations; and by a host of other considerations, including
        the complexity of the regulatory scheme, EPA’s “detailed
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        and reasoned” consideration, the policy-laden nature of the
        judgment supposedly required, and the agency’s indirect ac-
        countability to the people through the President. Id., at
        843, 844, and n. 14, 865.
           Employing this new test, the Court concluded that Con-
        gress had not addressed the question at issue with the nec-
        essary “level of specificity” and that EPA’s interpretation
        was “entitled to deference.” Id., at 865. It did not matter
        why Congress, as the Court saw it, had not squarely ad-
        dressed the question, see ibid., or that “the agency ha[d]
        from time to time changed its interpretation,” id., at 863.
        The latest EPA interpretation was a permissible reading of
        the Clean Air Act, so under the Court’s new rule, that read-
        ing controlled.
           Initially, Chevron “seemed destined to obscurity.” T.
        Merrill, The Story of Chevron: The Making of an Accidental
        Landmark, 66 Admin. L. Rev. 253, 276 (2014). The Court
        did not at first treat it as the watershed decision it was
        fated to become; it was hardly cited in cases involving stat-
        utory questions of agency authority. See ibid. But within
        a few years, both this Court and the courts of appeals were
        routinely invoking its two-step framework as the governing
        standard in such cases. See id., at 276–277. As the Court
        did so, it revisited the doctrine’s justifications. Eventually,
        the Court decided that Chevron rested on “a presumption
        that Congress, when it left ambiguity in a statute meant for
        implementation by an agency, understood that the ambigu-
        ity would be resolved, first and foremost, by the agency, and
        desired the agency (rather than the courts) to possess what-
        ever degree of discretion the ambiguity allows.” Smiley v.
        Citibank (South Dakota), N. A., 517 U. S. 735, 740–741
        (1996); see also, e.g., Cuozzo Speed Technologies, LLC v.
        Lee, 579 U. S. 261, 276–277 (2016); Utility Air Regulatory
        Group v. EPA, 573 U. S. 302, 315 (2014); National Cable &
        Telecommunications Assn. v. Brand X Internet Services, 545
        U. S. 967, 982 (2005).
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                                     B
           Neither Chevron nor any subsequent decision of this
        Court attempted to reconcile its framework with the APA.
        The “law of deference” that this Court has built on the foun-
        dation laid in Chevron has instead been “[h]eedless of the
        original design” of the APA. Perez, 575 U. S., at 109 (Scalia,
        J., concurring in judgment).
                                       1
           Chevron defies the command of the APA that “the review-
        ing court”—not the agency whose action it reviews—is to
        “decide all relevant questions of law” and “interpret . . .
        statutory provisions.” §706 (emphasis added). It requires
        a court to ignore, not follow, “the reading the court would
        have reached” had it exercised its independent judgment as
        required by the APA. Chevron, 467 U. S., at 843, n. 11. And
        although exercising independent judgment is consistent
        with the “respect” historically given to Executive Branch in-
        terpretations, see, e.g., Edwards’ Lessee, 12 Wheat., at 210;
        Skidmore, 323 U. S., at 140, Chevron insists on much more.
        It demands that courts mechanically afford binding defer-
        ence to agency interpretations, including those that have
        been inconsistent over time. See 467 U. S., at 863. Still
        worse, it forces courts to do so even when a pre-existing ju-
        dicial precedent holds that the statute means something
        else—unless the prior court happened to also say that the
        statute is “unambiguous.” Brand X, 545 U. S., at 982. That
        regime is the antithesis of the time honored approach the
        APA prescribes. In fretting over the prospect of “allow[ing]”
        a judicial interpretation of a statute “to override an
        agency’s” in a dispute before a court, ibid., Chevron turns
        the statutory scheme for judicial review of agency action up-
        side down.
           Chevron cannot be reconciled with the APA, as the Gov-
        ernment and the dissent contend, by presuming that statu-
        tory ambiguities are implicit delegations to agencies. See
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        Brief for Respondents in No. 22–1219, pp. 13, 37–38; post,
        at 4–15 (opinion of KAGAN, J.). Presumptions have their
        place in statutory interpretation, but only to the extent that
        they approximate reality. Chevron’s presumption does not,
        because “[a]n ambiguity is simply not a delegation of law-
        interpreting power. Chevron confuses the two.” C. Sun-
        stein, Interpreting Statutes in the Regulatory State, 103
        Harv. L. Rev. 405, 445 (1989). As Chevron itself noted, am-
        biguities may result from an inability on the part of Con-
        gress to squarely answer the question at hand, or from a
        failure to even “consider the question” with the requisite
        precision. 467 U. S., at 865. In neither case does an ambi-
        guity necessarily reflect a congressional intent that an
        agency, as opposed to a court, resolve the resulting inter-
        pretive question. And many or perhaps most statutory am-
        biguities may be unintentional. As the Framers recognized,
        ambiguities will inevitably follow from “the complexity of
        objects, . . . the imperfection of the human faculties,” and
        the simple fact that “no language is so copious as to supply
        words and phrases for every complex idea.” The Federalist
        No. 37, at 236.
           Courts, after all, routinely confront statutory ambiguities
        in cases having nothing to do with Chevron—cases that do
        not involve agency interpretations or delegations of author-
        ity. Of course, when faced with a statutory ambiguity in
        such a case, the ambiguity is not a delegation to anybody,
        and a court is not somehow relieved of its obligation to in-
        dependently interpret the statute. Courts in that situation
        do not throw up their hands because “Congress’s instruc-
        tions have” supposedly “run out,” leaving a statutory “gap.”
        Post, at 2 (opinion of KAGAN, J.). Courts instead under-
        stand that such statutes, no matter how impenetrable, do—
        in fact, must—have a single, best meaning. That is the
        whole point of having written statutes; “every statute’s
        meaning is fixed at the time of enactment.” Wisconsin Cen-
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        tral Ltd. v. United States, 585 U. S. 274, 284 (2018) (empha-
        sis deleted). So instead of declaring a particular party’s
        reading “permissible” in such a case, courts use every tool
        at their disposal to determine the best reading of the stat-
        ute and resolve the ambiguity.
           In an agency case as in any other, though, even if some
        judges might (or might not) consider the statute ambiguous,
        there is a best reading all the same—“the reading the court
        would have reached” if no agency were involved. Chevron,
        467 U. S., at 843, n. 11. It therefore makes no sense to
        speak of a “permissible” interpretation that is not the one
        the court, after applying all relevant interpretive tools, con-
        cludes is best. In the business of statutory interpretation,
        if it is not the best, it is not permissible.
           Perhaps most fundamentally, Chevron’s presumption is
        misguided because agencies have no special competence in
        resolving statutory ambiguities. Courts do. The Framers,
        as noted, anticipated that courts would often confront stat-
        utory ambiguities and expected that courts would resolve
        them by exercising independent legal judgment. And even
        Chevron itself reaffirmed that “[t]he judiciary is the final
        authority on issues of statutory construction” and recog-
        nized that “in the absence of an administrative interpreta-
        tion,” it is “necessary” for a court to “impose its own con-
        struction on the statute.” Id., at 843, and n. 9. Chevron
        gravely erred, though, in concluding that the inquiry is fun-
        damentally different just because an administrative inter-
        pretation is in play. The very point of the traditional tools
        of statutory construction—the tools courts use every day—
        is to resolve statutory ambiguities. That is no less true
        when the ambiguity is about the scope of an agency’s own
        power—perhaps the occasion on which abdication in favor
        of the agency is least appropriate.
                                 2
          The Government responds that Congress must generally
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        intend for agencies to resolve statutory ambiguities because
        agencies have subject matter expertise regarding the stat-
        utes they administer; because deferring to agencies pur-
        portedly promotes the uniform construction of federal law;
        and because resolving statutory ambiguities can involve
        policymaking best left to political actors, rather than courts.
        See Brief for Respondents in No. 22–1219, pp. 16–19. The
        dissent offers more of the same. See post, at 9–14. But none
        of these considerations justifies Chevron’s sweeping pre-
        sumption of congressional intent.
           Beginning with expertise, we recently noted that inter-
        pretive issues arising in connection with a regulatory
        scheme often “may fall more naturally into a judge’s baili-
        wick” than an agency’s. Kisor, 588 U. S., at 578 (opinion of
        the Court). We thus observed that “[w]hen the agency has
        no comparative expertise in resolving a regulatory ambigu-
        ity, Congress presumably would not grant it that author-
        ity.” Ibid. Chevron’s broad rule of deference, though, de-
        mands that courts presume just the opposite. Under that
        rule, ambiguities of all stripes trigger deference. Indeed,
        the Government and, seemingly, the dissent continue to de-
        fend the proposition that Chevron applies even in cases hav-
        ing little to do with an agency’s technical subject matter ex-
        pertise. See Brief for Respondents in No. 22–1219, p. 17;
        post, at 10.
           But even when an ambiguity happens to implicate a tech-
        nical matter, it does not follow that Congress has taken the
        power to authoritatively interpret the statute from the
        courts and given it to the agency. Congress expects courts
        to handle technical statutory questions. “[M]any statutory
        cases” call upon “courts [to] interpret the mass of technical
        detail that is the ordinary diet of the law,” Egelhoff v.
        Egelhoff, 532 U. S. 141, 161 (2001) (Breyer, J., dissenting),
        and courts did so without issue in agency cases before Chev-
        ron, see post, at 30 (GORSUCH, J., concurring). Courts, after
        all, do not decide such questions blindly. The parties and
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        amici in such cases are steeped in the subject matter, and
        reviewing courts have the benefit of their perspectives. In
        an agency case in particular, the court will go about its task
        with the agency’s “body of experience and informed judg-
        ment,” among other information, at its disposal. Skidmore,
        323 U. S., at 140. And although an agency’s interpretation
        of a statute “cannot bind a court,” it may be especially in-
        formative “to the extent it rests on factual premises within
        [the agency’s] expertise.” Bureau of Alcohol, Tobacco and
        Firearms v. FLRA, 464 U. S. 89, 98, n. 8 (1983). Such ex-
        pertise has always been one of the factors which may give
        an Executive Branch interpretation particular “power to
        persuade, if lacking power to control.” Skidmore, 323 U. S.,
        at 140; see, e.g., County of Maui v. Hawaii Wildlife Fund,
        590 U. S. 165, 180 (2020); Moore, 95 U. S., at 763.
           For those reasons, delegating ultimate interpretive au-
        thority to agencies is simply not necessary to ensure that
        the resolution of statutory ambiguities is well informed by
        subject matter expertise. The better presumption is there-
        fore that Congress expects courts to do their ordinary job of
        interpreting statutes, with due respect for the views of the
        Executive Branch. And to the extent that Congress and the
        Executive Branch may disagree with how the courts have
        performed that job in a particular case, they are of course
        always free to act by revising the statute.
           Nor does a desire for the uniform construction of federal
        law justify Chevron. Given inconsistencies in how judges
        apply Chevron, see infra, at 30–33, it is unclear how much
        the doctrine as a whole (as opposed to its highly deferential
        second step) actually promotes such uniformity. In any
        event, there is little value in imposing a uniform interpre-
        tation of a statute if that interpretation is wrong. We see
        no reason to presume that Congress prefers uniformity for
        uniformity’s sake over the correct interpretation of the laws
        it enacts.
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           The view that interpretation of ambiguous statutory pro-
        visions amounts to policymaking suited for political actors
        rather than courts is especially mistaken, for it rests on a
        profound misconception of the judicial role. It is reasonable
        to assume that Congress intends to leave policymaking to
        political actors. But resolution of statutory ambiguities in-
        volves legal interpretation. That task does not suddenly be-
        come policymaking just because a court has an “agency to
        fall back on.” Kisor, 588 U. S., at 575 (opinion of the Court).
        Courts interpret statutes, no matter the context, based on
        the traditional tools of statutory construction, not individ-
        ual policy preferences. Indeed, the Framers crafted the
        Constitution to ensure that federal judges could exercise
        judgment free from the influence of the political branches.
        See The Federalist, No. 78, at 522–525. They were to con-
        strue the law with “[c]lear heads . . . and honest hearts,” not
        with an eye to policy preferences that had not made it into
        the statute. 1 Works of James Wilson 363 (J. Andrews ed.
        1896).
           That is not to say that Congress cannot or does not confer
        discretionary authority on agencies. Congress may do so,
        subject to constitutional limits, and it often has. But to stay
        out of discretionary policymaking left to the political
        branches, judges need only fulfill their obligations under
        the APA to independently identify and respect such delega-
        tions of authority, police the outer statutory boundaries of
        those delegations, and ensure that agencies exercise their
        discretion consistent with the APA. By forcing courts to in-
        stead pretend that ambiguities are necessarily delegations,
        Chevron does not prevent judges from making policy. It
        prevents them from judging.
                                      3
          In truth, Chevron’s justifying presumption is, as Mem-
        bers of this Court have often recognized, a fiction. See Buff-
        ington v. McDonough, 598 U. S. ___, ___ (2022) (GORSUCH,
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        J., dissenting from denial of certiorari) (slip op., at 11);
        Cuozzo, 579 U. S., at 286 (THOMAS, J., concurring); Scalia,
        1989 Duke L. J., at 517; see also post, at 15 (opinion of
        KAGAN, J.). So we have spent the better part of four decades
        imposing one limitation on Chevron after another, pruning
        its presumption on the understanding that “where it is in
        doubt that Congress actually intended to delegate particu-
        lar interpretive authority to an agency, Chevron is ‘inappli-
        cable.’ ” United States v. Mead Corp., 533 U. S. 218, 230
        (2001) (quoting Christensen v. Harris County, 529 U. S. 576,
        597 (2000) (Breyer, J., dissenting)); see also Adams Fruit
        Co. v. Barrett, 494 U. S. 638, 649 (1990).
           Consider the many refinements we have made in an ef-
        fort to match Chevron’s presumption to reality. We have
        said that Chevron applies only “when it appears that Con-
        gress delegated authority to the agency generally to make
        rules carrying the force of law, and that the agency inter-
        pretation claiming deference was promulgated in the exer-
        cise of that authority.” Mead, 533 U. S., at 226–227. In
        practice, that threshold requirement—sometimes called
        Chevron “step zero”—largely limits Chevron to “the fruits of
        notice-and-comment rulemaking or formal adjudication.”
        533 U. S., at 230. But even when those processes are used,
        deference is still not warranted “where the regulation is
        ‘procedurally defective’—that is, where the agency errs by
        failing to follow the correct procedures in issuing the regu-
        lation.” Encino Motorcars, LLC v. Navarro, 579 U. S. 211,
        220 (2016) (quoting Mead, 533 U. S., at 227).
           Even where those procedural hurdles are cleared, sub-
        stantive ones remain. Most notably, Chevron does not ap-
        ply if the question at issue is one of “deep ‘economic and
        political significance.’ ” King v. Burwell, 576 U. S. 473, 486
        (2015). We have instead expected Congress to delegate
        such authority “expressly” if at all, ibid., for “[e]xtraordi-
        nary grants of regulatory authority are rarely accomplished
        through ‘modest words,’ ‘vague terms,’ or ‘subtle device[s],’ ”
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        West Virginia v. EPA, 597 U. S. 697, 723 (2022) (quoting
        Whitman v. American Trucking Assns., Inc., 531 U. S. 457,
        468 (2001); alteration in original). Nor have we applied
        Chevron to agency interpretations of judicial review provi-
        sions, see Adams Fruit Co., 494 U. S., at 649–650, or to stat-
        utory schemes not administered by the agency seeking def-
        erence, see Epic Systems Corp. v. Lewis, 584 U. S. 497, 519–
        520 (2018). And we have sent mixed signals on whether
        Chevron applies when a statute has criminal applications.
        Compare Abramski v. United States, 573 U. S. 169, 191
        (2014), with Babbitt v. Sweet Home Chapter, Communities
        for Great Ore., 515 U. S. 687, 704, n. 18 (1995).
          Confronted with this byzantine set of preconditions and
        exceptions, some courts have simply bypassed Chevron,
        saying it makes no difference for one reason or another.7
        And even when they do invoke Chevron, courts do not al-
        ways heed the various steps and nuances of that evolving
        doctrine. In one of the cases before us today, for example,
        the First Circuit both skipped “step zero,” see 62 F. 4th, at
        628, and refused to “classify [its] conclusion as a product of
        Chevron step one or step two”—though it ultimately ap-
        pears to have deferred under step two, id., at 634.

        ——————
          7 See, e.g., Guedes v. Bureau of Alcohol, Tobacco, Firearms and Explo-

        sives, 45 F. 4th 306, 313–314 (CADC 2022), abrogated by Garland v. Car-
        gill, 602 U. S. ___ (2024); County of Amador v. United States Dept. of
        Interior, 872 F. 3d 1012, 1021–1022 (CA9 2017); Estrada-Rodriguez v.
        Lynch, 825 F. 3d 397, 403–404 (CA8 2016); Nielsen v. AECOM Tech.
        Corp., 762 F. 3d 214, 220 (CA2 2014); Alaska Stock, LLC v. Houghton
        Mifflin Harcourt Publishing Co., 747 F. 3d 673, 685, n. 52 (CA9 2014);
        Jurado-Delgado v. Attorney Gen. of U. S., 498 Fed. Appx. 107, 117 (CA3
        2009); see also D. Brookins, Confusion in the Circuit Courts: How the
        Circuit Courts Are Solving the Mead-Puzzle by Avoiding It Altogether,
        85 Geo. Wash. L. Rev. 1484, 1496–1499 (2017) (documenting Chevron
        avoidance by the lower courts); A. Vermeule, Our Schmittian Adminis-
        trative Law, 122 Harv. L. Rev. 1095, 1127–1129 (2009) (same); L. Bress-
        man, How Mead Has Muddled Judicial Review of Agency Action, 58
        Vand. L. Rev. 1443, 1464–1466 (2005) (same).
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           This Court, for its part, has not deferred to an agency in-
        terpretation under Chevron since 2016. See Cuozzo, 579
        U. S., at 280 (most recent occasion). But Chevron remains
        on the books. So litigants must continue to wrestle with it,
        and lower courts—bound by even our crumbling prece-
        dents, see Agostini v. Felton, 521 U. S. 203, 238 (1997)—
        understandably continue to apply it.
           The experience of the last 40 years has thus done little to
        rehabilitate Chevron. It has only made clear that Chevron’s
        fictional presumption of congressional intent was always
        unmoored from the APA’s demand that courts exercise in-
        dependent judgment in construing statutes administered
        by agencies. At best, our intricate Chevron doctrine has
        been nothing more than a distraction from the question
        that matters: Does the statute authorize the challenged
        agency action? And at worst, it has required courts to vio-
        late the APA by yielding to an agency the express responsi-
        bility, vested in “the reviewing court,” to “decide all relevant
        questions of law” and “interpret . . . statutory provisions.”
        §706 (emphasis added).
                                     IV
           The only question left is whether stare decisis, the doc-
        trine governing judicial adherence to precedent, requires us
        to persist in the Chevron project. It does not. Stare decisis
        is not an “inexorable command,” Payne v. Tennessee, 501
        U. S. 808, 828 (1991), and the stare decisis considerations
        most relevant here—“the quality of [the precedent’s] rea-
        soning, the workability of the rule it established, . . . and
        reliance on the decision,” Knick v. Township of Scott, 588
        U. S. 180, 203 (2019) (quoting Janus v. State, County, and
        Municipal Employees, 585 U. S. 878, 917 (2018))—all weigh
        in favor of letting Chevron go.
           Chevron has proved to be fundamentally misguided. De-
        spite reshaping judicial review of agency action, neither it
        nor any case of ours applying it grappled with the APA—
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        the statute that lays out how such review works. Its flaws
        were nonetheless apparent from the start, prompting this
        Court to revise its foundations and continually limit its ap-
        plication. It has launched and sustained a cottage industry
        of scholars attempting to decipher its basis and meaning.
        And Members of this Court have long questioned its prem-
        ises. See, e.g., Pereira v. Sessions, 585 U. S. 198, 219–221
        (2018) (Kennedy, J., concurring); Michigan, 576 U. S., at
        760–764 (THOMAS, J., concurring); Buffington, 598 U. S.
        ___ (opinion of GORSUCH, J.); B. Kavanaugh, Fixing Statu-
        tory Interpretation, 129 Harv. L. Rev. 2118, 2150–2154
        (2016). Even Justice Scalia, an early champion of Chevron,
        came to seriously doubt whether it could be reconciled with
        the APA. See Perez, 575 U. S., at 109–110 (opinion concur-
        ring in judgment). For its entire existence, Chevron has
        been a “rule in search of a justification,” Knick, 588 U. S.,
        at 204, if it was ever coherent enough to be called a rule at
        all.
           Experience has also shown that Chevron is unworkable.
        The defining feature of its framework is the identification
        of statutory ambiguity, which requires deference at the doc-
        trine’s second step. But the concept of ambiguity has al-
        ways evaded meaningful definition. As Justice Scalia put
        the dilemma just five years after Chevron was decided:
        “How clear is clear?” 1989 Duke L. J., at 521.
           We are no closer to an answer to that question than we
        were four decades ago. “ ‘[A]mbiguity’ is a term that may
        have different meanings for different judges.” Exxon Mobil
        Corp. v. Allapattah Services, Inc., 545 U. S. 546, 572 (2005)
        (Stevens, J., dissenting). One judge might see ambiguity
        everywhere; another might never encounter it. Compare L.
        Silberman, Chevron—The Intersection of Law & Policy, 58
        Geo. Wash. L. Rev. 821, 822 (1990), with R. Kethledge, Am-
        biguities and Agency Cases: Reflections After (Almost) Ten
        Years on the Bench, 70 Vand. L. Rev. En Banc 315, 323
        (2017). A rule of law that is so wholly “in the eye of the
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        beholder,” Exxon Mobil Corp., 545 U. S., at 572 (Stevens, J.,
        dissenting), invites different results in like cases and is
        therefore “arbitrary in practice,” Gulfstream Aerospace
        Corp. v. Mayacamas Corp., 485 U. S. 271, 283 (1988). Such
        an impressionistic and malleable concept “cannot stand as
        an every-day test for allocating” interpretive authority be-
        tween courts and agencies. Swift & Co. v. Wickham, 382
        U. S. 111, 125 (1965).
           The dissent proves the point. It tells us that a court
        should reach Chevron’s second step when it finds, “at the
        end of its interpretive work,” that “Congress has left an am-
        biguity or gap.” Post, at 1–2. (The Government offers a
        similar test. See Brief for Respondents in No. 22–1219,
        pp. 7, 10, 14; Tr. of Oral Arg. 113–114, 116.) That is no
        guide at all. Once more, the basic nature and meaning of a
        statute does not change when an agency happens to be in-
        volved. Nor does it change just because the agency has hap-
        pened to offer its interpretation through the sort of proce-
        dures necessary to obtain deference, or because the other
        preconditions for Chevron happen to be satisfied. The stat-
        ute still has a best meaning, necessarily discernible by a
        court deploying its full interpretive toolkit. So for the dis-
        sent’s test to have any meaning, it must think that in an
        agency case (unlike in any other), a court should give up on
        its “interpretive work” before it has identified that best
        meaning. But how does a court know when to do so? On
        that point, the dissent leaves a gap of its own. It protests
        only that some other interpretive tools—all with pedigrees
        more robust than Chevron’s, and all designed to help courts
        identify the meaning of a text rather than allow the Execu-
        tive Branch to displace it—also apply to ambiguous texts.
        See post, at 27. That this is all the dissent can come up
        with, after four decades of judicial experience attempting to
        identify ambiguity under Chevron, reveals the futility of the
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        exercise.8
           Because Chevron in its original, two-step form was so in-
        determinate and sweeping, we have instead been forced to
        clarify the doctrine again and again. Our attempts to do so
        have only added to Chevron’s unworkability, transforming
        the original two-step into a dizzying breakdance. See Ad-
        ams Fruit Co., 494 U. S., at 649–650; Mead, 533 U. S., at
        226–227; King, 576 U. S., at 486; Encino Motorcars, 579
        U. S., at 220; Epic Systems, 584 U. S., at 519–520; on and
        on. And the doctrine continues to spawn difficult threshold
        questions that promise to further complicate the inquiry
        should Chevron be retained. See, e.g., Cargill v. Garland,
        57 F. 4th 447, 465–468 (CA5 2023) (plurality opinion) (May
        the Government waive reliance on Chevron? Does Chevron
        apply to agency interpretations of statutes imposing crimi-
        nal penalties? Does Chevron displace the rule of lenity?),
        aff ’d, 602 U. S. ___ (2024).
           Four decades after its inception, Chevron has thus be-
        come an impediment, rather than an aid, to accomplishing
        the basic judicial task of “say[ing] what the law is.” Mar-
        bury, 1 Cranch, at 177. And its continuing import is far
        from clear. Courts have often declined to engage with the
        doctrine, saying it makes no difference. See n. 7, supra.
        And as noted, we have avoided deferring under Chevron
        since 2016. That trend is nothing new; for decades, we have
        often declined to invoke Chevron even in those cases where
        it might appear to be applicable. See W. Eskridge & L.
        Baer, The Continuum of Deference: Supreme Court Treat-
        ment of Agency Statutory Interpretations From Chevron to
        Hamdan, 96 Geo. L. J. 1083, 1125 (2008). At this point, all
        ——————
          8 Citing an empirical study, the dissent adds that Chevron “fosters

        agreement among judges.” Post, at 28. It is hardly surprising that a
        study might find as much; Chevron’s second step is supposed to be hos-
        pitable to agency interpretations. So when judges get there, they tend to
        agree that the agency wins. That proves nothing about the supposed
        ease or predictability of identifying ambiguity in the first place.
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        that remains of Chevron is a decaying husk with bold pre-
        tensions.
           Nor has Chevron been the sort of “ ‘stable background’
        rule” that fosters meaningful reliance. Post, at 8, n. 1 (opin-
        ion of KAGAN, J.) (quoting Morrison v. National Australia
        Bank Ltd., 561 U. S. 247, 261 (2010)). Given our constant
        tinkering with and eventual turn away from Chevron, and
        its inconsistent application by the lower courts, it instead is
        hard to see how anyone—Congress included—could reason-
        ably expect a court to rely on Chevron in any particular
        case. And even if it were possible to predict accurately
        when courts will apply Chevron, the doctrine “does not pro-
        vide ‘a clear or easily applicable standard, so arguments for
        reliance based on its clarity are misplaced.’ ” Janus, 585
        U. S., at 927 (quoting South Dakota v. Wayfair, Inc., 585
        U. S. 162, 186 (2018)). To plan on Chevron yielding a par-
        ticular result is to gamble not only that the doctrine will be
        invoked, but also that it will produce readily foreseeable
        outcomes and the stability that comes with them. History
        has proved neither bet to be a winning proposition.
           Rather than safeguarding reliance interests, Chevron af-
        firmatively destroys them. Under Chevron, a statutory am-
        biguity, no matter why it is there, becomes a license author-
        izing an agency to change positions as much as it likes, with
        “[u]nexplained inconsistency” being “at most . . . a reason
        for holding an interpretation to be . . . arbitrary and capri-
        cious.” Brand X, 545 U. S., at 981. But statutory ambigu-
        ity, as we have explained, is not a reliable indicator of ac-
        tual delegation of discretionary authority to agencies.
        Chevron thus allows agencies to change course even when
        Congress has given them no power to do so. By its sheer
        breadth, Chevron fosters unwarranted instability in the
        law, leaving those attempting to plan around agency action
        in an eternal fog of uncertainty.
           Chevron accordingly has undermined the very “rule of
        law” values that stare decisis exists to secure. Michigan v.
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        Bay Mills Indian Community, 572 U. S. 782, 798 (2014).
        And it cannot be constrained by admonishing courts to be
        extra careful, or by tacking on a new batch of conditions.
        We would need to once again “revis[e] its theoretical basis
        . . . in order to cure its practical deficiencies.” Montejo v.
        Louisiana, 556 U. S. 778, 792 (2009). Stare decisis does not
        require us to do so, especially because any refinements we
        might make would only point courts back to their duties un-
        der the APA to “decide all relevant questions of law” and
        “interpret . . . statutory provisions.” §706. Nor is there any
        reason to wait helplessly for Congress to correct our mis-
        take. The Court has jettisoned many precedents that Con-
        gress likewise could have legislatively overruled. See, e.g.,
        Patterson v. McLean Credit Union, 485 U. S. 617, 618
        (1988) (per curiam) (collecting cases). And part of “judicial
        humility,” post, at 3, 25 (opinion of KAGAN, J.,), is admitting
        and in certain cases correcting our own mistakes, especially
        when those mistakes are serious, see post, at 8–9 (opinion
        of GORSUCH, J.).
            This is one of those cases. Chevron was a judicial inven-
        tion that required judges to disregard their statutory du-
        ties. And the only way to “ensure that the law will not
        merely change erratically, but will develop in a principled
        and intelligible fashion,” Vasquez v. Hillery, 474 U. S. 254,
        265 (1986), is for us to leave Chevron behind.
            By doing so, however, we do not call into question prior
        cases that relied on the Chevron framework. The holdings
        of those cases that specific agency actions are lawful—in-
        cluding the Clean Air Act holding of Chevron itself—are
        still subject to statutory stare decisis despite our change in
        interpretive methodology. See CBOCS West, Inc. v. Hum-
        phries, 553 U. S. 442, 457 (2008). Mere reliance on Chevron
        cannot constitute a “ ‘special justification’ ” for overruling
        such a holding, because to say a precedent relied on Chev-
        ron is, at best, “just an argument that the precedent was
        wrongly decided.” Halliburton Co. v. Erica P. John Fund,
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        Inc., 573 U. S. 258, 266 (2014) (quoting Dickerson v. United
        States, 530 U. S. 428, 443 (2000)). That is not enough to
        justify overruling a statutory precedent.
                                  *      *     *
          The dissent ends by quoting Chevron: “ ‘Judges are not
        experts in the field.’ ” Post, at 31 (quoting 467 U. S., at 865).
        That depends, of course, on what the “field” is. If it is legal
        interpretation, that has been, “emphatically,” “the province
        and duty of the judicial department” for at least 221 years.
        Marbury, 1 Cranch, at 177. The rest of the dissent’s se-
        lected epigraph is that judges “ ‘are not part of either politi-
        cal branch.’ ” Post, at 31 (quoting Chevron, 467 U. S., at
        865). Indeed. Judges have always been expected to apply
        their “judgment” independent of the political branches
        when interpreting the laws those branches enact. The Fed-
        eralist No. 78, at 523. And one of those laws, the APA, bars
        judges from disregarding that responsibility just because
        an Executive Branch agency views a statute differently.
          Chevron is overruled. Courts must exercise their inde-
        pendent judgment in deciding whether an agency has acted
        within its statutory authority, as the APA requires. Careful
        attention to the judgment of the Executive Branch may help
        inform that inquiry. And when a particular statute dele-
        gates authority to an agency consistent with constitutional
        limits, courts must respect the delegation, while ensuring
        that the agency acts within it. But courts need not and un-
        der the APA may not defer to an agency interpretation of
        the law simply because a statute is ambiguous.
          Because the D. C. and First Circuits relied on Chevron in
        deciding whether to uphold the Rule, their judgments are
        vacated, and the cases are remanded for further proceed-
        ings consistent with this opinion.

                                                            It is so ordered.
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                             THOMAS, J., concurring

        SUPREME COURT OF THE UNITED STATES
                                  _________________

                            Nos. 22–451 and 22–1219
                                  _________________


               LOPER BRIGHT ENTERPRISES, ET AL.,
                        PETITIONERS
        22–451               v.
                GINA RAIMONDO, SECRETARY OF
                      COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
            APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT



              RELENTLESS, INC., ET AL., PETITIONERS
        22–1219                v.
                DEPARTMENT OF COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                     APPEALS FOR THE FIRST CIRCUIT
                                 [June 28, 2024]

           JUSTICE THOMAS, concurring.
           I join the Court’s opinion in full because it correctly con-
        cludes that Chevron U. S. A. Inc. v. Natural Resources De-
        fense Council, Inc., 467 U. S. 837 (1984), must finally be
        overruled. Under Chevron, a judge was required to adopt
        an agency’s interpretation of an ambiguous statute, so long
        as the agency had a “permissible construction of the stat-
        ute.” See id., at 843. As the Court explains, that deference
        does not comport with the Administrative Procedure Act,
        which requires judges to decide “all relevant questions of
        law” and “interpret constitutional and statutory provisions”
        when reviewing an agency action. 5 U. S. C. §706; see also
        ante, at 18–23; Baldwin v. United States, 589 U. S. ___, ___–
        ___ (2020) (THOMAS, J., dissenting from denial of certiorari)
        (slip op., at 4–5).
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                                 THOMAS, J., concurring

           I write separately to underscore a more fundamental
        problem: Chevron deference also violates our Constitution’s
        separation of powers, as I have previously explained at
        length. See Baldwin, 589 U. S., at ___–___ (dissenting opin-
        ion) (slip op., at 2–4); Michigan v. EPA, 576 U. S. 743, 761–
        763 (2015) (concurring opinion); see also Perez v. Mortgage
        Bankers Assn., 575 U. S. 92, 115–118 (2015) (opinion con-
        curring in judgment). And, I agree with JUSTICE GORSUCH
        that we should not overlook Chevron’s constitutional de-
        fects in overruling it.* Post, at 15–20 (concurring opinion).
        To provide “practical and real protections for individual lib-
        erty,” the Framers drafted a Constitution that divides the
        legislative, executive, and judicial powers between three
        branches of Government. Perez, 575 U. S., at 118 (opinion
        of THOMAS, J.). Chevron deference compromises this sepa-
        ration of powers in two ways. It curbs the judicial power
        afforded to courts, and simultaneously expands agencies’
        executive power beyond constitutional limits.
           Chevron compels judges to abdicate their Article III “ju-
        dicial Power.” §1. “[T]he judicial power, as originally un-
        derstood, requires a court to exercise its independent judg-
        ment in interpreting and expounding upon the laws.”
        Perez, 575 U. S., at 119 (opinion of THOMAS, J.); accord, post,
        at 17–18 (opinion of GORSUCH, J.). The Framers under-
        stood that “legal texts . . . often contain ambiguities,” and
        that the judicial power included “the power to resolve these
        ambiguities over time.” Perez, 575 U. S., at 119 (opinion of
        THOMAS, J.); accord, ante, at 7–9. But, under Chevron, a
        judge must accept an agency’s interpretation of an ambigu-
        ous law, even if he thinks another interpretation is correct.
        Ante, at 19. Chevron deference thus prevents judges from
        ——————
          *There is much to be commended in JUSTICE GORSUCH’s careful consid-
        eration from first principles of the weight we should afford to our prece-
        dent. I agree with the lion’s share of his concurrence. See generally
        Gamble v. United States, 587 U. S. 678, 710 (2019) (THOMAS, J., concur-
        ring).
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        exercising their independent judgment to resolve ambigui-
        ties. Baldwin, 589 U. S., at ___ (opinion of THOMAS, J.) (slip
        op., at 3); see also Michigan, 576 U. S., at 761 (opinion of
        THOMAS, J.); see also Perez, 575 U. S., at 123 (opinion of
        THOMAS, J.). By tying a judge’s hands, Chevron prevents
        the Judiciary from serving as a constitutional check on the
        Executive. It allows “the Executive . . . to dictate the out-
        come of cases through erroneous interpretations.” Bald-
        win, 589 U. S., at ___ (opinion of THOMAS, J.) (slip op., at 4);
        Michigan, 576 U. S., at 763, n. 1 (opinion of THOMAS, J.);
        see also Perez, 575 U. S., at 124 (opinion of THOMAS, J.). Be-
        cause the judicial power requires judges to exercise their
        independent judgment, the deference that Chevron re-
        quires contravenes Article III’s mandate.
           Chevron deference also permits the Executive Branch to
        exercise powers not given to it. “When the Government is
        called upon to perform a function that requires an exercise
        of legislative, executive, or judicial power, only the vested
        recipient of that power can perform it.” Department of
        Transportation v. Association of American Railroads, 575
        U. S. 43, 68 (2015) (THOMAS, J., concurring in judgment).
        Because the Constitution gives the Executive Branch only
        “[t]he executive Power,” executive agencies may constitu-
        tionally exercise only that power. Art. II, §1, cl. 1. But,
        Chevron gives agencies license to exercise judicial power.
        By allowing agencies to definitively interpret laws so long
        as they are ambiguous, Chevron “transfer[s]” the Judici-
        ary’s “interpretive judgment to the agency.” Perez, 575
        U. S., at 124 (opinion of THOMAS, J.); see also Baldwin, 589
        U. S., at ___ (opinion of THOMAS, J.) (slip op., at 4); Michi-
        gan, 576 U. S., at 761–762 (opinion of THOMAS, J.); post, at
        18 (GORSUCH, J., concurring).
           Chevron deference “cannot be salvaged” by recasting it as
        deference to an agency’s “formulation of policy.” Baldwin,
        589 U. S., at ___ (opinion of THOMAS, J.) (internal quotation
        marks omitted) (slip op., at 3). If that were true, Chevron
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                             THOMAS, J., concurring

        would mean that “agencies are unconstitutionally exercis-
        ing ‘legislative Powers’ vested in Congress.” Baldwin, 589
        U. S., at ___ (opinion of THOMAS, J.) (slip op., at 3) (quoting
        Art. I, §1). By “giv[ing] the force of law to agency pro-
        nouncements on matters of private conduct as to which
        Congress did not actually have an intent,” Chevron “per-
        mit[s] a body other than Congress to perform a function
        that requires an exercise of legislative power.” Michigan,
        576 U. S., at 762 (opinion of THOMAS, J.) (internal quotation
        marks omitted). No matter the gloss put on it, Chevron ex-
        pands agencies’ power beyond the bounds of Article II by
        permitting them to exercise powers reserved to another
        branch of Government.
           Chevron deference was “not a harmless transfer of
        power.” Baldwin, 589 U. S., at ___ (opinion of THOMAS, J.)
        (slip op., at 3). “The Constitution carefully imposes struc-
        tural constraints on all three branches, and the exercise of
        power free of those accompanying restraints subverts the
        design of the Constitution’s ratifiers.” Ibid. In particular,
        the Founders envisioned that “the courts [would] check the
        Executive by applying the correct interpretation of the law.”
        Id., at ___ (slip op., at 4). Chevron was thus a fundamental
        disruption of our separation of powers. It improperly strips
        courts of judicial power by simultaneously increasing the
        power of executive agencies. By overruling Chevron, we re-
        store this aspect of our separation of powers. To safeguard
        individual liberty, “[s]tructure is everything.” A. Scalia,
        Foreword: The Importance of Structure in Constitutional
        Interpretation, 83 Notre Dame L. Rev. 1417, 1418 (2008).
        Although the Court finally ends our 40-year misadventure
        with Chevron deference, its more profound problems should
        not be overlooked. Regardless of what a statute says, the
        type of deference required by Chevron violates the Consti-
        tution.
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                           GORSUCH, J., concurring

        SUPREME COURT OF THE UNITED STATES
                                 _________________

                           Nos. 22–451 and 22–1219
                                 _________________


               LOPER BRIGHT ENTERPRISES, ET AL.,
                        PETITIONERS
        22–451               v.
                GINA RAIMONDO, SECRETARY OF
                      COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
            APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT



              RELENTLESS, INC., ET AL., PETITIONERS
        22–1219                v.
                DEPARTMENT OF COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                     APPEALS FOR THE FIRST CIRCUIT
                                [June 28, 2024]

          JUSTICE GORSUCH, concurring.
          In disputes between individuals and the government
        about the meaning of a federal law, federal courts have tra-
        ditionally sought to offer independent judgments about
        “what the law is” without favor to either side. Marbury v.
        Madison, 1 Cranch 137, 177 (1803). Beginning in the mid-
        1980s, however, this Court experimented with a radically
        different approach. Applying Chevron deference, judges be-
        gan deferring to the views of executive agency officials
        about the meaning of federal statutes. See Chevron U. S. A.
        Inc. v. Natural Resources Defense Council, Inc., 467 U. S.
        837 (1984). With time, the error of this approach became
        widely appreciated. So much so that this Court has refused
        to apply Chevron deference since 2016. Today, the Court
        places a tombstone on Chevron no one can miss. In doing
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                            GORSUCH, J., concurring

        so, the Court returns judges to interpretive rules that have
        guided federal courts since the Nation’s founding. I write
        separately to address why the proper application of the doc-
        trine of stare decisis supports that course.
                                       I
                                       A
           Today, the phrase “common law judge” may call to mind
        a judicial titan of the past who brilliantly devised new legal
        rules on his own. The phrase “stare decisis” might conjure
        up a sense that judges who come later in time are strictly
        bound to follow the work of their predecessors. But neither
        of those intuitions fairly describes the traditional common-
        law understanding of the judge’s role or the doctrine of stare
        decisis.
           At common law, a judge’s charge to decide cases was not
        usually understood as a license to make new law. For much
        of England’s early history, different rulers and different le-
        gal systems prevailed in different regions. As England con-
        solidated into a single kingdom governed by a single legal
        system, the judge’s task was to examine those pre-existing
        legal traditions and apply in the disputes that came to him
        those legal rules that were “common to the whole land and
        to all Englishmen.” F. Maitland, Equity, Also the Forms of
        Action at Common Law 2 (1929). That was “common law”
        judging.
           This view of the judge’s role had consequences for the au-
        thority due judicial decisions. Because a judge’s job was to
        find and apply the law, not make it, the “opinion of the
        judge” and “the law” were not considered “one and the same
        thing.” 1 W. Blackstone, Commentaries on the Laws of
        England 71 (1765) (Blackstone) (emphasis deleted). A
        judge’s decision might bind the parties to the case at hand.
        M. Hale, The History and Analysis of the Common Law of
        England 68 (1713) (Hale). But none of that meant the judge
        had the power to “make a Law properly so called” for society
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        at large, “for that only the King and Parliament can do.”
        Ibid.
           Other consequences followed for the role precedent
        played in future judicial proceedings. Because past deci-
        sions represented something “less than a Law,” they did not
        bind future judges. Ibid. At the same time, as Matthew
        Hale put it, a future judge could give a past decision
        “Weight” as “Evidence” of the law. Ibid. Expressing the
        same idea, William Blackstone conceived of judicial prece-
        dents as “evidence” of “the common law.” 1 Blackstone 69,
        71. And much like other forms of evidence, precedents at
        common law were thought to vary in the weight due them.
        Some past decisions might supply future courts with con-
        siderable guidance. But others might be entitled to lesser
        weight, not least because judges are no less prone to error
        than anyone else and they may sometimes “mistake” what
        the law demands. Id., at 71 (emphasis deleted). In cases
        like that, both men thought, a future judge should not
        rotely repeat a past mistake but instead “vindicate” the law
        “from misrepresentation.” Id., at 70.
           When examining past decisions as evidence of the law,
        common law judges did not, broadly speaking, afford over-
        whelming weight to any “single precedent.” J. Baker, An
        Introduction to English Legal History 209–210 (5th ed.
        2019). Instead, a prior decision’s persuasive force depended
        in large measure on its “Consonancy and Congruity with
        Resolutions and Decisions of former Times.” Hale 68. An
        individual decision might reflect the views of one court at
        one moment in time, but a consistent line of decisions rep-
        resenting the wisdom of many minds across many genera-
        tions was generally considered stronger evidence of the
        law’s meaning. Ibid.
           With this conception of precedent in mind, Lord Mans-
        field cautioned against elevating “particular cases” above
        the “general principles” that “run through the cases, and
        govern the decision of them.” Rust v. Cooper, 2 Cowp. 629,
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        632, 98 Eng. Rep. 1277, 1279 (K. B. 1777). By discarding
        aberrational rulings and pursuing instead the mainstream
        of past decisions, he observed, the common law tended over
        time to “wor[k] itself pure.” Omychund v. Barker, 1 Atk. 22,
        33, 26 Eng. Rep. 15, 23 (Ch. 1744) (emphasis deleted). Re-
        flecting similar thinking, Edmund Burke offered five prin-
        ciples for the evaluation of past judicial decisions: “They
        ought to be shewn; first, to be numerous and not scattered
        here and there;—secondly, concurrent and not contradic-
        tory and mutually destructive;—thirdly, to be made in good
        and constitutional times;—fourthly, not to be made to serve
        an occasion;—and fifthly, to be agreeable to the general
        tenor of legal principles.” Speech of Dec. 23, 1790, in 3 The
        Speeches of the Right Honourable Edmund Burke 513
        (1816).
           Not only did different decisions carry different weight, so
        did different language within a decision. An opinion’s hold-
        ing and the reasoning essential to it (the ratio decidendi)
        merited careful attention. Dicta, stray remarks, and di-
        gressions warranted less weight. See N. Duxbury, The In-
        tricacies of Dicta and Dissent 19–24 (2021) (Duxbury).
        These were no more than “the vapours and fumes of law.”
        F. Bacon, The Lord Keeper’s Speech in the Exchequer
        (1617), in 2 The Works of Francis Bacon 478 (B. Montagu
        ed. 1887) (Bacon).
           That is not to say those “vapours” were worthless. Often
        dicta might provide the parties to a particular dispute a
        “fuller understanding of the court’s decisional path or re-
        lated areas of concern.” B. Garner et al., The Law of Judi-
        cial Precedent 65 (2016) (Precedent). Dicta might also pro-
        vide future courts with a source of “thoughtful advice.”
        Ibid. But future courts had to be careful not to treat every
        “hasty expression . . . as a serious and deliberate opinion.”
        Steel v. Houghton, 1 Bl. H. 51, 53, 126 Eng. Rep. 32, 33
        (C. P. 1788). To do so would work an “injustice to [the]
        memory” of their predecessors who could not expect judicial
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        remarks issued in one context to apply perfectly in others,
        perhaps especially ones they could not foresee. Ibid. Also,
        the limits of the adversarial process, a distinctive feature of
        English law, had to be borne in mind. When a single judge
        or a small panel reached a decision in a case, they did so
        based on the factual record and legal arguments the parties
        at hand have chosen to develop. Attuned to those con-
        straints, future judges had to proceed with an open mind to
        the possibility that different facts and different legal argu-
        ments might dictate different outcomes in later disputes.
        See Duxbury 19–24.
                                        B
           Necessarily, this represents just a quick sketch of tradi-
        tional common-law understandings of the judge’s role and
        the place of precedent in it. It focuses, too, on the horizon-
        tal, not vertical, force of judicial precedents. But there are
        good reasons to think that the common law’s understand-
        ings of judges and precedent outlined above crossed the At-
        lantic and informed the nature of the “judicial Power” the
        Constitution vests in federal courts. Art. III, §1.
           Not only was the Constitution adopted against the back-
        drop of these understandings and, in light of that alone,
        they may provide evidence of what the framers meant when
        they spoke of the “judicial Power.” Many other, more spe-
        cific provisions in the Constitution reflect much the same
        distinction between lawmaking and lawfinding functions
        the common law did. The Constitution provides that its
        terms may be amended only through certain prescribed
        democratic processes. Art. V. It vests the power to enact
        federal legislation exclusively in the people’s elected repre-
        sentatives in Congress. Art. I, §1. Meanwhile, the Consti-
        tution describes the judicial power as the power to resolve
        cases and controversies. Art. III, §2, cl. 1. As well, it dele-
        gates that authority to life-tenured judges, see §1, an as-
        signment that would have made little sense if judges could
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        usurp lawmaking powers vested in periodically elected rep-
        resentatives. But one that makes perfect sense if what is
        sought is a neutral party “to interpret and apply” the law
        without fear or favor in a dispute between others. 2 The
        Works of James Wilson 161 (J. Andrews ed. 1896) (Wilson);
        see Osborn v. Bank of United States, 9 Wheat. 738, 866
        (1824).
           The constrained view of the judicial power that runs
        through our Constitution carries with it familiar implica-
        tions, ones the framers readily acknowledged. James Mad-
        ison, for example, proclaimed that it would be a “fallacy” to
        suggest that judges or their precedents could “repeal or al-
        ter” the Constitution or the laws of the United States. Let-
        ter to N. Trist (Dec. 1831), in 9 The Writings of James Mad-
        ison 477 (G. Hunt ed. 1910). A court’s opinion, James
        Wilson added, may be thought of as “effective la[w]” “[a]s to
        the parties.” Wilson 160–161. But as in England, Wilson
        said, a prior judicial decision could serve in a future dispute
        only as “evidence” of the law’s proper construction. Id., at
        160; accord, 1 J. Kent, Commentaries on American Law
        442–443 (1826).
           The framers also recognized that the judicial power de-
        scribed in our Constitution implies, as the judicial power
        did in England, a power (and duty) of discrimination when
        it comes to assessing the “evidence” embodied in past deci-
        sions. So, for example, Madison observed that judicial rul-
        ings “repeatedly confirmed ” may supply better evidence of
        the law’s meaning than isolated or aberrant ones. Letter to
        C. Ingersoll (June 1831), in 4 Letters and Other Writings of
        James Madison 184 (1867) (emphasis added). Extending
        the thought, Thomas Jefferson believed it would often take
        “numerous decisions” for the meaning of new statutes to be-
        come truly “settled.” Letter to S. Jones (July 1809), in 12
        The Writings of Thomas Jefferson 299 (A. Bergh ed. 1907).
           From the start, too, American courts recognized that not
        everything found in a prior decision was entitled to equal
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        weight. As Chief Justice Marshall warned, “It is a maxim
        not to be disregarded, that general expressions, in every
        opinion, are to be taken in connection with the case in which
        those expressions are used.” Cohens v. Virginia, 6 Wheat.
        264, 399 (1821). To the extent a past court offered views
        “beyond the case,” those expressions “may be respected” in
        a later case “but ought not to control the judgment.” Ibid.
        One “obvious” reason for this, Marshall continued, had to
        do with the limits of the adversarial process we inherited
        from England: Only “[t]he question actually before the
        Court is investigated with care, and considered in its full
        extent. Other principles which may serve to illustrate it,
        are considered in their relation to the case decided, but
        their possible bearing on all other cases is seldom com-
        pletely investigated.” Id., at 399–400.
           Abraham Lincoln championed these traditional under-
        standings in his debates with Stephen Douglas. Douglas
        took the view that a single decision of this Court—no mat-
        ter how flawed—could definitively resolve a contested issue
        for everyone and all time. Those who thought otherwise, he
        said, “aim[ed] a deadly blow to our whole Republican sys-
        tem of government.” Speech at Springfield, Ill. (June 26,
        1857), in 2 The Collected Works of Abraham Lincoln 401 (R.
        Basler ed. 1953) (Lincoln Speech). But Lincoln knew better.
        While accepting that judicial decisions “absolutely deter-
        mine” the rights of the parties to a court’s judgment, he re-
        fused to accept that any single judicial decision could “fully
        settl[e]” an issue, particularly when that decision departs
        from the Constitution. Id., at 400–401. In cases such as
        these, Lincoln explained, “it is not resistance, it is not fac-
        tious, it is not even disrespectful, to treat [the decision] as
        not having yet quite established a settled doctrine for the
        country.” Id., at 401.
           After the Civil War, the Court echoed some of these same
        points. It stressed that every statement in a judicial opin-
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        ion “must be taken in connection with its immediate con-
        text,” In re Ayers, 123 U. S. 443, 488 (1887), and stray “re-
        marks” must not be elevated above the written law, see The
        Belfast, 7 Wall. 624, 641 (1869); see also, e.g., Trebilcock v.
        Wilson, 12 Wall. 687, 692–693 (1872); Mason v. Eldred, 6
        Wall. 231, 236–238 (1868). During Chief Justice Chase’s
        tenure, it seems a Justice writing the Court’s majority opin-
        ion would generally work alone and present his work orally
        and in summary form to his colleagues at conference, which
        meant that other Justices often did not even review the
        opinion prior to publication. 6 C. Fairman, History of the
        Supreme Court of the United States 69–70 (1971). The
        Court could proceed in this way because it understood that
        a single judicial opinion may resolve a “case or controversy,”
        and in so doing it may make “effective law” for the parties,
        but it does not legislate for the whole of the country and is
        not to be confused with laws that do.
                                        C
           From all this, I see at least three lessons about the doc-
        trine of stare decisis relevant to the decision before us today.
        Each concerns a form of judicial humility.
           First, a past decision may bind the parties to a dispute,
        but it provides this Court no authority in future cases to
        depart from what the Constitution or laws of the United
        States ordain. Instead, the Constitution promises, the
        American people are sovereign and they alone may,
        through democratically responsive processes, amend our
        foundational charter or revise federal legislation. Une-
        lected judges enjoy no such power. Part I–B, supra.
           Recognizing as much, this Court has often said that stare
        decisis is not an “ ‘inexorable command.’ ” State Oil Co. v.
        Khan, 522 U. S. 3, 20 (1997). And from time to time it has
        found it necessary to correct its past mistakes. When it
        comes to correcting errors of constitutional interpretation,
        the Court has stressed the importance of doing so, for they
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        can be corrected otherwise only through the amendment
        process. See, e.g., Franchise Tax Bd. of Cal. v. Hyatt, 587
        U. S. 230, 248 (2019). When it comes to fixing errors of stat-
        utory interpretation, the Court has proceeded perhaps more
        circumspectly. But in that field, too, it has overruled even
        longstanding but “flawed” decisions. See, e.g., Leegin Crea-
        tive Leather Products, Inc. v. PSKS, Inc., 551 U. S. 877, 904,
        907 (2007).
           Recent history illustrates all this. During the tenures of
        Chief Justices Warren and Burger, it seems this Court over-
        ruled an average of around three cases per Term, including
        roughly 50 statutory precedents between the 1960s and
        1980s alone. See W. Eskridge, Overruling Statutory Prec-
        edents, 76 Geo. L. J. 1361, 1427–1434 (1988) (collecting
        cases). Many of these decisions came in settings no less
        consequential than today’s. In recent years, we have not
        approached the pace set by our predecessors, overruling an
        average of just one or two prior decisions each Term.1 But
        the point remains: Judicial decisions inconsistent with the
        written law do not inexorably control.
           Second, another lesson tempers the first. While judicial
        decisions may not supersede or revise the Constitution or
        federal statutory law, they merit our “respect as embodying
        the considered views of those who have come before.” Ra-
        mos v. Louisiana, 590 U. S. 83, 105 (2020). As a matter of
        professional responsibility, a judge must not only avoid con-
        fusing his writings with the law. When a case comes before
        him, he must also weigh his view of what the law demands
        against the thoughtful views of his predecessors. After all,
        “[p]recedent is a way of accumulating and passing down the
        learning of past generations, a font of established wisdom
        ——————
           1 For relevant databases of decisions, see Congressional Research Ser-

        vice, Table of Supreme Court Decisions Overruled by Subsequent Deci-
        sions, Constitution Annotated, https://constitution.congress.gov/resources/
        decisions-overruled/; see also H. Spaeth et al., 2023 Supreme Court Da-
        tabase, http://supremecourtdatabase.org.
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        richer than what can be found in any single judge or panel
        of judges.” Precedent 9.
           Doubtless, past judicial decisions may, as they always
        have, command “greater or less authority as precedents, ac-
        cording to circumstances.” Lincoln Speech 401. But, like
        English judges before us, we have long turned to familiar
        considerations to guide our assessment of the weight due a
        past decision. So, for example, as this Court has put it, the
        weight due a precedent may depend on the quality of its
        reasoning, its consistency with related decisions, its worka-
        bility, and reliance interests that have formed around it.
        See Ramos, 590 U. S., at 106. The first factor recognizes
        that the primary power of any precedent lies in its power to
        persuade—and poorly reasoned decisions may not provide
        reliable evidence of the law’s meaning. The second factor
        reflects the fact that a precedent is more likely to be correct
        and worthy of respect when it reflects the time-tested wis-
        dom of generations than when it sits “unmoored” from sur-
        rounding law. Ibid. The remaining factors, like workability
        and reliance, do not often supply reason enough on their
        own to abide a flawed decision, for almost any past decision
        is likely to benefit some group eager to keep things as they
        are and content with how things work. See, e.g., id., at 108.
        But these factors can sometimes serve functions similar to
        the others, by pointing to clues that may suggest a past de-
        cision is right in ways not immediately obvious to the indi-
        vidual judge.
           When asking whether to follow or depart from a prece-
        dent, some judges deploy adverbs. They speak of whether
        or not a precedent qualifies as “demonstrably erroneous,”
        Gamble v. United States, 587 U. S. 678, 711 (2019)
        (THOMAS, J., concurring), or “egregiously wrong,” Ramos,
        590 U. S., at 121 (KAVANAUGH, J., concurring in part). But
        the emphasis the adverb imparts is not meant for dramatic
        effect. It seeks to serve instead as a reminder of a more
        substantive lesson. The lesson that, in assessing the weight
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        due a past decision, a judge is not to be guided by his own
        impression alone, but must self-consciously test his views
        against those who have come before, open to the possibility
        that a precedent might be correct in ways not initially ap-
        parent to him.
          Third, it would be a mistake to read judicial opinions like
        statutes. Adopted through a robust and democratic process,
        statutes often apply in all their particulars to all persons.
        By contrast, when judges reach a decision in our adversar-
        ial system, they render a judgment based only on the fac-
        tual record and legal arguments the parties at hand have
        chosen to develop. A later court assessing a past decision
        must therefore appreciate the possibility that different
        facts and different legal arguments may dictate a different
        outcome. They must appreciate, too, that, like anyone else,
        judges are “innately digressive,” and their opinions may
        sometimes offer stray asides about a wider topic that may
        sound nearly like legislative commands. Duxbury 4. Often,
        enterprising counsel seek to exploit such statements to
        maximum effect. See id., at 25. But while these digressions
        may sometimes contain valuable counsel, they remain “va-
        pours and fumes of law,” Bacon 478, and cannot “control the
        judgment in a subsequent suit,” Cohens, 6 Wheat., at 399.
          These principles, too, have long guided this Court and
        others. As Judge Easterbrook has put it, an “opinion is not
        a comprehensive code; it is just an explanation for the
        Court’s disposition. Judicial opinions must not be confused
        with statutes, and general expressions must be read in light
        of the subject under consideration.” United States v.
        Skoien, 614 F. 3d 638, 640 (CA7 2010) (en banc); see also
        Reiter v. Sonotone Corp., 442 U. S. 330, 341 (1979) (stress-
        ing that an opinion is not “a statute,” and its language
        should not “be parsed” as if it were); Nevada v. Hicks, 533
        U. S. 353, 372 (2001) (same). If stare decisis counsels re-
        spect for the thinking of those who have come before, it also
        counsels against doing an “injustice to [their] memory” by
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        overreliance on their every word. Steel, 1 Bl. H., at 53, 126
        Eng. Rep., at 33. As judges, “[w]e neither expect nor hope
        that our successors will comb” through our opinions,
        searching for delphic answers to matters we never fully ex-
        plored. Brown v. Davenport, 596 U. S. 118, 141 (2022). To
        proceed otherwise risks “turn[ing] stare decisis from a tool
        of judicial humility into one of judicial hubris.” Ibid.
                                     II
           Turning now directly to the question what stare decisis
        effect Chevron deference warrants, each of these lessons
        seem to me to weigh firmly in favor of the course the Court
        charts today: Lesson 1, because Chevron deference contra-
        venes the law Congress prescribed in the Administrative
        Procedure Act. Lesson 2, because Chevron deference runs
        against mainstream currents in our law regarding the sep-
        aration of powers, due process, and centuries-old interpre-
        tive rules that fortify those constitutional commitments.
        And Lesson 3, because to hold otherwise would effectively
        require us to endow stray statements in Chevron with the
        authority of statutory language, all while ignoring more
        considered language in that same decision and the teach-
        ings of experience.
                                      A
           Start with Lesson 1. The Administrative Procedure Act
        of 1946 (APA) directs a “reviewing court” to “decide all rel-
        evant questions of law” and “interpret” relevant “constitu-
        tional and statutory provisions.” 5 U. S. C. §706. When ap-
        plying Chevron deference, reviewing courts do not interpret
        all relevant statutory provisions and decide all relevant
        questions of law. Instead, judges abdicate a large measure
        of that responsibility in favor of agency officials. Their in-
        terpretations of “ambiguous” laws control even when those
        interpretations are at odds with the fairest reading of the
        law an independent “reviewing court” can muster. Agency
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        officials, too, may change their minds about the law’s mean-
        ing at any time, even when Congress has not amended the
        relevant statutory language in any way. National Cable &
        Telecommunications Assn. v. Brand X Internet Services, 545
        U. S. 967, 982–983 (2005). And those officials may even dis-
        agree with and effectively overrule not only their own past
        interpretations of a law but a court’s past interpretation as
        well. Ibid. None of that is consistent with the APA’s clear
        mandate.
          The hard fact is Chevron “did not even bother to cite” the
        APA, let alone seek to apply its terms. United States v.
        Mead Corp., 533 U. S. 218, 241 (2001) (Scalia, J., dissent-
        ing). Instead, as even its most ardent defenders have con-
        ceded, Chevron deference rests upon a “fictionalized state-
        ment of legislative desire,” namely, a judicial supposition
        that Congress implicitly wishes judges to defer to executive
        agencies’ interpretations of the law even when it has said
        nothing of the kind. D. Barron & E. Kagan, Chevron’s Non-
        delegation Doctrine, 2001 S. Ct. Rev. 201, 212 (Kagan) (em-
        phasis added). As proponents see it, that fiction represents
        a “policy judgmen[t] about what . . . make[s] for good gov-
        ernment.” Ibid.2 But in our democracy unelected judges
        possess no authority to elevate their own fictions over the
        laws adopted by the Nation’s elected representatives. Some
        might think the legal directive Congress provided in the
        APA unwise; some might think a different arrangement
        preferable. See, e.g., post, at 9–11 (KAGAN, J., dissenting).
        But it is Congress’s view of “good government,” not ours,
        that controls.
        ——————
           2 See also A. Scalia, Judicial Deference to Administrative Interpreta-

        tions of Law, 1989 Duke L. J. 511, 516–517 (1989) (describing Chevron’s
        theory that Congress “delegat[ed]” interpretive authority to agencies as
        “fictional”); S. Breyer, Judicial Review of Questions of Law and Policy,
        38 Admin. L. Rev. 363, 370 (1986) (describing the notion that there exists
        a “ ‘legislative intent to delegate the law-interpreting function’ as a kind
        of legal fiction”).
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           Much more could be said about Chevron’s inconsistency
        with the APA. But I have said it in the past. See Buffington
        v. McDonough, 598 U. S. ___, ___–___ (2022) (opinion dis-
        senting from denial of certiorari) (slip op., at 5–6);
        Gutierrez-Brizuela v. Lynch, 834 F. 3d 1142, 1151–1153
        (CA10 2016) (concurring opinion). And the Court makes
        many of the same points at length today. See ante, at 18–
        22. For present purposes, the short of it is that continuing
        to abide Chevron deference would require us to transgress
        the first lesson of stare decisis—the humility required of
        judges to recognize that our decisions must yield to the laws
        adopted by the people’s elected representatives.3
                                       B
           Lesson 2 cannot rescue Chevron deference. If stare deci-
        sis calls for judicial humility in the face of the written law,
        it also cautions us to test our present conclusions carefully
        against the work of our predecessors. At the same time and
        as we have seen, this second form of humility counsels us to
        remember that precedents that have won the endorsement
        of judges across many generations, demonstrated coherence
        with our broader law, and weathered the tests of time and
        experience are entitled to greater consideration than those
        that have not. See Part I, supra. Viewed by each of these
        lights, the case for Chevron deference only grows weaker
        still.
        ——————
            3 The dissent suggests that we need not take the APA’s directions quite

        so seriously because the “finest administrative law scholars” from Har-
        vard claim to see in them some wiggle room. Post, at 18 (opinion of
        KAGAN, J.). But nothing in the APA commands deference to the views of
        professors any more than it does the government. Nor is the dissent’s
        list of Harvard’s finest administrative law scholars entirely complete.
        See S. Breyer et al., Administrative Law and Regulatory Policy 288 (7th
        ed. 2011) (acknowledging that Chevron deference “seems in conflict with
        . . . the apparently contrary language of 706”); Kagan 212 (likewise ac-
        knowledging Chevron deference rests upon a “fictionalized statement of
        legislative desire”).
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                                         1
          Start with a look to how our predecessors traditionally
        understood the judicial role in disputes over a law’s mean-
        ing. From the Nation’s founding, they considered “[t]he in-
        terpretation of the laws” in cases and controversies “the
        proper and peculiar province of the courts.” The Federalist
        No. 78, p. 467 (C. Rossiter ed. 1961) (A. Hamilton). Perhaps
        the Court’s most famous early decision reflected exactly
        that view. There, Chief Justice Marshall declared it “em-
        phatically the province and duty of the judicial department
        to say what the law is.” Marbury, 1 Cranch, at 177. For
        judges “have neither FORCE nor WILL but merely judg-
        ment”—and an obligation to exercise that judgment inde-
        pendently. The Federalist No. 78, at 465. No matter how
        “disagreeable that duty may be,” this Court has said, a
        judge “is not at liberty to surrender, or to waive it.” United
        States v. Dickson, 15 Pet. 141, 162 (1841) (Story, J.). This
        duty of independent judgment is perhaps “the defining
        characteristi[c] of Article III judges.” Stern v. Marshall, 564
        U. S. 462, 483 (2011).
          To be sure, this Court has also long extended “great re-
        spect” to the “contemporaneous” and consistent views of the
        coordinate branches about the meaning of a statute’s terms.
        Edwards’ Lessee v. Darby, 12 Wheat. 206, 210 (1827); see
        also McCulloch v. Maryland, 4 Wheat. 316, 401 (1819); Stu-
        art v. Laird, 1 Cranch 299, 309 (1803).4 But traditionally,
        that did not mean a court had to “defer” to any “reasonable”

        ——————
          4 Accord, National Lead Co. v. United States, 252 U. S. 140, 145–146

        (1920) (affording “great weight” to a “contemporaneous construction” by
        the executive that had “been long continued”); Jacobs v. Prichard, 223
        U. S. 200, 214 (1912) (“find[ing] no ambiguity in the act” but also finding
        “strength” for the Court’s interpretation in the executive’s “immediate
        and continued construction of the act”); Schell’s Executors v. Fauché, 138
        U. S. 562, 572 (1891) (treating as “controlling” a “contemporaneous con-
        struction” of a law endorsed “not only [by] the courts but [also by] the
        departments”).
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        construction of an “ambiguous” law that an executive
        agency might offer. It did not mean that the government
        could propound a “reasonable” view of the law’s meaning
        one day, a different one the next, and bind the judiciary al-
        ways to its latest word. Nor did it mean the executive could
        displace a pre-existing judicial construction of a statute’s
        terms, replace it with its own, and effectively overrule a ju-
        dicial precedent in the process. Put simply, this Court was
        “not bound” by any and all reasonable “administrative con-
        struction[s]” of ambiguous statutes when resolving cases
        and controversies. Burnet v. Chicago Portrait Co., 285 U. S.
        1, 16 (1932). While the executive’s consistent and contem-
        poraneous views warranted respect, they “by no means con-
        trol[led] the action or the opinion of this court in expound-
        ing the law with reference to the rights of parties litigant
        before them.” Irvine v. Marshall, 20 How. 558, 567 (1858);
        see also A. Bamzai, The Origins of Judicial Deference to Ex-
        ecutive Interpretation, 126 Yale L. J. 908, 987 (2017).
           Sensing how jarringly inconsistent Chevron is with this
        Court’s many longstanding precedents discussing the na-
        ture of the judicial role in disputes over the law’s meaning,
        the government and dissent struggle for a response. The
        best they can muster is a handful of cases from the early
        1940s in which, they say, this Court first “put [deference]
        principles into action.” Post, at 21 (KAGAN, J., dissenting).
        And, admittedly, for a period this Court toyed with a form
        of deference akin to Chevron, at least for so-called mixed
        questions of law and fact. See, e.g., Gray v. Powell, 314
        U. S. 402, 411–412 (1941); NLRB v. Hearst Publications,
        Inc., 322 U. S. 111, 131 (1944). But, as the Court details,
        even that limited experiment did not last. See ante, at 10–
        12. Justice Roberts, in his Gray dissent, decried these de-
        cisions for “abdicat[ing our] function as a court of review”
        and “complete[ly] revers[ing] . . . the normal and usual
        method of construing a statute.” 314 U. S., at 420–421.
        And just a few years later, in Skidmore v. Swift & Co., 323
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        U. S. 134 (1944), the Court returned to its time-worn path.
           Echoing themes that had run throughout our law from its
        start, Justice Robert H. Jackson wrote for the Court in
        Skidmore. There, he said, courts may extend respectful
        consideration to another branch’s interpretation of the law,
        but the weight due those interpretations must always “de-
        pend upon the[ir] thoroughness . . . , the validity of [their]
        reasoning, [their] consistency with earlier and later pro-
        nouncements, and all those factors which give [them] power
        to persuade.” Id., at 140. In another case the same year,
        and again writing for the Court, Justice Jackson expressly
        rejected a call for a judge-made doctrine of deference much
        like Chevron, offering that, “[i]f Congress had deemed it
        necessary or even appropriate” for courts to “defe[r] to ad-
        ministrative construction[,] . . . it would not have been at a
        loss for words to say so.” Davies Warehouse Co. v. Bowles,
        321 U. S. 144, 156 (1944).
           To the extent proper respect for precedent demands, as it
        always has, special respect for longstanding and main-
        stream decisions, Chevron scores badly. It represented not
        a continuation of a long line of decisions but a break from
        them. Worse, it did not merely depart from our precedents.
        More nearly, Chevron defied them.
                                       2
          Consider next how uneasily Chevron deference sits along-
        side so many other settled aspects of our law. Having wit-
        nessed first-hand King George’s efforts to gain influence
        and control over colonial judges, see Declaration of Inde-
        pendence ¶ 11, the framers made a considered judgment to
        build judicial independence into the Constitution’s design.
        They vested the judicial power in decisionmakers with life
        tenure. Art. III, §1. They placed the judicial salary beyond
        political control during a judge’s tenure. Ibid. And they
        rejected any proposal that would subject judicial decisions
        to review by political actors. The Federalist No. 81, at 482;
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        United States v. Hansen, 599 U. S. 762, 786–791 (2023)
        (THOMAS, J., concurring). All of this served to ensure the
        same thing: “A fair trial in a fair tribunal.” In re Murchi-
        son, 349 U. S. 133, 136 (1955). One in which impartial
        judges, not those currently wielding power in the political
        branches, would “say what the law is” in cases coming to
        court. Marbury, 1 Cranch, at 177.
           Chevron deference undermines all that. It precludes
        courts from exercising the judicial power vested in them by
        Article III to say what the law is. It forces judges to aban-
        don the best reading of the law in favor of views of those
        presently holding the reins of the Executive Branch. It re-
        quires judges to change, and change again, their interpre-
        tations of the law as and when the government demands.
        And that transfer of power has exactly the sort of conse-
        quences one might expect. Rather than insulate adjudica-
        tion from power and politics to ensure a fair hearing “with-
        out respect to persons” as the federal judicial oath demands,
        28 U. S. C. §453, Chevron deference requires courts to
        “place a finger on the scales of justice in favor of the most
        powerful of litigants, the federal government.” Buffington,
        598 U. S., at ___ (slip op., at 9). Along the way, Chevron
        deference guarantees “systematic bias” in favor of which-
        ever political party currently holds the levers of executive
        power. P. Hamburger, Chevron Bias, 84 Geo. Wash. L. Rev.
        1187, 1212 (2016).
           Chevron deference undermines other aspects of our set-
        tled law, too. In this country, we often boast that the Con-
        stitution’s promise of due process of law, see Amdts. 5, 14,
        means that “ ‘no man can be a judge in his own case.’ ” Wil-
        liams v. Pennsylvania, 579 U. S. 1, 8–9 (2016); Calder v.
        Bull, 3 Dall. 386, 388 (1798) (opinion of Chase, J.). That
        principle, of course, has even deeper roots, tracing far back
        into the common law where it was known by the Latin
        maxim nemo iudex in causa sua. See 1 E. Coke, Institutes
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        of the Laws of England §212, *141a. Yet, under the Chev-
        ron regime, all that means little, for executive agencies may
        effectively judge the scope of their own lawful powers. See,
        e.g., Arlington v. FCC, 569 U. S. 290, 296–297 (2013).
           Traditionally, as well, courts have sought to construe
        statutes as a reasonable reader would “when the law was
        made.” Blackstone 59; see United States v. Fisher, 2 Cranch
        358, 386 (1805). Today, some call this “textualism.” But
        really it’s a very old idea, one that constrains judges to a
        lawfinding rather than lawmaking role by focusing their
        work on the statutory text, its linguistic context, and vari-
        ous canons of construction. In that way, textualism serves
        as an essential guardian of the due process promise of fair
        notice. If a judge could discard an old meaning and assign
        a new one to a law’s terms, all without any legislative revi-
        sion, how could people ever be sure of the rules that bind
        them? New Prime Inc. v. Oliveira, 586 U. S. 105, 113
        (2019). Were the rules otherwise, Blackstone warned, the
        people would be rendered “slaves to their magistrates.”
        4 Blackstone 371.
           Yet, replace “magistrates” with “bureaucrats,” and Black-
        stone’s fear becomes reality when courts employ Chevron
        deference. Whenever we confront an ambiguity in the law,
        judges do not seek to resolve it impartially according to the
        best evidence of the law’s original meaning. Instead, we re-
        sort to a far cruder heuristic: “The reasonable bureaucrat
        always wins.” And because the reasonable bureaucrat may
        change his mind year-to-year and election-to-election, the
        people can never know with certainty what new “interpre-
        tations” might be used against them. This “fluid” approach
        to statutory interpretation is “as much a trap for the inno-
        cent as the ancient laws of Caligula,” which were posted so
        high up on the walls and in print so small that ordinary
        people could never be sure what they required. United
        States v. Cardiff, 344 U. S. 174, 176 (1952).
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           The ancient rule of lenity is still another of Chevron’s vic-
        tims. Since the founding, American courts have construed
        ambiguities in penal laws against the government and with
        lenity toward affected persons. Wooden v. United States,
        595 U. S. 360, 388–390 (2022) (GORSUCH, J., concurring in
        judgment). That principle upholds due process by safe-
        guarding individual liberty in the face of ambiguous laws.
        Ibid. And it fortifies the separation of powers by keeping
        the power of punishment firmly “ ‘in the legislative, not in
        the judicial department.’ ” Id., at 391 (quoting United
        States v. Wiltberger, 5 Wheat. 76, 95 (1820)). But power
        begets power. And pressing Chevron deference as far as it
        can go, the government has sometimes managed to leverage
        “ambiguities” in the written law to penalize conduct Con-
        gress never clearly proscribed. Compare Guedes v. ATF,
        920 F. 3d 1, 27–28, 31 (CADC 2019), with Garland v. Car-
        gill, 602 U. S. 604 (2024).
           In all these ways, Chevron’s fiction has led us to a strange
        place. One where authorities long thought reserved for Ar-
        ticle III are transferred to Article II, where the scales of jus-
        tice are tilted systematically in favor of the most powerful,
        where legal demands can change with every election even
        though the laws do not, and where the people are left to
        guess about their legal rights and responsibilities. So much
        tension with so many foundational features of our legal or-
        der is surely one more sign that we have “taken a wrong
        turn along the way.” Kisor v. Wilkie, 588 U. S. 558, 607
        (2019) (GORSUCH, J., concurring in judgment).5
        ——————
          5 The dissent suggests that Chevron deference bears at least something

        in common with surrounding law because it resembles a presumption or
        traditional canon of construction, and both “are common.” Post, at 8, n. 1,
        28–29 (opinion of KAGAN, J.). But even that thin reed wavers at a glance.
        Many of the presumptions and interpretive canons the dissent cites—
        including lenity, contra proferentem, and others besides—“ ‘embod[y] . . .
        legal doctrine[s] centuries older than our Republic.’ ” Opati v. Republic
        of Sudan, 590 U. S. 418, 425 (2020). Chevron deference can make no
        such boast. Many of the presumptions and canons the dissent cites also
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          Finally, consider workability and reliance. If, as I have
        sought to suggest, these factors may sometimes serve as
        useful proxies for the question whether a precedent com-
        ports with the historic tide of judicial practice or represents
        an aberrational mistake, see Part I–C, supra, they certainly
        do here.
          Take Chevron’s “workability.” Throughout its short life,
        this Court has been forced to supplement and revise Chev-
        ron so many times that no one can agree on how many
        “steps” it requires, nor even what each of those “steps” en-
        tails. Some suggest that the analysis begins with “step
        zero” (perhaps itself a tell), an innovation that traces to
        United States v. Mead Corp., 533 U. S. 218. Mead held that,
        before even considering whether Chevron applies, a court
        must determine whether Congress meant to delegate to the
        agency authority to interpret the law in a given field. 533
        U. S., at 226–227. But that exercise faces an immediate
        challenge: Because Chevron depends on a judicially im-
        plied, rather than a legislatively expressed, delegation of
        interpretive authority to an executive agency, Part II–A, su-
        pra, when should the fiction apply and when not? Mead
        fashioned a multifactor test for judges to use. 533 U. S., at
        ——————
        serve the Constitution, protecting the lines of authority it draws. Take
        just two examples: The federalism canon tells courts to presume federal
        statutes do not preempt state laws because of the sovereignty States en-
        joy under the Constitution. Bond v. United States, 572 U. S. 844, 858
        (2014). The presumption against retroactivity serves as guardian of the
        Constitution’s promise of due process and its ban on ex post facto laws,
        Landgraf v. USI Film Products, 511 U. S. 244, 265 (1994). Once more,
        however, Chevron deference can make no similar claim. Rather than
        serve the Constitution’s usual rule that litigants are entitled to have an
        independent judge interpret disputed legal terms, Chevron deference
        works to undermine that promise. As explored above, too, Chevron def-
        erence sits in tension with many traditional legal presumptions and in-
        terpretive principles, representing nearly the inverse of the rules of len-
        ity, nemo iudex, and contra proferentem.
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        229–231. But that test has proved as indeterminate in ap-
        plication as it was contrived in origin. Perhaps for these
        reasons, perhaps for others, this Court has sometimes ap-
        plied Mead and often ignored it. See Brand X, 545 U. S., at
        1014, n. 8 (Scalia, J., dissenting).
           Things do not improve as we move up the Chevron ladder.
        At “step one,” a judge must defer to an executive official’s
        interpretation when the statute at hand is “ambiguous.”
        But even today, Chevron’s principal beneficiary—the fed-
        eral government—still cannot say when a statute is suffi-
        ciently ambiguous to trigger deference. See, e.g., Tr. of Oral
        Arg. in American Hospital Assn. v. Becerra, O. T. 2021,
        No. 20–1114, pp. 71–72. Perhaps thanks to this particular
        confusion, the search for ambiguity has devolved into a sort
        of Snark hunt: Some judges claim to spot it almost every-
        where, while other equally fine judges claim never to have
        seen it. Compare L. Silberman, Chevron—The Intersection
        of Law & Policy, 58 Geo. Wash. L. Rev. 821, 826 (1990), with
        R. Kethledge, Ambiguities and Agency Cases: Reflections
        After (Almost) Ten Years on the Bench, 70 Vand. L. Rev. En
        Banc 315, 323 (2017).
           Nor do courts agree when it comes to “step two.” There,
        a judge must assess whether an executive agency’s inter-
        pretation of an ambiguous statute is “reasonable.” But
        what does that inquiry demand? Some courts engage in a
        comparatively searching review; others almost reflexively
        defer to an agency’s views. Here again, courts have pursued
        “wildly different” approaches and reached wildly different
        conclusions in similar cases. See B. Kavanaugh, Fixing
        Statutory Interpretation, 129 Harv. L. Rev. 2118, 2152
        (2016) (Kavanaugh).
           Today’s cases exemplify some of these problems. We have
        before us two circuit decisions, three opinions, and at least
        as many interpretive options on the Chevron menu. On the
        one hand, we have the D. C. Circuit majority, which deemed
        the Magnuson-Stevens Act “ambiguous” and upheld the
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        agency’s regulation as “ ‘permissible.’ ” 45 F. 4th 359, 365
        (2022). On the other hand, we have the D. C. Circuit dis-
        sent, which argues the statute is “unambiguou[s]” and that
        it plainly forecloses the agency’s new rule. Id., at 372 (opin-
        ion of Walker, J.). And on yet a third hand, we have the
        First Circuit, which claimed to have identified “clear tex-
        tual support” for the regulation, yet refused to say whether
        it would “classify [its] conclusion as a product of Chevron
        step one or step two.” 62 F. 4th 621, 631, 634 (2023). As
        these cases illustrate, Chevron has turned statutory inter-
        pretation into a game of bingo under blindfold, with parties
        guessing at how many boxes there are and which one their
        case might ultimately fall in.
           Turn now from workability to reliance. Far from engen-
        dering reliance interests, the whole point of Chevron defer-
        ence is to upset them. Under Chevron, executive officials
        can replace one “reasonable” interpretation with another at
        any time, all without any change in the law itself. The re-
        sult: Affected individuals “can never be sure of their legal
        rights and duties.” Buffington, 598 U. S., at ___ (slip op., at
        12).
           How bad is the problem? Take just one example. Brand
        X concerned a law regulating broadband internet services.
        There, the Court upheld an agency rule adopted by the ad-
        ministration of President George W. Bush because it was
        premised on a “reasonable” interpretation of the statute.
        Later, President Barack Obama’s administration rescinded
        the rule and replaced it with another. Later still, during
        President Donald J. Trump’s administration, officials re-
        placed that rule with a different one, all before President
        Joseph R. Biden, Jr.’s administration declared its intention
        to reverse course for yet a fourth time. See Safeguarding
        and Securing the Open Internet, 88 Fed. Reg. 76048 (2023);
        Brand X, 545 U. S., at 981–982. Each time, the government
        claimed its new rule was just as “reasonable” as the last.
        Rather than promoting reliance by fixing the meaning of
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        the law, Chevron deference engenders constant uncertainty
        and convulsive change even when the statute at issue itself
        remains unchanged.
           Nor are these antireliance harms distributed equally. So-
        phisticated entities and their lawyers may be able to keep
        pace with rule changes affecting their rights and responsi-
        bilities. They may be able to lobby for new “ ‘reasonable’ ”
        agency interpretations and even capture the agencies that
        issue them. Buffington, 598 U. S., at ___, ___ (slip op., at 8,
        13). But ordinary people can do none of those things. They
        are the ones who suffer the worst kind of regulatory whip-
        lash Chevron invites.
           Consider a couple of examples. Thomas Buffington, a vet-
        eran of the U. S. Air Force, was injured in the line of duty.
        For a time after he left the Air Force, the Department of
        Veterans Affairs (VA) paid disability benefits due him by
        law. But later the government called on Mr. Buffington to
        reenter active service. During that period, everyone agreed,
        the VA could (as it did) suspend his disability payments.
        After he left active service for a second time, however, the
        VA turned his patriotism against him. By law, Congress
        permitted the VA to suspend disability pay only “for any
        period for which [a servicemember] receives active service
        pay.” 38 U. S. C. §5304(c). But the VA had adopted a self-
        serving regulation requiring veterans to file a form asking
        for the resumption of their disability pay after a second (or
        subsequent) stint in active service. 38 CFR §3.654(b)(2)
        (2021). Unaware of the regulation, Mr. Buffington failed to
        reapply immediately. When he finally figured out what had
        happened and reapplied, the VA agreed to resume pay-
        ments going forward but refused to give Mr. Buffington all
        of the past disability payments it had withheld. Buffington,
        598 U. S., at ___–___ (slip op., at 1–4).
           Mr. Buffington challenged the agency’s action as incon-
        sistent with Congress’s direction that the VA may suspend
        disability payments only for those periods when a veteran
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        returns to active service. But armed with Chevron, the
        agency defeated Mr. Buffington’s claim. Maybe the self-
        serving regulation the VA cited as justification for its action
        was not premised on the best reading of the law, courts said,
        but it represented a “ ‘permissible’ ” one. 598 U. S., at ___
        (slip op., at 7). In that way, the Executive Branch was able
        to evade Congress’s promises to someone who took the field
        repeatedly in the Nation’s defense.
           In another case, one which I heard as a court of appeals
        judge, De Niz Robles v. Lynch, 803 F. 3d 1165 (CA10 2015),
        the Board of Immigration Appeals invoked Chevron to over-
        rule a judicial precedent on which many immigrants had
        relied, see In re Briones, 24 I. & N. Dec. 355, 370 (BIA 2007)
        (purporting to overrule Padilla–Caldera v. Gonzales, 426
        F. 3d 1294 (CA10 2005)). The agency then sought to apply
        its new interpretation retroactively to punish those immi-
        grants—including Alfonzo De Niz Robles, who had relied on
        that judicial precedent as authority to remain in this coun-
        try with his U. S. wife and four children. See 803 F. 3d, at
        1168–1169. Our court ruled that this retrospective applica-
        tion of the BIA’s new interpretation of the law violated Mr.
        De Niz Robles’s due process rights. Id., at 1172. But as a
        lower court, we could treat only the symptom, not the dis-
        ease. So Chevron permitted the agency going forward to
        overrule a judicial decision about the best reading of the law
        with its own different “reasonable” one and in that way
        deny relief to countless future immigrants.
           Those are just two stories among so many that federal
        judges could tell (and have told) about what Chevron defer-
        ence has meant for ordinary people interacting with the fed-
        eral government. See, e.g., Lambert v. Saul, 980 F. 3d 1266,
        1268–1276 (CA9 2020); Valent v. Commissioner of Social
        Security, 918 F. 3d 516, 525–527 (CA6 2019) (Kethledge, J.,
        dissenting); Gonzalez v. United States Atty. Gen., 820 F. 3d
        399, 402–405 (CA11 2016) (per curiam).
           What does the federal government have to say about this?
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        It acknowledges that Chevron sits as a heavy weight on the
        scale in favor of the government, “oppositional” to many
        “categories of individuals.” Tr. of Oral Arg. in No. 22–1219,
        p. 133 (Relentless Tr.). But, according to the government,
        Chevron deference is too important an innovation to undo.
        In its brief reign, the government says, it has become a “fun-
        damenta[l] . . . ground rul[e] for how all three branches of
        the government are operating together.” Relentless Tr.
        102. But, in truth, the Constitution, the APA, and our
        longstanding precedents set those ground rules some time
        ago. And under them, agencies cannot invoke a judge-made
        fiction to unsettle our Nation’s promise to individuals that
        they are entitled to make their arguments about the law’s
        demands on them in a fair hearing, one in which they stand
        on equal footing with the government before an independ-
        ent judge.
                                     C
          How could a Court, guided for 200 years by Chief Justice
        Marshall’s example, come to embrace a counter-Marbury
        revolution, one at war with the APA, time honored prece-
        dents, and so much surrounding law? To answer these
        questions, turn to Lesson 3 and witness the temptation to
        endow a stray passage in a judicial decision with extraordi-
        nary authority. Call it “power quoting.”
          Chevron was an unlikely place for a revolution to begin.
        The case concerned the Clean Air Act’s requirement that
        States regulate “stationary sources” of air pollution in their
        borders. See 42 U. S. C. §7401 et seq. At the time, it was
        an open question whether entire industrial plants or their
        constituent polluting parts counted as “stationary sources.”
        The Environmental Protection Agency had defined entire
        plants as sources, an approach that allowed companies to
        replace individual plant parts without automatically trig-
        gering the permitting requirements that apply to new
        sources. Chevron, 467 U. S., at 840.
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           This Court upheld the EPA’s definition as consistent with
        the governing statute. Id., at 866. The decision, issued by
        a bare quorum of the Court, without concurrence or dissent,
        purported to apply “well-settled principles.” Id., at 845. “If
        a court, employing traditional tools of statutory construc-
        tion, ascertains that Congress had an intention on the pre-
        cise question at issue,” Chevron provided, then “that inten-
        tion is the law and must be given effect.” Id., at 843, n. 9.
        Many of the cases Chevron cited to support its judgment
        stood for the traditional proposition that courts afford re-
        spectful consideration, not deference, to executive interpre-
        tations of the law. See, e.g., Burnet, 285 U. S., at 16; United
        States v. Moore, 95 U. S. 760, 763 (1878). And the decision’s
        sole citation to legal scholarship was to Roscoe Pound, who
        long championed de novo judicial review. 467 U. S., at 843,
        n. 10; see R. Pound, The Place of the Judiciary in a Demo-
        cratic Polity, 27 A. B. A. J. 133, 136–137 (1941).
           At the same time, of course, the opinion contained bits
        and pieces that spoke differently. The decision also said
        that, “if [a] statute is silent or ambiguous with respect to [a]
        specific issue, the question for the court is whether the
        agency’s answer is based on a permissible construction of
        the statute.” 467 U. S., at 843. But it seems the govern-
        ment didn’t advance this formulation in its brief, so there
        was no adversarial engagement on it. T. Merrill, The Story
        of Chevron: The Making of an Accidental Landmark, 66 Ad-
        min. L. Rev. 253, 268 (2014) (Merrill). As we have seen, too,
        the Court did not pause to consider (or even mention) the
        APA. See Part II–A, supra. It did not discuss contrary prec-
        edents issued by the Court since the founding, let alone pur-
        port to overrule any of them. See Part II–B–1, supra. Nor
        did the Court seek to address how its novel rule of deference
        might be squared with so much surrounding law. See Part
        II–B–2, supra. As even its defenders have acknowledged,
        “Chevron barely bothered to justify its rule of deference, and
        the few brief passages on this matter pointed in disparate
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        directions.” Kagan 212–213. “[T]he quality of the reason-
        ing,” they acknowledge, “was not high,” C. Sunstein, Chev-
        ron as Law, 107 Geo. L. J. 1613, 1669 (2019).
           If Chevron meant to usher in a revolution in how judges
        interpret laws, no one appears to have realized it at the
        time. Chevron’s author, Justice Stevens, characterized the
        decision as a “simpl[e] . . . restatement of existing law, noth-
        ing more or less.” Merrill 255, 275. In the “19 argued cases”
        in the following Term “that presented some kind of question
        about whether the Court should defer to an agency inter-
        pretation of statutory law,” this Court cited Chevron just
        once. Merrill 276. By some accounts, the decision seemed
        “destined to obscurity.” Ibid.
           It was only three years later when Justice Scalia wrote a
        concurrence that a revolution began to take shape. Buff-
        ington, 598 U. S., at ___ (slip op., at 8). There, he argued
        for a new rule requiring courts to defer to executive agency
        interpretations of the law whenever a “ ‘statute is silent or
        ambiguous.’ ” NLRB v. Food & Commercial Workers,
        484 U. S. 112, 133–134 (1987) (opinion of Scalia, J.). Even-
        tually, a majority of the Court followed his lead. Buffington,
        598 U. S., at ___ (slip op., at 8). But from the start, Justice
        Scalia made no secret about the scope of his ambitions. See
        Judicial Deference to Administrative Interpretations of
        Law, 1989 Duke L. J. 511, 521 (1989) (Scalia). The rule he
        advocated for represented such a sharp break from prior
        practice, he explained, that many judges of his day didn’t
        yet “understand” the “old criteria” were “no longer rele-
        vant.” Ibid. Still, he said, overthrowing the past was worth
        it because a new deferential rule would be “easier to follow.”
        Ibid.
           Events proved otherwise. As the years wore on and the
        Court’s new and aggressive reading of Chevron gradually
        exposed itself as unworkable, unfair, and at odds with our
        separation of powers, Justice Scalia could have doubled
        down on the project. But he didn’t. He appreciated that
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        stare decisis is not a rule of “if I thought it yesterday, I must
        think it tomorrow.” And rather than cling to the pride of
        personal precedent, the Justice began to express doubts
        over the very project that he had worked to build. See Perez
        v. Mortgage Bankers Assn., 575 U. S. 92, 109–110 (2015)
        (opinion concurring in judgment); cf. Decker v. Northwest
        Environmental Defense Center, 568 U. S. 597, 617–618, 621
        (2013) (opinion concurring in part and dissenting in part).
        If Chevron’s ascent is a testament to the Justice’s ingenuity,
        its demise is an even greater tribute to his humility.6
           Justice Scalia was not alone in his reconsideration. After
        years spent laboring under Chevron, trying to make sense
        of it and make it work, Member after Member of this Court
        came to question the project. See, e.g., Pereira v. Sessions,
        585 U. S. 198, 219–221 (2018) (Kennedy, J., concurring);
        Michigan v. EPA, 576 U. S. 743, 760–764 (2015) (THOMAS,
        J., concurring); Kisor, 588 U. S., at 591 (ROBERTS, C. J., con-
        curring in part); Gutierrez-Brizuela, 834 F. 3d, at 1153;
        Buffington, 598 U. S., at ___–___ (slip op., at 14–15); Ka-
        vanaugh 2150–2154. Ultimately, the Court gave up. De-
        spite repeated invitations, it has not applied Chevron def-
        erence since 2016. Relentless Tr. 81; App. to Brief for
        Respondents in No. 22–1219, p. 68a. So an experiment that
        began only in the mid-1980s effectively ended eight years
        ago. Along the way, an unusually large number of federal
        appellate judges voiced their own thoughtful and extensive
        ——————
           6 It should be recalled that, when Justice Scalia launched the Chevron

        revolution, there were many judges who “abhor[red] . . . ‘plain meaning’ ”
        and preferred instead to elevate “legislative history” and their own cu-
        rated accounts of a law’s “purpose[s]” over enacted statutory text. Scalia
        515, 521. Chevron, he predicted, would provide a new guardrail against
        that practice. Scalia 515, 521. As the Justice’s later writings show, he
        had the right diagnosis, just the wrong cure. The answer for judges elid-
        ing statutory terms is not deference to agencies that may seek to do the
        same, but a demand that all return to a more faithful adherence to the
        written law. That was, of course, another project Justice Scalia champi-
        oned. And as we like to say, “we’re all textualists now.”
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        criticisms of Chevron. Buffington, 598 U. S., at ___–___
        (slip op., at 14–15) (collecting examples). A number of state
        courts did, too, refusing to import Chevron deference into
        their own administrative law jurisprudence. See 598 U. S.,
        at ___ (slip op., at 15).
           Even if all that and everything else laid out above is true,
        the government suggests we should retain Chevron defer-
        ence because judges simply cannot live without it; some
        statutes are just too “technical” for courts to interpret “in-
        telligently.” Post, at 9, 32 (dissenting opinion). But that
        objection is no answer to Chevron’s inconsistency with Con-
        gress’s directions in the APA, so much surrounding law, or
        the challenges its multistep regime have posed in practice.
        Nor does history counsel such defeatism. Surely, it would
        be a mistake to suggest our predecessors before Chevron’s
        rise in the mid-1980s were unable to make their way intel-
        ligently through technical statutory disputes. Following
        their lead, over the past eight years this Court has managed
        to resolve even highly complex cases without Chevron def-
        erence, and done so even when the government sought def-
        erence. Nor, as far as I am aware, did any Member of the
        Court suggest Chevron deference was necessary to an intel-
        ligent resolution of any of those matters.7 If anything, by
        affording Chevron deference a period of repose before ad-
        dressing whether it should be retained, the Court has ena-
        bled its Members to test the propriety of that precedent and
        reflect more deeply on how well it fits into the broader ar-
        chitecture of our law. Others may see things differently,
        see post, at 26–27 (dissenting opinion), but the caution the

        ——————
          7 See, e.g., Becerra v. Empire Health Foundation, for Valley Hospital

        Medical Center, 597 U. S. 424, 434 (2022) (resolving intricate Medicare
        dispute by reference solely to “text,” “context,” and “structure”); see also
        Sackett v. EPA, 598 U. S. 651 (2023) (same in a complex Clean Water Act
        dispute); Johnson v. Guzman Chavez, 594 U. S. 523 (2021) (same in tech-
        nical immigration case).
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        Court has exhibited before overruling Chevron may illus-
        trate one of the reasons why the current Court has been
        slower to overrule precedents than some of its predecessors,
        see Part I–C, supra.
          None of this, of course, discharges any Member of this
        Court from the task of deciding for himself or herself today
        whether Chevron deference itself warrants deference. But
        when so many past and current judicial colleagues in this
        Court and across the country tell us our doctrine is mis-
        guided, and when we ourselves managed without Chevron
        for centuries and manage to do so today, the humility at the
        core of stare decisis compels us to pause and reflect carefully
        on the wisdom embodied in that experience. And, in the
        end, to my mind the lessons of experience counsel wisely
        against continued reliance on Chevron’s stray and uncon-
        sidered digression. This Court’s opinions fill over 500 vol-
        umes, and perhaps “some printed judicial word may be
        found to support almost any plausible proposition.” R.
        Jackson, Decisional Law and Stare Decisis, 30 A. B. A. J.
        334 (1944). It is not for us to pick and choose passages we
        happen to like and demand total obedience to them in per-
        petuity. That would turn stare decisis from a doctrine of
        humility into a tool for judicial opportunism. Brown, 596
        U. S., at 141.
                                     III
           Proper respect for precedent helps “keep the scale of jus-
        tice even and steady,” by reinforcing decisional rules con-
        sistent with the law upon which all can rely. 1 Blackstone
        69. But that respect does not require, nor does it readily
        tolerate, a steadfast refusal to correct mistakes. As early
        as 1810, this Court had already overruled one of its cases.
        See Hudson v. Guestier, 6 Cranch 281, 284 (overruling Rose
        v. Himely, 4 Cranch 241 (1808)). In recent years, the Court
        may have overruled precedents less frequently than it did
        during the Warren and Burger Courts. See Part I–C, supra.
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        But the job of reconsidering past decisions remains one
        every Member of this Court faces from time to time.8
           Justice William O. Douglas served longer on this Court
        than any other person in the Nation’s history. During his
        tenure, he observed how a new colleague might be inclined
        initially to “revere” every word written in an opinion issued
        before he arrived. W. Douglas, Stare Decisis, 49 Colum. L.
        Rev. 735, 736 (1949). But, over time, Justice Douglas re-
        flected, his new colleague would “remembe[r] . . . that it is
        the Constitution which he swore to support and defend, not
        the gloss which his predecessors may have put on it.” Ibid.
        And “[s]o he [would] com[e] to formulate his own views, re-
        jecting some earlier ones as false and embracing others.”
        Ibid. This process of reexamination, Justice Douglas ex-
        plained, is a “necessary consequence of our system” in
        which each judge takes an oath—both “personal” and bind-
        ing—to discern the law’s meaning for himself and apply it
        faithfully in the cases that come before him. Id., at 736–
        737.
           Justice Douglas saw, too, how appeals to precedent could
        be overstated and sometimes even overwrought. Judges, he
        reflected, would sometimes first issue “new and startling
        decision[s],” and then later spin around and “acquire an
        acute conservatism” in their aggressive defense of “their
        ——————
          8 Today’s dissenters are no exceptions. They have voted to overrule

        precedents that they consider “wrong,” Hurst v. Florida, 577 U. S. 92,
        101 (2016) (opinion for the Court by SOTOMAYOR, J., joined by, inter alios,
        KAGAN, J.); Obergefell v. Hodges, 576 U. S. 644, 665, 675 (2015) (opinion
        for the Court, joined by, inter alios, SOTOMAYOR and KAGAN, JJ.); that
        conflict with the Constitution’s “original meaning,” Alleyne v. United
        States, 570 U. S. 99, 118 (2013) (SOTOMAYOR, J., joined by, inter alias,
        KAGAN, J., concurring); and that have proved “unworkable,” Johnson v.
        United States, 576 U. S. 591, 605 (2015) (opinion for the Court, joined by,
        inter alios, SOTOMAYOR and KAGAN, JJ.); see also Erlinger v. United
        States, 602 U. S. ___, ___ (2024) (JACKSON, J., dissenting) (slip op., at 1)
        (arguing Apprendi v. New Jersey, 530 U. S. 466 (2000), and the many
        cases applying it were all “wrongly decided”).
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        new status quo.” Id., at 737. In that way, even the most
        novel and unlikely decisions became “coveted anchor-
        age[s],” defended heatedly, if ironically, under the banner
        of “stare decisis.” Ibid.; see also Edwards v. Vannoy, 593
        U. S. 255, 294, n. 7 (2021) (GORSUCH, J., concurring).
           That is Chevron’s story: A revolution masquerading as
        the status quo. And the defense of it follows the same
        course Justice Douglas described. Though our dissenting
        colleagues have not hesitated to question other precedents
        in the past, they today manifest what Justice Douglas
        called an “acute conservatism” for Chevron’s “startling” de-
        velopment, insisting that if this “coveted anchorage” is
        abandoned the heavens will fall. But the Nation managed
        to live with busy executive agencies of all sorts long before
        the Chevron revolution began to take shape in the mid-
        1980s. And all today’s decision means is that, going for-
        ward, federal courts will do exactly as this Court has since
        2016, exactly as it did before the mid-1980s, and exactly as
        it had done since the founding: resolve cases and controver-
        sies without any systemic bias in the government’s favor.
           Proper respect for precedent does not begin to suggest
        otherwise. Instead, it counsels respect for the written law,
        adherence to consistent teachings over aberrations, and re-
        sistance to the temptation of treating our own stray re-
        marks as if they were statutes. And each of those lessons
        points toward the same conclusion today: Chevron defer-
        ence is inconsistent with the directions Congress gave us in
        the APA. It represents a grave anomaly when viewed
        against the sweep of historic judicial practice. The decision
        undermines core rule-of-law values ranging from the prom-
        ise of fair notice to the promise of a fair hearing. Even on
        its own terms, it has proved unworkable and operated to
        undermine rather than advance reliance interests, often to
        the detriment of ordinary Americans. And from the start,
        the whole project has relied on the overaggressive use of
        snippets and stray remarks from an opinion that carried
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        mixed messages. Stare decisis’s true lesson today is not
        that we are bound to respect Chevron’s “startling develop-
        ment,” but bound to inter it.
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                                  KAGAN, J., dissenting

        SUPREME COURT OF THE UNITED STATES
                                      _________________

                               Nos. 22–451 and 22–1219
                                      _________________


               LOPER BRIGHT ENTERPRISES, ET AL.,
                        PETITIONERS
        22–451               v.
                GINA RAIMONDO, SECRETARY OF
                      COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
            APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT



              RELENTLESS, INC., ET AL., PETITIONERS
        22–1219                v.
                DEPARTMENT OF COMMERCE, ET AL.
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                     APPEALS FOR THE FIRST CIRCUIT
                                     [June 28, 2024]

           JUSTICE KAGAN, with whom JUSTICE SOTOMAYOR and
        JUSTICE JACKSON join,* dissenting.
           For 40 years, Chevron U. S. A. Inc. v. Natural Resources
        Defense Council, Inc., 467 U. S. 837 (1984), has served as a
        cornerstone of administrative law, allocating responsibility
        for statutory construction between courts and agencies.
        Under Chevron, a court uses all its normal interpretive
        tools to determine whether Congress has spoken to an is-
        sue. If the court finds Congress has done so, that is the end
        of the matter; the agency’s views make no difference. But
        if the court finds, at the end of its interpretive work, that

        ——————
           *JUSTICE JACKSON did not participate in the consideration or decision
        of the case in No. 22–451 and joins this opinion only as it applies to the
        case in No. 22–1219.
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        Congress has left an ambiguity or gap, then a choice must
        be made. Who should give content to a statute when Con-
        gress’s instructions have run out? Should it be a court? Or
        should it be the agency Congress has charged with admin-
        istering the statute? The answer Chevron gives is that it
        should usually be the agency, within the bounds of reason-
        ableness. That rule has formed the backdrop against which
        Congress, courts, and agencies—as well as regulated par-
        ties and the public—all have operated for decades. It has
        been applied in thousands of judicial decisions. It has be-
        come part of the warp and woof of modern government, sup-
        porting regulatory efforts of all kinds—to name a few, keep-
        ing air and water clean, food and drugs safe, and financial
        markets honest.
           And the rule is right. This Court has long understood
        Chevron deference to reflect what Congress would want,
        and so to be rooted in a presumption of legislative intent.
        Congress knows that it does not—in fact cannot—write per-
        fectly complete regulatory statutes. It knows that those
        statutes will inevitably contain ambiguities that some other
        actor will have to resolve, and gaps that some other actor
        will have to fill. And it would usually prefer that actor to
        be the responsible agency, not a court. Some interpretive
        issues arising in the regulatory context involve scientific or
        technical subject matter. Agencies have expertise in those
        areas; courts do not. Some demand a detailed understand-
        ing of complex and interdependent regulatory programs.
        Agencies know those programs inside-out; again, courts do
        not. And some present policy choices, including trade-offs
        between competing goods. Agencies report to a President,
        who in turn answers to the public for his policy calls; courts
        have no such accountability and no proper basis for making
        policy. And of course Congress has conferred on that ex-
        pert, experienced, and politically accountable agency the
        authority to administer—to make rules about and other-
        wise implement—the statute giving rise to the ambiguity or
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                              KAGAN, J., dissenting

        gap. Put all that together and deference to the agency is
        the almost obvious choice, based on an implicit congres-
        sional delegation of interpretive authority. We defer, the
        Court has explained, “because of a presumption that Con-
        gress” would have “desired the agency (rather than the
        courts)” to exercise “whatever degree of discretion” the stat-
        ute allows. Smiley v. Citibank (South Dakota), N. A., 517
        U. S. 735, 740–741 (1996).
          Today, the Court flips the script: It is now “the courts (ra-
        ther than the agency)” that will wield power when Congress
        has left an area of interpretive discretion. A rule of judicial
        humility gives way to a rule of judicial hubris. In recent
        years, this Court has too often taken for itself decision-mak-
        ing authority Congress assigned to agencies. The Court has
        substituted its own judgment on workplace health for that
        of the Occupational Safety and Health Administration; its
        own judgment on climate change for that of the Environ-
        mental Protection Agency; and its own judgment on student
        loans for that of the Department of Education. See, e.g.,
        National Federation of Independent Business v. OSHA, 595
        U. S. 109 (2022); West Virginia v. EPA, 597 U. S. 697 (2022);
        Biden v. Nebraska, 600 U. S. 477 (2023). But evidently that
        was, for this Court, all too piecemeal. In one fell swoop, the
        majority today gives itself exclusive power over every open
        issue—no matter how expertise-driven or policy-laden—in-
        volving the meaning of regulatory law. As if it did not have
        enough on its plate, the majority turns itself into the coun-
        try’s administrative czar. It defends that move as one (sud-
        denly) required by the (nearly 80-year-old) Administrative
        Procedure Act. But the Act makes no such demand. To-
        day’s decision is not one Congress directed. It is entirely
        the majority’s choice.
          And the majority cannot destroy one doctrine of judicial
        humility without making a laughing-stock of a second. (If
        opinions had titles, a good candidate for today’s would be
        Hubris Squared.) Stare decisis is, among other things, a
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        way to remind judges that wisdom often lies in what prior
        judges have done. It is a brake on the urge to convert “every
        new judge’s opinion” into a new legal rule or regime. Dobbs
        v. Jackson Women’s Health Organization, 597 U. S. 215,
        388 (2022) (joint opinion of Breyer, SOTOMAYOR, and
        KAGAN, JJ., dissenting) (quoting 1 W. Blackstone, Com-
        mentaries on the Laws of England 69 (7th ed. 1775)). Chev-
        ron is entrenched precedent, entitled to the protection of
        stare decisis, as even the majority acknowledges. In fact,
        Chevron is entitled to the supercharged version of that doc-
        trine because Congress could always overrule the decision,
        and because so many governmental and private actors have
        relied on it for so long. Because that is so, the majority
        needs a “particularly special justification” for its action. Ki-
        sor v. Wilkie, 588 U. S. 558, 588 (2019) (opinion of the
        Court). But the majority has nothing that would qualify. It
        barely tries to advance the usual factors this Court invokes
        for overruling precedent. Its justification comes down, in
        the end, to this: Courts must have more say over regula-
        tion—over the provision of health care, the protection of the
        environment, the safety of consumer products, the efficacy
        of transportation systems, and so on. A longstanding prec-
        edent at the crux of administrative governance thus falls
        victim to a bald assertion of judicial authority. The major-
        ity disdains restraint, and grasps for power.
                                        I
          Begin with the problem that gave rise to Chevron (and
        also to its older precursors): The regulatory statutes Con-
        gress passes often contain ambiguities and gaps. Some-
        times they are intentional. Perhaps Congress “consciously
        desired” the administering agency to fill in aspects of the
        legislative scheme, believing that regulatory experts would
        be “in a better position” than legislators to do so. Chevron,
        467 U. S., at 865. Or “perhaps Congress was unable to forge
        a coalition on either side” of a question, and the contending
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                               KAGAN, J., dissenting

        parties “decided to take their chances with” the agency’s
        resolution. Ibid. Sometimes, though, the gaps or ambigui-
        ties are what might be thought of as predictable accidents.
        They may be the result of sloppy drafting, a not infrequent
        legislative occurrence. Or they may arise from the well-
        known limits of language or foresight. Accord, ante, at 7,
        22. “The subject matter” of a statutory provision may be too
        “specialized and varying” to “capture in its every detail.”
        Kisor, 588 U. S., at 566 (plurality opinion). Or the provision
        may give rise, years or decades down the road, to an issue
        the enacting Congress could not have anticipated. Which-
        ever the case—whatever the reason—the result is to create
        uncertainty about some aspect of a provision’s meaning.
           Consider a few examples from the caselaw. They will
        help show what a typical Chevron question looks like—or
        really, what a typical Chevron question is. Because when
        choosing whether to send some class of questions mainly to
        a court, or mainly to an agency, abstract analysis can only
        go so far; indeed, it may obscure what matters most. So I
        begin with the concrete:
             Under the Public Health Service Act, the Food and
              Drug Administration (FDA) regulates “biological prod-
              uct[s],” including “protein[s].” 42 U. S. C. §262(i)(1).
              When does an alpha amino acid polymer qualify as
              such a “protein”? Must it have a specific, defined se-
              quence of amino acids? See Teva Pharmaceuticals
              USA, Inc. v. FDA, 514 F. Supp. 3d 66, 79–80, 93–106
              (DC 2020).
             Under the Endangered Species Act, the Fish and Wild-
              life Service must designate endangered “vertebrate fish
              or wildlife” species, including “distinct population seg-
              ment[s]” of those species. 16 U. S. C. §1532(16); see
              §1533. What makes one population segment “distinct”
              from another? Must the Service treat the Washington
              State population of western gray squirrels as “distinct”
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                                 KAGAN, J., dissenting

                because it is geographically separated from other west-
                ern gray squirrels? Or can the Service take into ac-
                count that the genetic makeup of the Washington pop-
                ulation does not differ markedly from the rest? See
                Northwest Ecosystem Alliance v. United States Fish
                and Wildlife Serv., 475 F. 3d 1136, 1140–1145, 1149
                (CA9 2007).
               Under the Medicare program, reimbursements to hos-
                pitals are adjusted to reflect “differences in hospital
                wage levels” across “geographic area[s].” 42 U. S. C.
                §1395ww(d)(3)(E)(i). How should the Department of
                Health and Human Services measure a “geographic
                area”? By city? By county? By metropolitan area? See
                Bellevue Hospital Center v. Leavitt, 443 F. 3d 163, 174–
                176 (CA2 2006).
               Congress directed the Department of the Interior and
                the Federal Aviation Administration to reduce noise
                from aircraft flying over Grand Canyon National
                Park—specifically, to “provide for substantial restora-
                tion of the natural quiet.” §3(b)(1), 101 Stat. 676; see
                §3(b)(2). How much noise is consistent with “the natu-
                ral quiet”? And how much of the park, for how many
                hours a day, must be that quiet for the “substantial res-
                toration” requirement to be met? See Grand Canyon
                Air Tour Coalition v. FAA, 154 F. 3d 455, 466–467,
                474–475 (CADC 1998).
               Or take Chevron itself. In amendments to the Clean
                Air Act, Congress told States to require permits for
                modifying or constructing “stationary sources” of air
                pollution. 42 U. S. C. §7502(c)(5). Does the term “sta-
                tionary source[ ]” refer to each pollution-emitting piece
                of equipment within a plant? Or does it refer to the
                entire plant, and thus allow escape from the permitting
                requirement when increased emissions from one piece
                of equipment are offset by reductions from another?
                See 467 U. S., at 857, 859.
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        In each case, a statutory phrase has more than one reason-
        able reading. And Congress has not chosen among them: It
        has not, in any real-world sense, “fixed” the “single, best
        meaning” at “the time of enactment” (to use the majority’s
        phrase). Ante, at 22. A question thus arises: Who decides
        which of the possible readings should govern?
          This Court has long thought that the choice should usu-
        ally fall to agencies, with courts broadly deferring to their
        judgments. For the last 40 years, that doctrine has gone by
        the name of Chevron deference, after the 1984 decision that
        formalized and canonized it. In Chevron, the Court set out
        a simple two-part framework for reviewing an agency’s in-
        terpretation of a statute that it administers. First, the re-
        viewing court must determine whether Congress has “di-
        rectly spoken to the precise question at issue.” 467 U. S., at
        842. That inquiry is rigorous: A court must exhaust all the
        “traditional tools of statutory construction” to divine statu-
        tory meaning. Id., at 843, n. 9. And when it can find that
        meaning—a “single right answer”—that is “the end of the
        matter”: The court cannot defer because it “must give effect
        to the unambiguously expressed intent of Congress.” Kisor,
        588 U. S., at 575 (opinion of the Court); Chevron, 467 U. S.,
        at 842–843. But if the court, after using its whole legal
        toolkit, concludes that “the statute is silent or ambiguous
        with respect to the specific issue” in dispute—for any of the
        not-uncommon reasons discussed above—then the court
        must cede the primary interpretive role. Ibid.; see supra,
        at 4–5. At that second step, the court asks only whether the
        agency construction is within the sphere of “reasonable”
        readings. Chevron, 467 U. S., at 844. If it is, the agency’s
        interpretation of the statute that it every day implements
        will control.
           That rule, the Court has long explained, rests on a pre-
        sumption about legislative intent—about what Congress
        wants when a statute it has charged an agency with imple-
        menting contains an ambiguity or a gap. See id., at 843–
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        845; Smiley, 517 U. S., at 740–741. An enacting Congress,
        as noted above, knows those uncertainties will arise, even
        if it does not know what they will turn out to be. See supra,
        at 4–5. And every once in a while, Congress provides an
        explicit instruction for dealing with that contingency—as-
        signing primary responsibility to the courts, or else to an
        agency. But much more often, Congress does not say. Thus
        arises the need for a presumption—really, a default rule—
        for what should happen in that event. Does a statutory si-
        lence or ambiguity then go to a court for resolution? Or to
        an agency? This Court has long thought Congress would
        choose an agency, with courts serving only as a backstop to
        make sure the agency makes a reasonable choice among the
        possible readings. Or said otherwise, Congress would select
        the agency it has put in control of a regulatory scheme to
        exercise the “degree of discretion” that the statute’s lack of
        clarity or completeness allows. Smiley, 517 U. S., at 741.
        Of course, Congress can always refute that presumptive
        choice—can say that, really, it would prefer courts to wield
        that discretionary power. But until then, the presumption
        cuts in the agency’s favor.1 The next question is why.
        ——————
           1 Note that presumptions of this kind are common in the law. In other

        contexts, too, the Court responds to a congressional lack of direction by
        adopting a presumption about what Congress wants, rather than trying
        to figure that out in every case. And then Congress can legislate, with
        “predictable effects,” against that “stable background” rule. Morrison v.
        National Australia Bank Ltd., 561 U. S. 247, 261 (2010). Take the pre-
        sumption against extraterritoriality: The Court assumes Congress
        means for its statutes to apply only within the United States, absent a
        “clear indication” to the contrary. Id., at 255. Or the presumption
        against retroactivity: The Court assumes Congress wants its laws to ap-
        ply only prospectively, unless it “unambiguously instruct[s]” something
        different. Vartelas v. Holder, 566 U. S. 257, 266 (2012). Or the presump-
        tion against repeal of statutes by implication: The Court assumes Con-
        gress does not intend a later statute to displace an earlier one unless it
        makes that intention “clear and manifest.” Epic Systems Corp. v. Lewis,
        584 U. S. 497, 510 (2018). Or the (so far unnamed) presumption against
        treating a procedural requirement as “jurisdictional” unless “Congress
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           For one, because agencies often know things about a stat-
        ute’s subject matter that courts could not hope to. The point
        is especially stark when the statute is of a “scientific or
        technical nature.” Kisor, 588 U. S., at 571 (plurality opin-
        ion). Agencies are staffed with “experts in the field” who
        can bring their training and knowledge to bear on open stat-
        utory questions. Chevron, 467 U. S., at 865. Consider, for
        example, the first bulleted case above. When does an alpha
        amino acid polymer qualify as a “protein”? See supra, at 5.
        I don’t know many judges who would feel confident resolv-
        ing that issue. (First question: What even is an alpha
        amino acid polymer?) But the FDA likely has scores of sci-
        entists on staff who can think intelligently about it, maybe
        collaborate with each other on its finer points, and arrive at
        a sensible answer. Or take the perhaps more accessible-
        sounding second case, involving the Endangered Species
        Act. See supra, at 5–6. Deciding when one squirrel popu-
        lation is “distinct” from another (and thus warrants protec-
        tion) requires knowing about species more than it does con-
        sulting a dictionary. How much variation of what kind—
        geographic, genetic, morphological, or behavioral—should
        be required? A court could, if forced to, muddle through
        that issue and announce a result. But wouldn’t the Fish
        and Wildlife Service, with all its specialized expertise, do a
        better job of the task—of saying what, in the context of spe-
        cies protection, the open-ended term “distinct” means? One
        idea behind the Chevron presumption is that Congress—


        ——————
        clearly states that it is.” Boechler v. Commissioner, 596 U. S. 199, 203
        (2022). I could continue, except that this footnote is long enough. The
        Chevron deference rule is to the same effect: The Court generally as-
        sumes that Congress intends to confer discretion on agencies to handle
        statutory ambiguities or gaps, absent a direction to the contrary. The
        majority calls that presumption a “fiction,” ante, at 26, but it is no more
        so than any of the presumptions listed above. They all are best guesses—
        and usually quite good guesses—by courts about congressional intent.
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        the same Congress that charged the Service with imple-
        menting the Act—would answer that question with a re-
        sounding “yes.”
           A second idea is that Congress would value the agency’s
        experience with how a complex regulatory regime func-
        tions, and with what is needed to make it effective. Let’s
        stick with squirrels for a moment, except broaden the lens.
        In construing a term like “distinct” in a case about squir-
        rels, the Service likely would benefit from its “historical fa-
        miliarity” with how the term has covered the population
        segments of other species. Martin v. Occupational Safety
        and Health Review Comm’n, 499 U. S. 144, 153 (1991); see,
        e.g., Center for Biological Diversity v. Zinke, 900 F. 3d 1053,
        1060–1062 (CA9 2018) (arctic grayling); Center for Biologi-
        cal Diversity v. Zinke, 868 F. 3d 1054, 1056 (CA9 2017) (de-
        sert eagle). Just as a common-law court makes better deci-
        sions as it sees multiple variations on a theme, an agency’s
        construction of a statutory term benefits from its unique ex-
        posure to all the related ways the term comes into play. Or
        consider, for another way regulatory familiarity matters,
        the example about adjusting Medicare reimbursement for
        geographic wage differences. See supra, at 6. According to
        a dictionary, the term “geographic area” could be as large
        as a multi-state region or as small as a census tract. How
        to choose? It would make sense to gather hard information
        about what reimbursement levels each approach will pro-
        duce, to explore the ease of administering each on a nation-
        wide basis, to survey how regulators have dealt with simi-
        lar questions in the past, and to confer with the hospitals
        themselves about what makes sense. See Kisor, 588 U. S.,
        at 571 (plurality opinion) (noting that agencies are able to
        “conduct factual investigations” and “consult with affected
        parties”). Congress knows the Department of Health and
        Human Services can do all those things—and that courts
        cannot.
           Still more, Chevron’s presumption reflects that resolving
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        statutory ambiguities, as Congress well knows, is “often
        more a question of policy than of law.” Pauley v. BethEn-
        ergy Mines, Inc., 501 U. S. 680, 696 (1991). The task is less
        one of construing a text than of balancing competing goals
        and values. Consider the statutory directive to achieve
        “substantial restoration of the [Grand Canyon’s] natural
        quiet.” See supra, at 6. Someone is going to have to decide
        exactly what that statute means for air traffic over the can-
        yon. How many flights, in what places and at what times,
        are consistent with restoring enough natural quiet on the
        ground? That is a policy trade-off of a kind familiar to agen-
        cies—but peculiarly unsuited to judges. Or consider Chev-
        ron itself. As the Court there understood, the choice be-
        tween defining a “stationary source” as a whole plant or as
        a pollution-emitting device is a choice about how to “recon-
        cile” two “manifestly competing interests.” 467 U. S., at
        865. The plantwide definition relaxes the permitting re-
        quirement in the interest of promoting economic growth;
        the device-specific definition strengthens that requirement
        to better reduce air pollution. See id., at 851, 863, 866.
        Again, that is a choice a judge should not be making, but
        one an agency properly can. Agencies are “subject to the
        supervision of the President, who in turn answers to the
        public.” Kisor, 588 U. S., at 571–572 (plurality opinion). So
        when faced with a statutory ambiguity, “an agency to which
        Congress has delegated policymaking responsibilities” may
        rely on an accountable actor’s “views of wise policy to inform
        its judgments.” Chevron, 467 U. S., at 865.
           None of this is to say that deference to agencies is always
        appropriate. The Court over time has fine-tuned the Chev-
        ron regime to deny deference in classes of cases in which
        Congress has no reason to prefer an agency to a court. The
        majority treats those “refinements” as a flaw in the scheme,
        ante, at 27, but they are anything but. Consider the rule
        that an agency gets no deference when construing a statute
        it is not responsible for administering. See Epic Systems
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        Corp. v. Lewis, 584 U. S. 497, 519–520 (2018). Well, of
        course not—if Congress has not put an agency in charge of
        implementing a statute, Congress would not have given the
        agency a special role in its construction. Or take the rule
        that an agency will not receive deference if it has reached
        its decision without using—or without using properly—its
        rulemaking or adjudicatory authority. See United States v.
        Mead Corp., 533 U. S. 218, 226–227 (2001); Encino Motor-
        cars, LLC v. Navarro, 579 U. S. 211, 220 (2016). Again, that
        should not be surprising: Congress expects that authorita-
        tive pronouncements on a law’s meaning will come from the
        procedures it has enacted to foster “fairness and delibera-
        tion” in agency decision-making. Mead, 533 U. S., at 230.
        Or finally, think of the “extraordinary cases” involving
        questions of vast “economic and political significance” in
        which the Court has declined to defer. King v. Burwell, 576
        U. S. 473, 485–486 (2015). The theory is that Congress
        would not have left matters of such import to an agency, but
        would instead have insisted on maintaining control. So the
        Chevron refinements proceed from the same place as the
        original doctrine. Taken together, they give interpretive
        primacy to the agency when—but only when—it is acting,
        as Congress specified, in the heartland of its delegated au-
        thority.
           That carefully calibrated framework “reflects a sensitiv-
        ity to the proper roles of the political and judicial branches.”
        Pauley, 501 U. S., at 696. Where Congress has spoken, Con-
        gress has spoken; only its judgments matter. And courts
        alone determine when that has happened: Using all their
        normal interpretive tools, they decide whether Congress
        has addressed a given issue. But when courts have decided
        that Congress has not done so, a choice arises. Absent a
        legislative directive, either the administering agency or a
        court must take the lead. And the matter is more fit for the
        agency. The decision is likely to involve the agency’s sub-
        ject-matter expertise; to fall within its sphere of regulatory
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        experience; and to involve policy choices, including cost-
        benefit assessments and trade-offs between conflicting val-
        ues. So a court without relevant expertise or experience,
        and without warrant to make policy calls, appropriately
        steps back. The court still has a role to play: It polices the
        agency to ensure that it acts within the zone of reasonable
        options. But the court does not insert itself into an agency’s
        expertise-driven, policy-laden functions. That is the ar-
        rangement best suited to keep every actor in its proper lane.
        And it is the one best suited to ensure that Congress’s stat-
        utes work in the way Congress intended.
          The majority makes two points in reply, neither convinc-
        ing. First, it insists that “agencies have no special compe-
        tence” in filling gaps or resolving ambiguities in regulatory
        statutes; rather, “[c]ourts do.” Ante, at 23. Score one for
        self-confidence; maybe not so high for self-reflection or
        -knowledge. Of course courts often construe legal texts,
        hopefully well. And Chevron’s first step takes full ad-
        vantage of that talent: There, a court tries to divine what
        Congress meant, even in the most complicated or abstruse
        statutory schemes. The deference comes in only if the court
        cannot do so—if the court must admit that standard legal
        tools will not avail to fill a statutory silence or give content
        to an ambiguous term. That is when the issues look like
        the ones I started off with: When does an alpha amino acid
        polymer qualify as a “protein”? How distinct is “distinct”
        for squirrel populations? What size “geographic area” will
        ensure appropriate hospital reimbursement? As between
        two equally feasible understandings of “stationary source,”
        should one choose the one more protective of the environ-
        ment or the one more favorable to economic growth? The
        idea that courts have “special competence” in deciding such
        questions whereas agencies have “no[ne]” is, if I may say,
        malarkey. Answering those questions right does not
        mainly demand the interpretive skills courts possess. In-
        stead, it demands one or more of: subject-matter expertise,
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        long engagement with a regulatory scheme, and policy
        choice. It is courts (not agencies) that “have no special com-
        petence”—or even legitimacy—when those are the things a
        decision calls for.
          Second, the majority complains that an ambiguity or gap
        does not “necessarily reflect a congressional intent that an
        agency” should have primary interpretive authority. Ante,
        at 22. On that score, I’ll agree with the premise: It doesn’t
        “necessarily” do so. Chevron is built on a presumption. The
        decision does not maintain that Congress in every case
        wants the agency, rather than a court, to fill in gaps. The
        decision maintains that when Congress does not expressly
        pick one or the other, we need a default rule; and the best
        default rule—agency or court?—is the one we think Con-
        gress would generally want. As to why Congress would gen-
        erally want the agency: The answer lies in everything said
        above about Congress’s delegation of regulatory power to
        the agency and the agency’s special competencies. See su-
        pra, at 9–11. The majority appears to think it is a show-
        stopping rejoinder to note that many statutory gaps and
        ambiguities are “unintentional.” Ante, at 22. But to begin,
        many are not; the ratio between the two is uncertain. See
        supra, at 4–5. And to end, why should that matter in any
        event? Congress may not have deliberately introduced a
        gap or ambiguity into the statute; but it knows that pretty
        much everything it drafts will someday be found to contain
        such a “flaw.” Given that knowledge, Chevron asks, what
        would Congress want? The presumed answer is again the
        same (for the same reasons): The agency. And as with any
        default rule, if Congress decides otherwise, all it need do is
        say.
          In that respect, the proof really is in the pudding: Con-
        gress basically never says otherwise, suggesting that Chev-
        ron chose the presumption aligning with legislative intent
        (or, in the majority’s words, “approximat[ing] reality,” ante,
        at 22). Over the last four decades, Congress has authorized
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        or reauthorized hundreds of statutes. The drafters of those
        statutes knew all about Chevron. See A. Gluck & L. Bress-
        man, Statutory Interpretation From the Inside—An Empir-
        ical Study of Congressional Drafting, Delegation, and the
        Canons: Part I, 65 Stan. L. Rev. 901, 928 (fig. 2), 994 (2013).
        So if they had wanted a different assignment of interpretive
        responsibility, they would have inserted a provision to that
        effect. With just a pair of exceptions I know of, they did not.
        See 12 U. S. C. §25b(b)(5)(A) (exception #1); 15 U. S. C.
        §8302(c)(3)(A) (exception #2). Similarly, Congress has de-
        clined to enact proposed legislation that would abolish
        Chevron across the board. See S. 909, 116th Cong., 1st
        Sess., §2 (2019) (still a bill, not a law); H. R. 5, 115th Cong.,
        1st Sess., §202 (2017) (same). So to the extent the majority
        is worried that the Chevron presumption is “fiction[al],”
        ante, at 26—as all legal presumptions in some sense are—
        it has gotten less and less so every day for 40 years. The
        congressional reaction shows as well as anything could that
        the Chevron Court read Congress right.
                                       II
          The majority’s principal arguments are in a different
        vein. Around 80 years after the APA was enacted and 40
        years after Chevron, the majority has decided that the for-
        mer precludes the latter. The APA’s Section 706, the ma-
        jority says, “makes clear” that agency interpretations of
        statutes “are not entitled to deference.” Ante, at 14–15 (em-
        phasis in original). And that provision, the majority contin-
        ues, codified the contemporaneous law, which likewise did
        not allow for deference. See ante, at 9–13, 15–16. But nei-
        ther the APA nor the pre-APA state of the law does the work
        that the majority claims. Both are perfectly compatible
        with Chevron deference.
          Section 706, enacted with the rest of the APA in 1946,
        provides for judicial review of agency action. It states: “To
        the extent necessary to decision and when presented, the
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        reviewing court shall decide all relevant questions of law,
        interpret constitutional and statutory provisions, and de-
        termine the meaning or applicability of the terms of an
        agency action.” 5 U. S. C. §706.
           That text, contra the majority, “does not resolve the Chev-
        ron question.” C. Sunstein, Chevron As Law, 107 Geo. L. J.
        1613, 1642 (2019) (Sunstein). Or said a bit differently, Sec-
        tion 706 is “generally indeterminate” on the matter of def-
        erence. A. Vermeule, Judging Under Uncertainty 207
        (2006) (Vermeule). The majority highlights the phrase “de-
        cide all relevant questions of law” (italicizing the “all”), and
        notes that the provision “prescribes no deferential stand-
        ard” for answering those questions. Ante, at 14. But just
        as the provision does not prescribe a deferential standard
        of review, so too it does not prescribe a de novo standard of
        review (in which the court starts from scratch, without giv-
        ing deference). In point of fact, Section 706 does not specify
        any standard of review for construing statutes. See Kisor,
        588 U. S., at 581 (plurality opinion). And when a court uses
        a deferential standard—here, by deciding whether an
        agency reading is reasonable—it just as much “decide[s]” a
        “relevant question[ ] of law” as when it uses a de novo stand-
        ard. §706. The deferring court then conforms to Section
        706 “by determining whether the agency has stayed within
        the bounds of its assigned discretion—that is, whether the
        agency has construed [the statute it administers] reasona-
        bly.” J. Manning, Chevron and the Reasonable Legislator,
        128 Harv. L. Rev. 457, 459 (2014); see Arlington v. FCC, 569
        U. S. 290, 317 (2013) (ROBERTS, C. J., dissenting) (“We do
        not ignore [Section 706’s] command when we afford an
        agency’s statutory interpretation Chevron deference; we re-
        spect it”).2
        ——————
          2 The majority tries to buttress its argument with a stray sentence or

        two from the APA’s legislative history, but the same response holds. As
        the majority notes, see ante, at 15, the House and Senate Reports each
        stated that Section 706 “provid[ed] that questions of law are for courts
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           Section 706’s references to standards of review in other
        contexts only further undercut the majority’s argument.
        The majority notes that Section 706 requires deferential re-
        view for agency fact-finding and policy-making (under, re-
        spectively, a substantial-evidence standard and an arbi-
        trary-and-capricious standard). See ante, at 14. Congress,
        the majority claims, “surely would have articulated a simi-
        larly deferential standard applicable to questions of law
        had it intended to depart” from de novo review. Ibid.
        Surely? In another part of Section 706, Congress explicitly
        referred to de novo review. §706(2)(F). With all those ref-
        erences to standards of review—both deferential and not—
        running around Section 706, what is “telling” (ante, at 14)
        is the absence of any standard for reviewing an agency’s
        statutory constructions. That silence left the matter, as
        noted above, “generally indeterminate”: Section 706 neither
        mandates nor forbids Chevron-style deference. Vermeule
        207.3
        ——————
        rather than agencies to decide in the last analysis.” H. R. Rep. No. 1980,
        79th Cong., 2d Sess., 44 (1946); S. Rep. No. 752, 79th Cong., 1st Sess., 28
        (1945). But that statement also does not address the standard of review
        that courts should then use. When a court defers under Chevron, it re-
        views the agency’s construction for reasonableness “in the last analysis.”
        The views of Representative Walter, which the majority also cites, fur-
        ther demonstrate my point. He stated that the APA would require courts
        to “determine independently all relevant questions of law,” but he also
        stated that courts would be required to “exercise . . . independent judg-
        ment” in applying the substantial-evidence standard (a deferential
        standard if ever there were one). 92 Cong. Rec. 5654 (1946). He therefore
        did not equate “independent” review with de novo review; he thought
        that a court could conduct independent review of agency action using a
        deferential standard.
           3 In a footnote responding to the last two paragraphs, the majority

        raises the white flag on Section 706’s text. See ante, at 15, n. 4. Yes, it
        finally concedes, Section 706 does not say that de novo review is required
        for an agency’s statutory construction. Rather, the majority says, “some
        things go without saying,” and de novo review is such a thing. See ibid.
        But why? What extra-textual considerations force us to read Section 706
        the majority’s way? In its footnote, the majority repairs only to history.
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           And contra the majority, most “respected commentators”
         understood Section 706 in that way—as allowing, even if
         not requiring, deference. Ante, at 16. The finest adminis-
         trative law scholars of the time (call them that generation’s
         Manning, Sunstein, and Vermeule) certainly did. Professor
         Louis Jaffe described something very like the Chevron two-
         step as the preferred method of reviewing agency interpre-
         tations under the APA. A court, he said, first “must decide
         as a ‘question of law’ whether there is ‘discretion’ in the
         premises.” Judicial Control of Administrative Action 570
         (1965). That is akin to step 1: Did Congress speak to the
         issue, or did it leave openness? And if the latter, Jaffe con-
         tinued, the agency’s view “if ‘reasonable’ is free of control.”
         Ibid. That of course looks like step 2: defer if reasonable.
         And just in case that description was too complicated, Jaffe
         conveyed his main point this way: The argument that
         courts “must decide all questions of law”—as if there were
         no agency in the picture—“is, in my opinion, unsound.” Id.,
         at 569. Similarly, Professor Kenneth Culp Davis, author of
         the then-preeminent treatise on administrative law, noted
         with approval that “reasonableness” review of agency inter-
         pretations—in which courts “refused to substitute judg-
         ment”—had “survived the APA.” Administrative Law 880,
         883, 885 (1951) (Davis). Other contemporaneous scholars
         and experts agreed. See R. Levin, The APA and the Assault
         on Deference, 106 Minn. L. Rev. 125, 181–183 (2021)
         (Levin) (listing many of them). They did not see in their
         own time what the majority finds there today.4
         ——————
         But as I will explain below, the majority also gets wrong the most rele-
         vant history, pertaining to how judicial review of agency interpretations
         operated in the years before the APA was enacted. See infra, at 19–23.
           4 I concede one exception (whose view was “almost completely isolated,”

         Levin 181), but his comments on Section 706 refute a different aspect of
         the majority’s argument. Professor John Dickinson, as the majority
         notes, thought that Section 706 precluded courts from deferring to
         agency interpretations. See Administrative Procedure Act: Scope and
         Grounds of Broadened Judicial Review, 33 A. B. A. J. 434, 516 (1947)
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            Nor, evidently, did the Supreme Court. In the years after
         the APA was enacted, the Court “never indicated that sec-
         tion 706 rejected the idea that courts might defer to agency
         interpretations of law.” Sunstein 1654. Indeed, not a single
         Justice so much as floated that view of the APA. To the
         contrary, the Court issued a number of decisions in those
         years deferring to an agency’s statutory interpretation.
         See, e.g., Unemployment Compensation Comm’n of Alaska
         v. Aragon, 329 U. S. 143, 153–154 (1946); NLRB v. E. C.
         Atkins & Co., 331 U. S. 398, 403 (1947); Cardillo v. Liberty
         Mut. Ins. Co., 330 U. S. 469, 478–479 (1947). And that con-
         tinued right up until Chevron. See, e.g., Mitchell v. Budd,
         350 U. S. 473, 480 (1956); Zenith Radio Corp. v. United
         States, 437 U. S. 443, 450 (1978). To be clear: Deference in
         those years was not always given to interpretations that
         would receive it under Chevron. The practice then was
         more inconsistent and less fully elaborated than it later be-
         came. The point here is only that the Court came nowhere
         close to accepting the majority’s view of the APA. Take the
         language from Section 706 that the majority most relies on:
         “decide all relevant questions of law.” See ante, at 14. In
         the decade after the APA’s enactment, those words were
         used only four times in Supreme Court opinions (all in foot-
         notes)—and never to suggest that courts could not defer to
         agency interpretations. See Sunstein 1656.
            The majority’s view of Section 706 likewise gets no sup-
         port from how judicial review operated in the years leading
         up to the APA. That prior history matters: As the majority
         recognizes, Section 706 was generally understood to “re-
         state[ ] the present law as to the scope of judicial review.”

         ——————
         (Dickinson); ante, at 16. But unlike the majority, he viewed that bar as
         “a change” to, not a restatement of, pre-APA law. Compare Dickinson
         516 with ante, at 15–16. So if the majority really wants to rely on Pro-
         fessor Dickinson, it will have to give up the claim, which I address below,
         that the law before the APA forbade deference. See infra, at 19–23.
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         Dept. of Justice, Attorney General’s Manual on the Admin-
         istrative Procedure Act 108 (1947); ante, at 15–16. The
         problem for the majority is that in the years preceding the
         APA, courts became ever more deferential to agencies. New
         Deal administrative programs had by that point come into
         their own. And this Court and others, in a fairly short time,
         had abandoned their initial resistance and gotten on board.
         Justice Breyer, wearing his administrative-law-scholar hat,
         characterized the pre-APA period this way: “[J]udicial re-
         view of administrative action was curtailed, and particular
         agency decisions were frequently sustained with judicial
         obeisance to the mysteries of administrative expertise.” S.
         Breyer et al., Administrative Law and Regulatory Policy 21
         (7th ed. 2011). And that description extends to review of an
         agency’s statutory constructions. An influential study of
         administrative practice, published five years before the
         APA’s enactment, described the state of play: Judicial “re-
         view may, in some instances at least, be limited to the in-
         quiry whether the administrative construction is a permis-
         sible one.” Final Report of Attorney General’s Committee
         on Administrative Procedure (1941), reprinted in Adminis-
         trative Procedure in Government Agencies, S. Doc. No. 8,
         77th Cong., 1st Sess., 78 (1941). Or again: “[W]here the
         statute is reasonably susceptible of more than one interpre-
         tation, the court may accept that of the administrative
         body.” Id., at 90–91.5
         ——————
           5 Because the APA was meant to “restate[ ] the present law,” the judi-

         cial review practices of the 1940s are more important to understanding
         the statute than is any earlier tradition (such as the majority dwells on).
         But before I expand on those APA-contemporaneous practices, I pause to
         note that they were “not built on sand.” Kisor v. Wilkie, 588 U. S. 558,
         568–569 (2019) (plurality opinion). Since the early days of the Republic,
         this Court has given significant weight to official interpretations of “am-
         biguous law[s].” Edwards’ Lessee v. Darby, 12 Wheat. 206, 210 (1827).
         With the passage of time—and the growth of the administrative sphere—
         those “judicial expressions of deference increased.” H. Monaghan, Mar-
         bury and the Administrative State, 83 Colum. L. Rev. 1, 15 (1983). By
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            Two prominent Supreme Court decisions of the 1940s put
         those principles into action. Gray v. Powell, 314 U. S. 402
         (1941), was then widely understood as “the leading case” on
         review of agency interpretations. Davis 882; see ibid. (not-
         ing that it “establish[ed] what is known as ‘the doctrine of
         Gray v. Powell’ ”). There, the Court deferred to an agency
         construction of the term “producer” as used in a statutory
         exemption from price controls. Congress, the Court ex-
         plained, had committed the scope of the exemption to the
         agency because its “experience in [the] field gave promise of
         a better informed, more equitable, adjustment of the con-
         flicting interests.” Gray, 314 U. S., at 412. Accordingly, the
         Court concluded that it was “not the province of a court” to
         “substitute its judgment” for the agency’s. Ibid. Three
         years later, the Court decided NLRB v. Hearst Publications,
         Inc., 322 U. S. 111 (1944), another acknowledged “leading
         case.” Davis 882; see id., at 884. The Court again deferred,
         this time to an agency’s construction of the term “employee”
         in the National Labor Relations Act. The scope of that
         term, the Court explained, “belong[ed] to” the agency to an-
         swer based on its “[e]veryday experience in the administra-
         tion of the statute.” Hearst, 322 U. S., at 130. The Court
         therefore “limited” its review to whether the agency’s read-
         ing had “warrant in the record and a reasonable basis in

         ——————
         the early 20th century, the Court stated that it would afford “great
         weight” to an agency construction in the face of statutory “uncertainty or
         ambiguity.” National Lead Co. v. United States, 252 U. S. 140, 145
         (1920); see Schell’s Executors v. Fauché, 138 U. S. 562, 572 (1891) (“con-
         trolling” weight in “all cases of ambiguity”); United States v. Alabama
         Great Southern R. Co., 142 U. S. 615, 621 (1892) (“decisive” weight “in
         case of ambiguity”); Jacobs v. Prichard, 223 U. S. 200, 214 (1912) (refer-
         ring to the “rule which gives strength” to official interpretations if “am-
         biguity exist[s]”). So even before the New Deal, a strand of this Court’s
         cases exemplified deference to executive constructions of ambiguous stat-
         utes. And then, as I show in the text, the New Deal arrived and deference
         surged—creating the “present law” that the APA “restated.”
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         law.” Id., at 131.6 Recall here that even the majority ac-
         cepts that Section 706 was meant to “restate[ ] the present
         law” as to judicial review. See ante, at 15–16; supra, at 19–
         20. Well then? It sure would seem that the provision allows
         a deference regime.
            The majority has no way around those two noteworthy
         decisions. It first appears to distinguish between “pure le-
         gal question[s]” and the so-called mixed questions in Gray
         and Hearst, involving the application of a legal standard to
         a set of facts. Ante, at 11. If in drawing that distinction,
         the majority intends to confine its holding to the pure type
         of legal issue—thus enabling courts to defer when law and
         facts are entwined—I’d be glad. But I suspect the majority
         has no such intent, because that approach would preserve
         Chevron in a substantial part of its current domain. Cf.
         Wilkinson v. Garland, 601 U. S. 209, 230 (2024) (ALITO, J.,
         dissenting) (noting, in the immigration context, that the
         universe of mixed questions swamps that of pure legal
         ones). It is frequently in the consideration of mixed ques-
         tions that the scope of statutory terms is established and
         their meaning defined. See H. Monaghan, Marbury and the

         ——————
           6 The majority says that I have “pluck[ed] out” Gray and Hearst, im-

         pliedly from a vast number of not-so-helpful cases. Ante, at 13, n. 3. It
         would make as much sense to say that a judge “plucked out” Universal
         Camera Corp. v. NLRB, 340 U. S. 474 (1951), to discuss substantial-evi-
         dence review or “plucked out” Motor Vehicle Mfrs. Assn. of United States,
         Inc. v. State Farm Mut. Automobile Ins. Co., 463 U. S. 29 (1983), to dis-
         cuss arbitrary-and-capricious review. Gray and Hearst, as noted above,
         were the leading cases about agency interpretations in the years before
         the APA’s enactment. But just to gild the lily, here are a number of other
         Supreme Court decisions from the five years prior to the APA’s enact-
         ment that were of a piece: United States v. Pierce Auto Freight Lines,
         Inc., 327 U. S. 515, 536 (1946); ICC v. Parker, 326 U. S. 60, 65 (1945);
         Federal Security Administrator v. Quaker Oats Co., 318 U. S. 218, 227–
         228 (1943). The real “pluck[ing]” offense is the majority’s—for taking a
         stray sentence from Hearst (ante, at 13, n. 3) to suggest that both Hearst
         and Gray stand for the opposite of what they actually do.
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         Administrative State, 83 Colum. L. Rev. 1, 29 (1983) (“Ad-
         ministrative application of law is administrative formula-
         tion of law whenever it involves elaboration of the statutory
         norm”). How does a statutory interpreter decide, as in
         Hearst, what an “employee” is? In large part through cases
         asking whether the term covers people performing specific
         jobs, like (in that case) “newsboys.” 322 U. S., at 120. Or
         consider one of the examples I offered above. How does an
         interpreter decide when one population segment of a spe-
         cies is “distinct” from another? Often by considering that
         requirement with respect to particular species, like western
         gray squirrels. So the distinction the majority offers makes
         no real-world (or even theoretical) sense. If the Hearst
         Court was deferring to an agency on whether the term “em-
         ployee” covered newsboys, it was deferring to the agency on
         the scope and meaning of the term “employee.”
            The majority’s next rejoinder—that “the Court was far
         from consistent” in deferring—falls equally flat. Ante, at
         12. I am perfectly ready to acknowledge that in the pre-
         APA period, a deference regime had not yet taken complete
         hold. I’ll go even further: Let’s assume that deference was
         then an on-again, off-again function (as the majority seems
         to suggest, see ante, at 11–12, and 13, n. 3). Even on that
         assumption, the majority’s main argument—that Section
         706 prohibited deferential review—collapses. Once again,
         the majority agrees that Section 706 was not meant to
         change the then-prevailing law. See ante, at 15–16. And
         even if inconsistent, that law cannot possibly be thought to
         have prohibited deference. Or otherwise said: “If Section
         706 did not change the law of judicial review (as we have
         long recognized), then it did not proscribe a deferential
         standard then known and in use.” Kisor, 588 U. S., at 583
         (plurality opinion).
            The majority’s whole argument for overturning Chevron
         relies on Section 706. But the text of Section 706 does not
         support that result. And neither does the contemporaneous
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         practice, which that text was supposed to reflect. So today’s
         decision has no basis in the only law the majority deems
         relevant. It is grounded on air.
                                       III
           And still there is worse, because abandoning Chevron
         subverts every known principle of stare decisis. Of course,
         respecting precedent is not an “inexorable command.”
         Payne v. Tennessee, 501 U. S. 808, 828 (1991). But over-
         throwing it requires far more than the majority has offered
         up here. Chevron is entitled to stare decisis’s strongest form
         of protection. The majority thus needs an exceptionally
         strong reason to overturn the decision, above and beyond
         thinking it wrong. And it has nothing approaching such a
         justification, proposing only a bewildering theory about
         Chevron’s “unworkability.” Ante, at 32. Just five years ago,
         this Court in Kisor rejected a plea to overrule Auer v. Rob-
         bins, 519 U. S. 452 (1997), which requires judicial deference
         to agencies’ interpretations of their own regulations. See
         588 U. S., at 586–589 (opinion of the Court). The case
         against overruling Chevron is at least as strong. In partic-
         ular, the majority’s decision today will cause a massive
         shock to the legal system, “cast[ing] doubt on many settled
         constructions” of statutes and threatening the interests of
         many parties who have relied on them for years. 588 U. S.,
         at 587 (opinion of the Court).
           Adherence to precedent is “a foundation stone of the rule
         of law.” Michigan v. Bay Mills Indian Community, 572
         U. S. 782, 798 (2014). Stare decisis “promotes the even-
         handed, predictable, and consistent development of legal
         principles.” Payne, 501 U. S., at 827. It enables people to
         order their lives in reliance on judicial decisions. And it
         “contributes to the actual and perceived integrity of the ju-
         dicial process,” by ensuring that those decisions are founded
         in the law, and not in the “personal preferences” of judges.
         Id., at 828; Dobbs, 597 U. S., at 388 (dissenting opinion).
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         Perhaps above all else, stare decisis is a “doctrine of judicial
         modesty.” Id., at 363. In that, it shares something im-
         portant with Chevron. Both tell judges that they do not
         know everything, and would do well to attend to the views
         of others. So today, the majority rejects what judicial hu-
         mility counsels not just once but twice over.
            And Chevron is entitled to a particularly strong form of
         stare decisis, for two separate reasons. First, it matters
         that “Congress remains free to alter what we have done.”
         Patterson v. McLean Credit Union, 491 U. S. 164, 173
         (1989); see Kisor, 588 U. S., at 587 (opinion of the Court)
         (making the same point for Auer deference). In a constitu-
         tional case, the Court alone can correct an error. But that
         is not so here. “Our deference decisions are balls tossed into
         Congress’s court, for acceptance or not as that branch
         elects.” 588 U. S., at 587–588 (opinion of the Court). And
         for generations now, Congress has chosen acceptance.
         Throughout those years, Congress could have abolished
         Chevron across the board, most easily by amending the
         APA. Or it could have eliminated deferential review in dis-
         crete areas, by amending old laws or drafting new laws to
         include an anti-Chevron provision. Instead, Congress has
         “spurned multiple opportunities” to do a comprehensive re-
         jection of Chevron, and has hardly ever done a targeted one.
         Kimble v. Marvel Entertainment, LLC, 576 U. S. 446, 456
         (2015); see supra, at 14–15. Or to put the point more af-
         firmatively, Congress has kept Chevron as is for 40 years.
         It maintained that position even as Members of this Court
         began to call Chevron into question. See ante, at 30. From
         all it appears, Congress has not agreed with the view of
         some Justices that they and other judges should have more
         power.
            Second, Chevron is by now much more than a single deci-
         sion. This Court alone, acting as Chevron allows, has up-
         held an agency’s reasonable interpretation of a statute at
         least 70 times. See Brief for United States in No. 22–1219,
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         p. 27; App. to id., at 68a–72a (collecting cases). Lower
         courts have applied the Chevron framework on thousands
         upon thousands of occasions. See K. Barnett & C. Walker,
         Chevron and Stare Decisis, 31 Geo. Mason L. Rev. 475, 477,
         and n. 11 (2024) (noting that at last count, Chevron was
         cited in more than 18,000 federal-court decisions). The Ki-
         sor Court observed, when upholding Auer, that “[d]eference
         to reasonable agency interpretations of ambiguous rules
         pervades the whole corpus of administrative law.” 588
         U. S., at 587 (opinion of the Court). So too does deference
         to reasonable agency interpretations of ambiguous stat-
         utes—except more so. Chevron is as embedded as embed-
         ded gets in the law.
            The majority says differently, because this Court has ig-
         nored Chevron lately; all that is left of the decision is a “de-
         caying husk with bold pretensions.” Ante, at 33. Tell that
         to the D. C. Circuit, the court that reviews a large share of
         agency interpretations, where Chevron remains alive and
         well. See, e.g., Lissack v. Commissioner, 68 F. 4th 1312,
         1321–1322 (2023); Solar Energy Industries Assn. v. FERC,
         59 F. 4th 1287, 1291–1294 (2023). But more to the point:
         The majority’s argument is a bootstrap. This Court has
         “avoided deferring under Chevron since 2016” (ante, at 32)
         because it has been preparing to overrule Chevron since
         around that time. That kind of self-help on the way to re-
         versing precedent has become almost routine at this Court.
         Stop applying a decision where one should; “throw some
         gratuitous criticisms into a couple of opinions”; issue a few
         separate writings “question[ing the decision’s] premises”
         (ante, at 30); give the whole process a few years . . . and
         voila!—you have a justification for overruling the decision.
         Janus v. State, County, and Municipal Employees, 585 U. S.
         878, 950 (2018) (KAGAN, J., dissenting) (discussing the over-
         ruling of Abood v. Detroit Bd. of Ed., 431 U. S. 209 (1977));
         see also, e.g., Kennedy v. Bremerton School Dist., 597 U. S.
         507, 571–572 (2022) (SOTOMAYOR, J., dissenting) (similar
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         for Lemon v. Kurtzman, 403 U. S. 602 (1971)); Shelby
         County v. Holder, 570 U. S. 529, 587–588 (2013) (Ginsburg,
         J., dissenting) (similar for South Carolina v. Katzenbach,
         383 U. S. 301 (1966)). I once remarked that this overruling-
         through-enfeeblement technique “mock[ed] stare decisis.”
         Janus, 585 U. S., at 950 (dissenting opinion). I have seen
         no reason to change my mind.
            The majority does no better in its main justification for
         overruling Chevron—that the decision is “unworkable.”
         Ante, at 30. The majority’s first theory on that score is that
         there is no single “answer” about what “ambiguity” means:
         Some judges turn out to see more of it than others do, lead-
         ing to “different results.” Ante, at 30–31. But even if so,
         the legal system has for many years, in many contexts,
         dealt perfectly well with that variation. Take contract law.
         It is hornbook stuff that when (but only when) a contract is
         ambiguous, a court interpreting it can consult extrinsic ev-
         idence. See CNH Industrial N.V. v. Reese, 583 U. S. 133,
         139 (2018) (per curiam). And when all interpretive tools
         still leave ambiguity, the contract is construed against the
         drafter. See Lamps Plus, Inc. v. Varela, 587 U. S. 176, 186–
         187 (2019). So I guess the contract rules of the 50 States
         are unworkable now. Or look closer to home, to doctrines
         this Court regularly applies. In deciding whether a govern-
         ment has waived sovereign immunity, we construe “[a]ny
         ambiguities in the statutory language” in “favor of immun-
         ity.” FAA v. Cooper, 566 U. S. 284, 290 (2012). Similarly,
         the rule of lenity tells us to construe ambiguous statutes in
         favor of criminal defendants. See United States v. Cas-
         tleman, 572 U. S. 157, 172–173 (2014). And the canon of
         constitutional avoidance instructs us to construe ambigu-
         ous laws to avoid difficult constitutional questions. See
         United States v. Oakland Cannabis Buyers’ Cooperative,
         532 U. S. 483, 494 (2001). I could go on, but the point is
         made. There are ambiguity triggers all over the law. Some-
         how everyone seems to get by.
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            And Chevron is an especially puzzling decision to criticize
         on the ground of generating too much judicial divergence.
         There’s good empirical—meaning, non-impressionistic—ev-
         idence on exactly that subject. And it shows that, as com-
         pared with de novo review, use of the Chevron two-step
         framework fosters agreement among judges. See K. Bar-
         nett, C. Boyd, & C. Walker, Administrative Law’s Political
         Dynamics, 71 Vand. L. Rev. 1463, 1502 (2018) (Barnett).
         More particularly, Chevron has a “powerful constraining ef-
         fect on partisanship in judicial decisionmaking.” Barnett
         1463 (italics deleted); see Sunstein 1672 (“[A] predictable
         effect of overruling Chevron would be to ensure a far greater
         role for judicial policy preferences in statutory interpreta-
         tion and far more common splits along ideological lines”).
         So if consistency among judges is the majority’s lodestar,
         then the Court should not overrule Chevron, but return to
         using it.
            The majority’s second theory on workability is likewise a
         makeweight. Chevron, the majority complains, has some
         exceptions, which (so the majority says) are “difficult” and
         “complicate[d]” to apply. Ante, at 32. Recall that courts are
         not supposed to defer when the agency construing a statute
         (1) has not been charged with administering that law; (2)
         has not used deliberative procedures—i.e., notice-and-com-
         ment rulemaking or adjudication; or (3) is intervening in a
         “major question,” of great economic and political signifi-
         cance. See supra, at 11–12; ante, at 27–28. As I’ve ex-
         plained, those exceptions—the majority also aptly calls
         them “refinements”—fit with Chevron’s rationale: They de-
         fine circumstances in which Congress is unlikely to have
         wanted agency views to govern. Ante, at 27; see supra, at
         11–12. And on the difficulty scale, they are nothing much.
         Has Congress put the agency in charge of administering the
         statute? In 99 of 100 cases, everyone will agree on the an-
         swer with scarcely a moment’s thought. Did the agency use
         notice-and-comment or an adjudication before rendering an
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         interpretation? Once again, I could stretch my mind and
         think up a few edge cases, but for the most part, the answer
         is an easy yes or no. The major questions exception is, I
         acknowledge, different: There, many judges have indeed
         disputed its nature and scope. Compare, e.g., West Vir-
         ginia, 597 U. S., at 721–724, with id., at 764–770 (KAGAN,
         J., dissenting). But that disagreement concerns, on every-
         one’s view, a tiny subset of all agency interpretations. For
         the most part, the exceptions that so upset the majority re-
         quire merely a rote, check-the-box inquiry. If that is the
         majority’s idea of a “dizzying breakdance,” ante, at 32, the
         majority needs to get out more.
            And anyway, difficult as compared to what? The major-
         ity’s prescribed way of proceeding is no walk in the park.
         First, the majority makes clear that what is usually called
         Skidmore deference continues to apply. See ante, at 16–17.
         Under that decision, agency interpretations “constitute a
         body of experience and informed judgment” that may be
         “entitled to respect.” Skidmore v. Swift & Co., 323 U. S.
         134, 140 (1944). If the majority thinks that the same judges
         who argue today about where “ambiguity” resides (see ante,
         at 30) are not going to argue tomorrow about what “respect”
         requires, I fear it will be gravely disappointed. Second, the
         majority directs courts to comply with the varied ways in
         which Congress in fact “delegates discretionary authority”
         to agencies. Ante, at 17–18. For example, Congress may
         authorize an agency to “define[ ]” or “delimit[ ]” statutory
         terms or concepts, or to “fill up the details” of a statutory
         scheme. Ante, at 17, and n. 5. Or Congress may use, in
         describing an agency’s regulatory authority, inherently
         “flexib[le]” language like “appropriate” or “reasonable.”
         Ante, at 17, and n. 6. Attending to every such delegation,
         as the majority says, is necessary in a world without Chev-
         ron. But that task involves complexities of its own. Indeed,
         one reason Justice Scalia supported Chevron was that it re-
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         placed such a “statute-by-statute evaluation (which was as-
         suredly a font of uncertainty and litigation) with an across-
         the-board presumption.” A. Scalia, Judicial Deference to
         Administrative Interpretations of Law, 1989 Duke L. J.
         511, 516. As a lover of the predictability that rules create,
         Justice Scalia thought the latter “unquestionably better.”
         Id., at 517.
            On the other side of the balance, the most important stare
         decisis factor—call it the “jolt to the legal system” issue—
         weighs heavily against overruling Chevron. Dobbs, 597
         U. S., at 357 (ROBERTS, C. J., concurring in judgment).
         Congress and agencies alike have relied on Chevron—have
         assumed its existence—in much of their work for the last
         40 years. Statutes passed during that time reflect the ex-
         pectation that Chevron would allocate interpretive author-
         ity between agencies and courts. Rules issued during the
         period likewise presuppose that statutory ambiguities were
         the agencies’ to (reasonably) resolve. Those agency inter-
         pretations may have benefited regulated entities; or they
         may have protected members of the broader public. Either
         way, private parties have ordered their affairs—their busi-
         ness and financial decisions, their health-care decisions,
         their educational decisions—around agency actions that
         are suddenly now subject to challenge. In Kisor, this Court
         refused to overrule Auer because doing so would “cast doubt
         on” many longstanding constructions of rules, and thereby
         upset settled expectations. 588 U. S., at 587 (opinion of the
         Court). Overruling Chevron, and thus raising new doubts
         about agency constructions of statutes, will be far more dis-
         ruptive.
            The majority tries to alleviate concerns about a piece of
         that problem: It states that judicial decisions that have up-
         held agency action as reasonable under Chevron should not
         be overruled on that account alone. See ante, at 34–35.
         That is all to the good: There are thousands of such deci-
         sions, many settled for decades. See supra, at 26. But first,
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         reasonable reliance need not be predicated on a prior judi-
         cial decision. Some agency interpretations never chal-
         lenged under Chevron now will be; expectations formed
         around those constructions thus could be upset, in a way
         the majority’s assurance does not touch. And anyway, how
         good is that assurance, really? The majority says that a
         decision’s “[m]ere reliance on Chevron” is not enough to
         counter the force of stare decisis; a challenger will need an
         additional “special justification.” Ante, at 34. The majority
         is sanguine; I am not so much. Courts motivated to over-
         rule an old Chevron-based decision can always come up
         with something to label a “special justification.” Maybe a
         court will say “the quality of [the precedent’s] reasoning”
         was poor. Ante, at 29. Or maybe the court will discover
         something “unworkable” in the decision—like some excep-
         tion that has to be applied. Ante, at 30. All a court need do
         is look to today’s opinion to see how it is done.
                                       IV
           Judges are not experts in the field, and are not part
           of either political branch of the Government.
                   — Chevron U. S. A. Inc. v. Natural Resources
                   Defense Council, Inc., 467 U. S. 837, 865 (1984)

           Those were the days, when we knew what we are not.
         When we knew that as between courts and agencies, Con-
         gress would usually think agencies the better choice to re-
         solve the ambiguities and fill the gaps in regulatory stat-
         utes. Because agencies are “experts in the field.” And
         because they are part of a political branch, with a claim to
         making interstitial policy. And because Congress has
         charged them, not us, with administering the statutes con-
         taining the open questions. At its core, Chevron is about
         respecting that allocation of responsibility—the conferral of
         primary authority over regulatory matters to agencies, not
         courts.
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            Today, the majority does not respect that judgment. It
         gives courts the power to make all manner of scientific and
         technical judgments. It gives courts the power to make all
         manner of policy calls, including about how to weigh com-
         peting goods and values. (See Chevron itself.) It puts courts
         at the apex of the administrative process as to every con-
         ceivable subject—because there are always gaps and ambi-
         guities in regulatory statutes, and often of great import.
         What actions can be taken to address climate change or
         other environmental challenges? What will the Nation’s
         health-care system look like in the coming decades? Or the
         financial or transportation systems? What rules are going
         to constrain the development of A.I.? In every sphere of
         current or future federal regulation, expect courts from now
         on to play a commanding role. It is not a role Congress has
         given to them, in the APA or any other statute. It is a role
         this Court has now claimed for itself, as well as for other
         judges.
            And that claim requires disrespecting, too, this Court’s
         precedent. There are no special reasons, of the kind usually
         invoked for overturning precedent, to eliminate Chevron
         deference. And given Chevron’s pervasiveness, the decision
         to do so is likely to produce large-scale disruption. All that
         backs today’s decision is the majority’s belief that Chevron
         was wrong—that it gave agencies too much power and
         courts not enough. But shifting views about the worth of
         regulatory actors and their work do not justify overhauling
         a cornerstone of administrative law. In that sense too, to-
         day’s majority has lost sight of its proper role.
            And it is impossible to pretend that today’s decision is a
         one-off, in either its treatment of agencies or its treatment
         of precedent. As to the first, this very Term presents yet
         another example of the Court’s resolve to roll back agency
         authority, despite congressional direction to the contrary.
         See SEC v. Jarkesy, 603 U. S. ___ (2024); see also supra, at
         3. As to the second, just my own defenses of stare decisis—
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         my own dissents to this Court’s reversals of settled law—by
         now fill a small volume. See Dobbs, 597 U. S., at 363–364
         (joint opinion of Breyer, SOTOMAYOR, and KAGAN, JJ.); Ed-
         wards v. Vannoy, 593 U. S. 255, 296–297 (2021); Knick v.
         Township of Scott, 588 U. S. 180, 207–208 (2019); Janus,
         585 U. S., at 931–932. Once again, with respect, I dissent.
